                    Case 23-08545            Doc 1       Filed 06/29/23 Entered 06/29/23 09:30:59                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Byers Holding LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1175 Davis Road
                                  Elgin, IL 60123
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kane                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Byers Holding LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Byers Holding LLC                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Byers Holding LLC                                                           Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Byers Holding LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 28, 2023
                                                  MM / DD / YYYY


                             X   /s/ Matthew M. Sandretto                                                 Matthew M. Sandretto
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ William S. Hackney                                                    Date June 28, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William S. Hackney
                                 Printed name

                                 Bryan Cave Leighton Paisner LLP
                                 Firm name

                                 161 North Clark Street
                                 Suite 4300
                                 Chicago, IL 60601-3315
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 602-5000                Email address      william.hackney@bclplaw.com

                                 06256042 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Byers Holding LLC                                                                Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                   Chapter      11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Byers Operating LLC                                                     Relationship to you               Subsidiary
District   Northern District of Illinois              When                         Case number, if known
Debtor     Creekside Operating LLC                                                 Relationship to you               Subsidiary
District   Northern District of Illinois              When                         Case number, if known
Debtor     Elections Operating LLC                                                 Relationship to you               Subsidiary
District   Northern District of Illinois              When                         Case number, if known




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                                         Eran Salu

                                        Member
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Fill in this information to identify the case:

Debtor name         Byers Holding LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 28, 2023                   X /s/ Matthew M. Sandretto
                                                           Signature of individual signing on behalf of debtor

                                                            Matthew M. Sandretto
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Byers Holding LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ColorArt LLC              Mary Kate Hogan           Trade Debt                                                                                                  $28,429.00
 Mary Kate Hogan
 General Counsel           marykate.hogan@c
 101 Workman Court         olorart.com
 Eureka, MO 63025          (314) 277- 3827




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re    Byers Holding LLC                                                                                       Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Jeffrey Payne                                               Economic              .2394%                                     Membership Interest
8 Wawaset Farm Lane West                                    Rights Only
Chester, PA 19382

Keith Kowal                                                 Economic              .1260%                                     Membership Interest
437 Quigley Drive                                           Rights Only
Malvern, PA 19355

Master Marketing Group, LLC                                 Voting                98%                                        Membership Interest
3600 Torrey Pines Boulevard
Sarasota, FL 34240

Matthew M. Sandretto                                        Econimic              .7686%                                     Membership Interest
255 S. Ridge Road                                           Rights Only
Lake Forest, IL 60045

Mollenhour Gross LLC                                        Economic              .7400%                                     Membership Interest
11409 Municipal Center Drive                                Rights Only
Suite 23434
Knoxville, TN 37933

Shari Cambronne                                             Economic              .1260%                                     Membership Interest
4590 Helmo Avenue North                                     Rights Only
Oakdale, MN 55128


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date June 28, 2023                                                       Signature /s/ Matthew M. Sandretto
                                                                                        Matthew M. Sandretto

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                       United States Bankruptcy Court
                                            Northern District of Illinois
In re   Byers Holding LLC                                                       Case No.
                                                         Debtor(s)              Chapter    11




                                 VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                              5




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   June 28, 2023                         /s/ Matthew M. Sandretto
                                              Matthew M. Sandretto/Manager
                                              Signer/Title
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                      Bank of America
                      Bank of America Corporate Center
                      100 North Tryon Street
                      Charlotte, NC 28255


                      ColorArt LLC
                      Mary Kate Hogan
                      General Counsel
                      101 Workman Court
                      Eureka, MO 63025


                      Internal Revenue Service
                      Centralized Insolvency Operations
                      Post Box 7346
                      Philadelphia, PA 19101-7346


                      Matthew M. Sandretto
                      255 S. Ridge Road
                      Lake Forest, IL 60045


                      Office of the US Trustee
                      219 S. Dearborn Street
                      Room 873
                      Chicago, IL 60604
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                                        United States Bankruptcy Court
                                              Northern District of Illinois
 In re   Byers Holding LLC                                                          Case No.
                                                           Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Byers Holding LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Master Marketing Group, LLC
3600 Torrey Pines Boulevard
Sarasota, FL 34240




  None [Check if applicable]




June 28, 2023                                  /s/ William S. Hackney
Date                                           William S. Hackney
                                               Signature of Attorney or Litigant
                                               Counsel for Byers Holding LLC
                                               Bryan Cave Leighton Paisner LLP
                                               161 North Clark Street
                                               Suite 4300
                                               Chicago, IL 60601-3315
                                               (312) 602-5000 Fax:(312) 602-5050
                                               william.hackney@bclplaw.com
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                                Holding Company
                                 Balance Sheet
                                   As of 1 June 2023

                                                                     Total
ASSETS
 Current Assets
   Bank Accounts
     110000 Byers Holding LLC (2497)                                     4,670.00
   Total Bank Accounts                                          $        4,670.00
   Other Current Assets
     120001 Due from Michigan Dept. of Treasury                          8,280.00
     Uncategorized Asset                                                     0.00
   Total Other Current Assets                                   $        8,280.00
 Total Current Assets                                          $        12,950.00
 Other Assets
   130001 Due from Byers Operating LLC                                  64,355.98
   130002 Due from Elections Operating LLC                             963,096.43
   130003 Due from Creekside Operating LLC                             547,955.97
   140001 Investment in Byers Operating LLC                           -177,352.91
   140002 Investment in Elections Operating LLC                     -2,679,943.26
   140003 Investment in Creekside Operating LLC                       -402,706.53
 Total Other Assets                                            $    (1,684,594.32)
TOTAL ASSETS                                                   $    (1,671,644.32)
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
     Accounts Payable
       210000 Accounts Payable (A/P)                                         0.00
     Total Accounts Payable                                     $            0.00
   Total Current Liabilities                                    $            0.00
   Long-Term Liabilities
     150001 Due to ColorArt LLC                                         28,429.00
   Total Long-Term Liabilities                                 $        28,429.00
 Total Liabilities                                             $        28,429.00
 Equity
   300000 Owners' Capital Accounts
     300101 Matthew Sandretto - Capital Contribution                    29,300.00
     300102 Matthew Sandretto - Accumulated Earnings                  -255,913.34
     300103 Matthew Sandretto - Profit Distributions                   -61,887.89
     300104 Matthew Sandretto - Tax Distributions                      -14,663.95
     300201 Jeffrey Payne - Capital Contribution                        25,000.00
     300202 Jeffrey Payne - Accumulated Earnings                       -79,710.71
     300203 Jeffrey Payne - Profit Distributions                       -21,270.43
     300204 Jeffrey Payne - Tax Distributions                           -2,574.28
     300301 Keith Kowal - Capital Contribution                          50,000.00
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    300302 Keith Kowal - Accumulated Earnings                         -41,953.00
    300303 Keith Kowal - Profit Distributions                          -9,554.54
    300304 Keith Kowal - Tax Distributions                             -2,920.78
    300401 Shari Cambronne - Capital Contribution                      50,000.00
    300402 Shari Cambronne - Accumulated Earnings                     -41,953.01
    300403 Shari Cambronne - Profit Distributions                      -9,554.54
    300404 Shari Cambronne - Tax Distributions                         -2,920.78
    300501 JMM BYER, LLC - Capital Contribution                       500,000.00
    300502 JMM BYER, LLC - Accumulated Earnings                      -123,195.34
    300503 JMM BYER, LLC - Profit Distributions                       -28,282.30
    300504 JMM BYER, LLC - Tax Distributions                           -8,352.88
    300601 DEG BYMER, LLC - Capital Contribution                      500,000.00
    300602 DEG BYMER, LLC - Accumulated Earnings                     -123,195.35
    300603 DEG BYMER, LLC - Profit Distributions                      -28,282.30
    300604 DEG BYMER, LLC - Tax Distributions                          -8,352.88
    300701 JAL Equity / Master Marketing                              500,000.00
   Total 300000 Owners' Capital Accounts                       $      789,761.70
   320000 Retained Earnings                                    $   (2,489,835.02)
 Total Equity                                                  $   (1,700,073.32)
TOTAL LIABILITIES AND EQUITY                                   $   (1,671,644.32)
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               Holding Company
                Profit and Loss
               January 1 - June 1, 2023

                                          Total
Income
Total Income
Gross Profit                       $               0.00
Expenses
 611000 Bank Charges & Fees                       96.00
Total Expenses                     $              96.00
Net Operating Income               -$             96.00
Net Income                         -$             96.00
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                                           Holding Company
                                        Statement of Cash Flows
                                             January 1 - June 1, 2023

                                                                                       Total
OPERATING ACTIVITIES
 Net Income                                                                                      -96.00
 Adjustments to reconcile Net Income to Net Cash provided by operations:
Net cash provided by operating activities                                    -$                  96.00
Net cash increase for period                                                 -$                  96.00
Cash at beginning of period                                                                    4,766.00
Cash at end of period                                                        $                 4,670.00
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                                                                               EXTENSION GRANTED TO 09/15/23
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      Form
                                                  1065                                              U.S. Return of Partnership Income                                                                                OMB No. 1545-0123


                                                                                                                                                                                                                        2022
                                                                               For calendar year 2022, or tax year beginning                           ,               , ending                ,             .
      Department of the Treasury
      Internal Revenue Service                                                                Go to www.irs.gov/Form1065 for instructions and the latest information.
       A                                         Principal business activity                   Name of partnership                                                                                               D   Employer identification
                                                                                                                                                                                                                     number

      PRINTING                                                                                BYERS HOLDING LLC                                                                                                   **-***3661
                                                                                      Type
        B                                       Principal product or service           or
                                                                                              Number, street, and room or suite no. If a P.O. box, see instructions.                                             E   Date business started
                                                                                      Print   1175 DAVIS RD                                                                                                       01/01/2018
      VOTING BALLOTS                                                                          City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                 F   Total assets
                                                                                                                                                                                                                     (see instr.)
        C                                       Business code number
      323100                                                                                  ELGIN                                                                                  IL 60123             $          5,565,042.
      G                                          Check applicable boxes:   (1)       Initial return (2)       Final return      (3)        Name change (4)
                                                                                                                                                   Amended return                        Address change (5)
      H                                          Check accounting method: (1) X Cash                (2)       Accrual           (3)        Other (specify)
      I                                                                                                                        6
                                                 Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year
      J Check if Schedules C and M-3 are attached •••••••••••••••••••••••••••••••••••••••••••••••
      K Check if partnership: (1)          Aggregated activities for section 465 at-risk purposes (2)  Grouped activities for section 469 passive activity purposes
       Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
           1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1a                                      3,927,786.
             b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~ 1b
             c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1c                                                  3,927,786.
           2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2        2,525,290.
   Income




           3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3        1,402,496.
           4 Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) ~~~~~~~~~~~                      4
           5 Net farm profit (loss) (attach Schedule F (Form 1040)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      5
           6 Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                               6                  2,950.
           7 Other income (loss) (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7
           8 Total income (loss). Combine lines 3 through 7 ••••••••••••••••••••••••••••••                                           8        1,405,446.
           9 Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                               9             330,351.
Deductions (see instructions for limitations)




          10 Guaranteed payments to partners ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10                                                               120,632.
          11 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 11                                                                  212,538.
          12 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12
          13 Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13                                                                           309,101.
          14 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 14               SEE  STATEMENT        1                              169,525.
          15 Interest (see instructions) ••••••••••••••••••••••••••••••••••••••••• 15
          16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a                                91,580.
             b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b                                           16c              91,580.
          17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17
          18 Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18                                                                   16,516.
          19 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 19
          20 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~          SEE STATEMENT 2                       20        1,193,403.
          21 Total deductions. Add the amounts shown in the far right column for lines 9 through 20      ••••••••••                 21        2,443,646.
          22 Ordinary business income (loss). Subtract line 21 from line 8            •••••••••••••••••••••••                       22      -1,038,200.
                                                  23     Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                             23
   Tax and Payment




                                                  24     Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                 24
                                                  25     BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  25
                                                  26     Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        26
                                                  27     Total balance due. Add lines 23 through 26~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    27
                                                  28     Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           28
                                                  29     Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                       29
                                                  30     Overpayment. If line 28 is larger than line 27, enter overpayment •••••••••••••••••••••                                                       30
                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                             and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
      Sign                                                   which preparer has any knowledge.
                                                                                                                                                                                                      May the IRS discuss this return with
      Here                                                                                                                                                                                            the preparer shown below?
                                                               Signature of partner or limited liability company member                                                   Date                        See instr.
                                                                                                                                                                                                                        X     Yes          No
                                                             Print/Type preparer's name                               Preparer's signature                                    Date        Check         if       PTIN
                                                            PETER T. SCHIMMEL                                                                                                05/17/23     self-employed           P00024655
      Paid                                                    Firm's name

      Preparer                                                 HEGRE, MCMAHON & SCHIMMEL, LLC                                                                                            Firm's EIN     **-***0334
      Use Only                                                        600 ENTERPRISE DRIVE, STE 109
                                                              Firm's address
                                                               OAK BROOK, IL 60523                                                                                                       Phone no.    312.345.6200
      LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                           211001 12-19-22                                                       Form       1065 (2022)
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    Schedule B           Other Information
   1        What type of entity is filing this return? Check the applicable box:                                                            Yes No
        a        Domestic general partnership                          b       Domestic limited partnership
        c   X Domestic limited liability company                       d       Domestic limited liability partnership
        e        Foreign partnership                                   f       Other
   2        At the end of the tax year:
        a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
            exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
            loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
            B-1, Information on Partners Owning 50% or More of the Partnership ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         X
        b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
            the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
            on Partners Owning 50% or More of the Partnership••••••••••••••••••••••••••••••••••••••                                                  X
   3        At the end of the tax year, did the partnership:
        a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
            stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
            If "Yes," complete (i) through (iv) below ••••••••••••••••••••••••••••••••••••••••••••                                                   X
                                (i) Name of Corporation                                 (ii) Employer
                                                                                                                       (iii) Country of (iv) Percentage
                                                                                         Identification                                    Owned in
                                                                                        Number (if any)                 Incorporation     Voting Stock




        b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
            or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
            interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below ••••••••                   X
                      (i) Name of Entity                         (ii)  Employer     (iii) Type of Entity             (iv) Country of        (v)   Maximum
                                                             Identification Number                                                       Percentage Owned in
                                                                      (if any)                                        Organization       Profit, Loss, or Capital




    4       Does the partnership satisfy all four of the following conditions?                                                                                     Yes   No
        a   The partnership's total receipts for the tax year were less than $250,000.
        b   The partnership's total assets at the end of the tax year were less than $ 1 million.
        c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
            extensions) for the partnership return.
        d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  X
            If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
            or item L on Schedule K-1.
    5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? ••••••••••••••••••••••••                                                 X
    6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
            so as to reduce the principal amount of the debt? •••••••••••••••••••••••••••••••••••••••                                                                    X
    7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
            information on any reportable transaction? ••••••••••••••••••••••••••••••••••••••••••                                                                        X
    8       At any time during calendar year 2022, did the partnership have an interest in or a signature or other authority over
            a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
            See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
            Financial Accounts (FBAR). If "Yes," enter the name of the foreign country                                                                                   X
    9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
            transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
            Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions ••••••••••••••••••••                                                 X
  10 a      Is the partnership making, or had it previously made (and not revoked), a sec. 754 election? See instr. for details regarding a sec. 754 election ~          X
     b      Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
            attach a statement showing the computation and allocation of the basis adjustment. See instructions •••••••••••••                                            X
        c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a substantial built-in loss
            (as defined under section 743(d)) or substantial basis reduction (as defined under section 734(d))? If "Yes," attach a statement showing the
            computation and allocation of the basis adjustment. See instruction ••••••••••••••••••••••••••••••••••                                                       X
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    Schedule B           Other Information (continued)
  11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a                      Yes   No
           like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
           owned by the partnership throughout the tax year) ••••••••••••••••••••••••••••••••••
  12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
           undivided interest in partnership property? ••••••••••••••••••••••••••••••••••••••••••                                                      X
  13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect to Foreign
           Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
           instructions •••••••••••••••••••••••••••••••••••••••••
  14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
           Information Statement of Section 1446 Withholding Tax, filed for this partnership •••••••                                                   X
  15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
           to this return •••••••••••••••••••••••••••••••••••••••••
  16 a     Did you make any payments in 2022 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                             X
     b     If "Yes," did you or will you file required Form(s) 1099? ••••••••••••••••••••••••••••••••••••
  17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect to Certain Foreign
           Corporations, attached to this return •••••••••••••••••••••••••••••
  18       Enter the number of partners that are foreign governments under section 892 •••••••••
  19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
           and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?•••••••••••••                             X
  20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
           for Form 8938 ••••••••••••••••••••••••••••••••••••••••••••••••••••••••                                                                      X
  21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)? ••••••••••••••                        X
  22       During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are
           not allowed a deduction under section 267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               X
           If "Yes," enter the total amount of the disallowed deductions •••••••••••••••• $
  23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
           business in effect during the tax year? See instructions ••••••••••••••••••••••••••••••••••••                                               X
  24       Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
       a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
       b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
           preceding the current tax year are more than $27 million and the partnership has business interest expense.
       c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
           If "Yes" to any, complete and attach Form 8990.
  25       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? ~~~~~~~~~~~~~~~~~~~~~~                                   X
           If "Yes," enter the amount from Form 8996, line 15 ••••••••••••••••••••• $
  26       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
           interest in the partnership or of receiving a distribution from the partnership •••••••••
           Complete Schedule K-3 (Form 1065), Part XIII, for each foreign partner subject to section 864(c)(8) on a transfer or distribution.
  27       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
           disclosure requirements of Regulations section 1.707-8? •••••••••••••••••••••••••••••••••••                                                 X
  28       Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
           constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
           purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
           the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
          Percentage:                                                 By vote                            By value                                      X
  29      Reserved for future use ••••••••••••••••••••••••••••••••••••••
  30      Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions                          X
          If "Yes," the partnership must complete Sch. B-2 (Form 1065). Enter the total from Sch. B-2, Part III, line 3
          If "No," complete Designation of Partnership Representative below.
  Designation of Partnership Representative (see instructions)
  Enter below the information for the partnership representative (PR) for the tax year covered by this return.
  Name of PR       MATT SANDRETTO
                      2439 N. JANSSEN AVENUE                                                   U.S. phone
  U.S. address of PR
                      CHICAGO, IL 60614                                                        number of PR       646-238-0942
  If the PR is an entity, name of the designated individual for the PR
                                                                                               U.S. phone
  U.S. address of                                                                              number of
  designated                                                                                   designated
  individual                                                                                   individual
  211021 12-19-22                                                                                                                        Form   1065 (2022)

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       Schedule K                     Partners' Distributive Share Items                                                                          Total amount
                          1   Ordinary business income (loss) (page 1, line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1      -1,038,200.
                          2   Net rental real estate income (loss) (attach Form 8825) •••••••••••••••••••••••                              2
                          3a  Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                              3a
                            b Expenses from other rental activities (attach statement) ~~~~~~~                  3b
                            c Other net rental income (loss). Subtract line 3b from line 3a •••••••••••••••••••••                         3c
                          4   Guaranteed
                              payments:           a Services 4a                 120,632. b Capital 4b
                                                                                                                                                      120,632.
     Income (Loss)




                              c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           4c
                          5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5
                          6 Dividends and dividend equivalents: a Ordinary dividends ••••••••••••••••••••                                 6a
                              b Qualified dividends 6b                                   c Dividend equivalents 6c
                          7 Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       7
                          8 Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                          8
                          9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065)) ••••••••••••••••••                        9a
                            b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                               9b
                            c Unrecaptured       section  1250   gain (attach statement)  ~~~~~~~~~             9c
                         10   Net  section    1231   gain (loss) (attach  Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                           10
                         11 Other income (loss) (see instructions) Type                                                                    11
                         12 Section 179 deduction (attach Form 4562) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
     Deductions




                         13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  13a
                            b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            13b
                            c Section 59(e)(2) expenditures: (1) Type                                                       (2) Amount   13c(2)
                            d Other deductions (see instructions) Type                                   SEE STATEMENT 3                  13d         170,966.
                                                                                                                                                       99,809.
   Employ-




                         14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14a
    ment
    Self-




                            b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14b
                            c Gross nonfarm income •••••••••••••••••••••••••••••••••••••••                                                14c          28,050.
                         15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  15a
                            b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        15b
     Credits




                            c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~        15c
                            d Other rental real estate credits (see instructions) Type                                                    15d
                            e Other rental credits (see instructions)                Type                                                 15e
                            f Other credits (see instructions)                       Type                                                 15f
     national




                         16 Attach Schedule K-2 (Form 1065), Partners' Distributive Share Items-International, and check
      Inter-




                              this box to indicate that you are reporting items of international tax relevance ~~~~~~~~


                         17a    Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       17a
  Minimum Tax
  (AMT) Items




                            b   Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            17b
  Alternative




                            c   Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     17c
                            d   Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                              17d
                            e   Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                               17e
                            f   Other AMT items (attach statement) •••••••••••••••••••••••••••••••••                                      17f
                         18 a   Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          18a
     Other Information




                            b   Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18b
                            c                                                             SEE STATEMENT 4
                                Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             18c               2,428.
                         19 a   Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               19a
                            b   Distributions of other property~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       19b
                         20 a   Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               20a
                            b   Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20b
                            c   Other items and amounts (attach statement)                         STMT 5
                         21     Total foreign taxes paid or accrued  •••••••••••••••••••••••••••••••••                                    21
   211041 12-19-22                                                                                                                                   Form   1065 (2022)




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  Analysis of Net Income (Loss) per Return
  1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 21   •••••      1        -1,088,534.
  2     Analysis by                                           (ii) Individual              (iii) Individual                                         (v) Exempt               (vi)
                                  (i) Corporate                   (active)                     (passive)                (iv) Partnership           Organization         Nominee/Other
        partner type:
      a General partners
      b Limited partners            -1,164,763.                   90,864.                       -5,841.                      -8,794.

      Schedule L             Balance Sheets per Books
                                                                                      Beginning of tax year                                               End of tax year
                             Assets
                                                                                (a)                               (b)                             (c)                         (d)
   1 Cash ~~~~~~~~~~~~~~~~                                                                                     100,574.                                                       88,277.
   2a Trade notes and accounts receivable~
    b Less allowance for bad debts ~~~~
   3 Inventories ~~~~~~~~~~~~~                                                                                 177,742.                                                     177,742.
   4 U.S. government obligations ~~~~~
   5 Tax-exempt securities ~~~~~~~~
   6 Other current assets (attach statement)~                   STATEMENT 6                                       11,569.                                                     14,105.
   7a Loans to partners (or persons related to partners) ~
    b Mortgage and real estate loans ~~~
   8 Other investments (attach statement)~
   9a Buildings and other depreciable assets                            2,759,943.                                                           2,845,023.
    b Less accumulated depreciation ~~~                                 2,759,943.                                                           2,845,023.
  10a Depletable assets ~~~~~~~~~~
    b Less accumulated depletion ~~~~~
  11 Land (net of any amortization) ~~~~
  12a Intangible assets (amortizable only)~~                       5,476,383.                                                                5,476,383.
    b Less accumulated amortization ~~~                              158,001.                             5,318,382.                           200,365.                5,276,018.
  13 Other assets (attach statement) ~~~                        STATEMENT 7                                   4,000.                                                       8,900.
  14 Total assets ~~~~~~~~~~~~~                                                                           5,612,267.                                                   5,565,042.
               Liabilities and Capital
  15 Accounts payable ~~~~~~~~~~
  16 Mortgages, notes, bonds payable in less than 1 year
  17 Other current liabilities (attach statement) ~             STATEMENT 8                                       20,721.                                                   711,339.
  18 All nonrecourse loans ~~~~~~~~
  19a Loans from partners (or persons related to partners)
    b Mortgages, notes, bonds payable in 1 year or more                                                   7,247,270.                                                   7,372,527.
  20 Other liabilities (attach statement) ~~
  21 Partners' capital accounts ~~~~~~                    -1,655,724.                            -2,518,824.
  22 Total liabilities and capital ••••••                  5,612,267.                             5,565,042.
      Schedule M-1 Reconciliation of Income (Loss) per Books With Analysis of Net Income (Loss) per Return
                                 Note: The partnership may be required to file Schedule M-3. See instructions.
   1     Net income (loss) per books ~~~~~~~                                    -863,100.                6 Income recorded on books this year not included
   2     Income included on Schedule K, lines 1, 2, 3c,                                                     on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                               a Tax-exempt interest $
         this year (itemize):
   3 Guaranteed payments (other than health                                                              7 Deductions included on Schedule K, lines 1
     insurance) ~~~~~~~~~~~~~~~~                                                  100,000.                  through 13d, and 21, not charged against
   4 Expenses recorded on books this year not included on                                                   book income this year (itemize):
        Schedule K, lines 1 through 13d, and 21 (itemize):                                                a Depreciation $
        STMT 9                                        2,428.                                                  STMT 10                             327,862.                  327,862.
    a Depreciation $                                                                                     8 Add lines 6 and 7 ~~~~~~~~~~~~                                   327,862.
    b Travel and entertainment $                2,428.                                                   9 Income (loss) (Analysis of Net Income (Loss),
   5 Add lines 1 through 4 •••••••••••      -760,672.                                                      line 1). Subtract line 8 from line 5 ••••••               -1,088,534.
    Schedule M-2 Analysis of Partners' Capital Accounts
   1 Balance at beginning of year ~~~~~~~ -2,927,646.                                                    6 Distributions: a Cash ~~~~~~~~~
   2 Capital contributed: a Cash ~~~~~~~                                                                                   b Property ~~~~~~~~
                             b Property ~~~~~~                                                           7 Other decreases (itemize):
   3 Net income (loss) (see instructions) ~~~~                            -1,088,534.                          STMT 11                                                  102,428.
   4 Other increases (itemize):                                                                          8 Add lines 6 and 7 ~~~~~~~~~~~~                               102,428.
   5 Add lines 1 through 4 •••••••••••                                    -4,016,180.                    9 Balance at end of year. Subtract line 8 from line 5 ••    -4,118,608.
  211042 12-19-22                                                                       5                                                                                   Form   1065 (2022)
12430517 144871 XX-XXXXXXX                                                  2022.03040 BYERS HOLDING LLC                                                                    82-37831
                   Case 23-08545            Doc 1         Filed 06/29/23 Entered 06/29/23 09:30:59                       Desc Main
                                                          Document      Page 26 of 118
  Form       1125-A                                            Cost of Goods Sold
  (Rev. November 2018)                           | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                            OMB No. 1545-0123
  Department of the Treasury                    | Go to www.irs.gov/Form1125A for the latest information.
  Internal Revenue Service
  Name                                                                                                                     Employer Identification number

         BYERS HOLDING LLC                                                                                                    **-***3661
  1    Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       1            177,742.
  2    Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2            979,966.
  3    Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3          1,411,983.
  4    Additional section 263A costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              4
  5                                                               SEE STATEMENT 12
       Other costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5               133,341.
  6   Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          6             2,703,032.
  7   Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           7               177,742.
  8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          8             2,525,290.
  9 a Check all methods used for valuing closing inventory:
      (i)        Cost
      (ii)       Lower of cost or market
      (iii)      Other (Specify method used and attach explanation) |


      b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                          |
      c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
      d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
        under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
      e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~ Yes        X      No
      f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~        Yes        X      No
        If "Yes," attach explanation.


  For Paperwork Reduction Act Notice, see separate instructions.                                                            Form 1125-A (Rev. 11-2018)




  224441
  04-01-22       LHA
                                                                        6
12430517 144871 XX-XXXXXXX                                  2022.03040 BYERS HOLDING LLC                                               82-37831
                       Case 23-08545                       Doc 1            Filed 06/29/23 Entered 06/29/23 09:30:59                                                     Desc Main
                                                                            Document      Page 27 of 118
             4562                                                    Depreciation and Amortization
                                                                                                                                                                                       OMB No. 1545-0172

  Form


  Department of the Treasury
                                                                         (Including Information on Listed Property)
                                                                            Attach to your tax return.
                                                                                                                                                   OTHER                        1
                                                                                                                                                                                         2022
                                                                                                                                                                                         Attachment
  Internal Revenue Service                             Go to www.irs.gov/Form4562 for instructions and the latest information.                                                           Sequence No. 179
  Name(s) shown on return                                                                                        Business or activity to which this form relates                      Identifying number



  BYERS HOLDING LLC                                                                                                                                                                 **-***3661
   Part I Election To Expense Certain Property Under Section 179                        Note: If you have any listed property, complete Part V before you complete Part I.
   1       Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        1
   2       Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                  2
   3       Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                   3
   4       Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                           4
   5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions ••••••••••             5
   6                                       (a) Description of property                                  (b) Cost (business use only)              (c) Elected cost




   7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                           7
   8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                 8
   9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             9
  10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                          10
  11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                           11
  12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11 •••••••••••••                                                                  12
  13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12 •••••           13
  Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
   Part II            Special Depreciation Allowance and Other Depreciation (Don't include listed property.)
  14 Special depreciation allowance for qualified property (other than listed property) placed in service during
     the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                      14                    91,580.
  15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    15
  16 Other depreciation (including ACRS) •••••••••••••••••••••••••••••••••••••                                                                                           16
   Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                          Section A
  17 MACRS deductions for assets placed in service in tax years beginning before 2022 ••••••••••••••                                         17
  18 If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here •••••
                                Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                                                     (b) Month and        (c) Basis for depreciation
                    (a) Classification of property                    year placed        (business/investment use           (d) Recovery       (e) Convention      (f) Method       (g) Depreciation deduction
                                                                        in service         only - see instructions)             period


  19a           3-year property
    b           5-year property
    c           7-year property
    d           10-year property
    e           15-year property
    f           20-year property
    g           25-year property                                                                                        S/L   25 yrs.
                                                            /                                                MM         S/L  27.5 yrs.
       h        Residential rental property
                                                            /                                                MM         S/L  27.5 yrs.
                                                            /                                 39 yrs.        MM         S/L
       i        Nonresidential real property
                                                            /                                                MM         S/L
                              Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
  20a           Class life                                                                                                                                           S/L
    b           12-year                                                                                                       12 yrs.                                S/L
    c           30-year                                                      /                                                30 yrs.               MM               S/L
    d           40-year                                                      /                                                40 yrs.               MM               S/L
   Part        IV Summary (See instructions.)
  21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       21
  22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
      Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr. •••••••                                                       22                    91,580.
  23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs ••••••••••••••••                   23
                                                                                  7
  216251 12-08-22 LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                      Form 4562 (2022)
12430517 144871 XX-XXXXXXX                                                       2022.03040 BYERS HOLDING LLC                                                                              82-37831
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                                                           Document      Page 28 of 118
  Form 4562 (2022)                  BYERS HOLDING LLC                                                                  **-***3661                                            Page 2
   Part V     Listed Property  (Include automobiles, certain  other vehicles, certain aircraft, and property used for
              entertainment, recreation, or amusement.)
              Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
              24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                 Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
  24a Do you have evidence to support the business/investment use claimed?            Yes              No 24b If "Yes," is the evidence written?                    Yes        No
                (a)                 (b)             (c)                (d)                     (e)             (f)          (g)             (h)                            (i)
        Type of property            Date          Business/                          Basis for depreciation
                                                                                                            Recovery     Method/       Depreciation                    Elected
                                 placed  in      investment          Cost or
       (list vehicles first)                                      other basis
                                                                                     (business/investment
                                                                                                             period    Convention       deduction                    section 179
                                  service      use percentage                              use only)                                                                    cost
  25 Special depreciation allowance for qualified listed property placed in service during the tax year and
     used more than 50% in a qualified business use•••••••••••••••••••••••••••••                                                 25



                                         !   !
  26 Property used more than 50% in a qualified business use:



                                         !   !
                                                        %



                                         !   !
                                                        %
                                                        %



                                         !   !
  27 Property used 50% or less in a qualified business use:



                                         !   !
                                                       %                                         S/L -



                                         !   !
                                                       %                                         S/L -
                                                       %                                         S/L -
  28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~    28
  29 Add amounts in column (i), line 26. Enter here and on line 7, page 1 •••••••••••••••••••••••••••                                                       29
                                                      Section B - Information on Use of Vehicles
  Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
  to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                        (a)            (b)              (c)              (d)                        (e)                 (f)
  30 Total business/investment miles driven during the                Vehicle        Vehicle          Vehicle          Vehicle                    Vehicle             Vehicle
     year ( don't include commuting miles) ~~~~~~~
  31 Total commuting miles driven during the year ~
  32 Total other personal (noncommuting) miles
     driven~~~~~~~~~~~~~~~~~~~~~
  33 Total miles driven during the year.
     Add lines 30 through 32~~~~~~~~~~~~
  34 Was the vehicle available for personal use         Yes      No    Yes      No      Yes      No     Yes     No    Yes     No                                    Yes        No
     during off-duty hours? ~~~~~~~~~~~~
  35 Was the vehicle used primarily by a more
     than 5% owner or related person? ~~~~~~
  36 Is another vehicle available for personal
     use? •••••••••••••••••••••
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
  Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
  more than 5% owners or related persons.
  37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your    Yes                                               No
     employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
     employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
  39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  40 Do you provide more than five vehicles to your employees, obtain information from your employees about
     the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
     Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
   Part VI Amortization
                         (a)                              (b)                (c)                     (d)              (e)  (f)
                      Description of costs               Date amortization      Amortizable                 Code               Amortization                  Amortization
                                                              begins             amount                    section         period or percentage              for this year




                                                              ! !
  42 Amortization of costs that begins during your 2022 tax year:



                                                              ! !
  43 Amortization of costs that began before your 2022 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~   STMT 13 43                                                           370,226.
  44 Total. Add amounts in column (f). See the instructions for where to report •••••••••••••••••••  44                                                           370,226.
  216252 12-08-22                                                                                                                                                Form 4562 (2022)
                                                                           8
12430517 144871 XX-XXXXXXX                                     2022.03040 BYERS HOLDING LLC                                                                      82-37831
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                                                                                               OTHER      1
                                                                   C                                                       *
  Asset                                  Date                      o   Line     Unadjusted      Bus    Section 179    Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.             Description         Acquired   Method    Life   n   No.     Cost Or Basis     %      Expense          Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                                   v                            Excl                                                  Depreciation   Expense                  Depreciation

          MACHINERY & EQUIPMENT

      9 PRINTING MACHINES             05/01/18 200DB 5.00 HY17                  357,000.                               357,000.                                                          0.

     25 PRINTING MACHINES             04/03/19 200DB 5.00 HY17                     1,200.                                1,200.                                                          0.

     34 SCREEN TRUEPRESS JET 520      01/01/20 200DB 5.00 HY17 1,254,000.                                            1,254,000.                                                          0.

     35 PRINTING MACHINES             07/01/21 200DB 5.00 HY17                  123,584.                               123,584.                                                          0.

     36 BLUECREST INSERTER            07/01/21 200DB 5.00 HY17                  909,244.                               909,244.                                                          0.

     37 PRINTING MACHINES             01/20/22 200DB 5.00 HY19B                    4,902.                                4,902.                                                    4,902.

     38 PRINTING MACHINES             02/22/22 200DB 5.00 HY19B                    4,902.                                4,902.                                                    4,902.

     39 SCREEN TRUEPRESS JET 520      01/18/22 200DB 5.00 HY19B                   17,000.                               17,000.                                                   17,000.

     40 PRINTING MACHINES             03/02/22 200DB 5.00 HY19B                    7,000.                                7,000.                                                    7,000.

     41 PRINTING MACHINES             08/01/22 200DB 5.00 HY19B                   44,000.                               44,000.                                                   44,000.

     42 PRINTING MACHINES             08/01/22 200DB 5.00 HY19B                    2,999.                                2,999.                                                    2,999.

     43 PRINTING MACHINES             08/01/22 200DB 5.00 HY19B                    2,999.                                2,999.                                                    2,999.

     44 PRINTING MACHINES             09/01/22 200DB 5.00 HY19B                    2,878.                                2,878.                                                    2,878.

     45 PRINTING MACHINES           06/01/22 200DB 5.00 HY19B     4,900.                                                 4,900.                                                    4,900.
        * OTHER TOTAL - MACHINERY &
        EQUIPMENT                                             2,736,608.                                             2,736,608.                  0.            0.                 91,580.              0.

          TRANSPORTATION EQUIPMENT

     11 DELIVERY VAN                  07/19/18 200DB 5.00 HY17                    15,840.                               15,840.                                                          0.
228111 04-01-22
                                                                              (D) - Asset disposed                                   * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                      8.1
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                                                                                               OTHER      1
                                                                   C                                                      *
  Asset                                  Date                      o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.              Description        Acquired   Method    Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                                   v                            Excl                                                 Depreciation   Expense                  Depreciation

     24 (D)TOYOTA CAMRY 2008          04/15/19 200DB 5.00 HY17                     6,500.                               6,500.                                                          0.

     26 DELIVERY VAN                  04/01/19 200DB 5.00 HY17                    16,200.                              16,200.                                                          0.

     27 PRINTING MACHINES             04/01/19 200DB 5.00 HY17                    76,375.                              76,375.                                                          0.
        * OTHER TOTAL -
        TRANSPORTATION EQUIPMENT                                                114,915.                              114,915.                  0.            0.                        0.            0.

          INTANGIBLES

      1 GOODWILL                      02/23/18 197         180M        43 1,000,000.                                                1,000,000. 255,557.                          66,667. 322,224.

      2 CUSTOMER LIST                 02/23/18 197         180M        43       200,000.                                               200,000.        51,110.                   13,333.       64,443.

      3 BUSINESS NAME                 02/23/18 197         180M        43       100,000.                                               100,000.        25,557.                    6,667.       32,224.

      4 DEFERRED FINANCING COSTS      02/23/18 461         120M        43         42,361.                                                42,361.       16,238.                    4,236.       20,474.

      5 GOODWILL                      05/01/18 197         180M        43 3,263,000.                                                3,263,000. 896,288.                         217,533.1,113,821.

      6 CUSTOMER LIST                 05/01/18 197         180M        43          1,000.                                                 1,000.           245.                        67.          312.

      7 COVENANT-NOT-TO COMPETE       05/01/18 197         180M        43       100,000.                                               100,000.        24,445.                    6,667.       31,112.

      8 BUSINESS NAME                 05/01/18 197         180M        43          1,000.                                                 1,000.           245.                        67.          312.

     10 DEFERRED FINANCING COSTS      05/01/18 461         120M        43         98,312.                                                98,312.       36,047.                    9,831.       45,878.

     28 GOODWILL                      04/01/19 197         180M        43       654,925.                                               654,925. 120,070.                         43,662. 163,732.

     29 BUSINESS NAME                 04/01/19 197         180M        43          1,000.                                                 1,000.           184.                        67.          251.

     30 CUSTOMER LIST                 04/01/19 197         180M        43          1,000.                                                 1,000.           184.                        67.          251.

     31 COVENANT-NOT-TO COMPETE       04/01/19 197         180M        43             500.                                                   500.            91.                       33.          124.
228111 04-01-22
                                                                              (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                      8.2
                                     Case 23-08545        Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59                                       Desc Main
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                                                                                                  OTHER      1
                                                                      C                                                       *
  Asset                                     Date                      o   Line     Unadjusted      Bus    Section 179    Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.                 Description        Acquired   Method    Life   n   No.     Cost Or Basis     %      Expense          Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                                      v                            Excl                                                  Depreciation   Expense                  Depreciation

     32 DEFERRED FINANCING COSTS         04/01/19 461         120M        43         13,286.                                                 13,286.        3,654.                    1,329.         4,983.

          * OTHER TOTAL - INTANGIBLES                                            5,476,384.                                             5,476,384.1,429,915.                        370,226.1,800,141.

          BUILDING

          * OTHER TOTAL - BUILDING                                                          0.                                                      0.            0.                        0.            0.
          * GRAND TOTAL OTHER DEPR &
          AMORT                                                                  8,327,907.                             2,851,523. 5,476,384.1,429,915.                             461,806.1,800,141.



          CURRENT YEAR ACTIVITY

            BEGINNING BALANCE                                                    8,236,327.                        0.2,759,943. 5,476,384.1,429,915.                                             1,800,141.

                  ACQUISITIONS                                                       91,580.                       0.      91,580.                  0.            0.                                      0.

                  DISPOSITIONS/RETIRED                                                6,500.                       0.       6,500.                  0.            0.                                      0.

            ENDING BALANCE                                                       8,321,407.                        0.2,845,023. 5,476,384.1,429,915.                                             1,800,141.




228111 04-01-22
                                                                                 (D) - Asset disposed                                   * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                         8.3
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           4797
                                                                                                                                                            OMB No. 1545-0184
                                                              Sales of Business Property
Form
Department of the Treasury
                                         (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                         Attach to your tax return.
                                                                                                                                                               2022
                                                                                                                                                            Attachment
Internal Revenue Service                           Go to www.irs.gov/Form4797 for instructions and the latest information.                                  Sequence No.    27
Name(s) shown on return                                                                                                           Identifying number


      BYERS HOLDING LLC                                                                                                            **-***3661
 1a Enter the gross proceeds from sales or exchanges reported to you for 2022 on Form(s) 1099-B or 1099-S
    (or substitute statement) that you are including on line 2, 10, or 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        1a
     b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
       MACRS assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        1b
     c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
       assets ••••••••••••••••••••••••••••••••••••••••••••••••••••                                                                          1c
  Part I         Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                 Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                              (e)Depreciation       (f) Cost or other            (g) Gain or (loss)
 2                                               (b)   Date        (c)   Date        (d) Gross                                         basis, plus               Subtract (f) from
                  (a) Description of               acquired            sold            sales price
                                                                                                           allowed or allowable    improvements and            the sum of (d) and (e)
                     property                    (mo., day, yr.)   (mo., day, yr.)                           since acquisition      expense of sale




 3     Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                3
 4     Section 1231 gain from installment sales from Form 6252, line 26 or 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               4
 5     Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 5
 6     Gain, if any, from line 32, from other than casualty or theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  6
 7     Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows ~~~~~~~~~~~~~~~~~                                7
       Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
       line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
       Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
       from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
       1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
       the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

 8     Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             8
 9     Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
       line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
       capital gain on the Schedule D filed with your return. See instructions ••••••••••••••••••••••••••••                                             9

  Part II        Ordinary Gains and Losses (see instructions)
10      Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




11     Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      11 (                            )
12     Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 12
13     Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      13             2,950.
14     Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         14
15  Ordinary gain from installment sales from Form 6252, line 25 or 36 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    15
16  Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      16
17  Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          17             2,950.
18  For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
    a and b below. For individual returns, complete lines a and b below.
  a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
    loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
    as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18a
  b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
    (Form 1040), Part I, line 4 ••••••••••••••••••••••••••••••••••••••••••••••• 18b
 LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                            Form 4797 (2022)
218001
12-14-22
BYERS HOLDING  LLC
       Case 23-08545                          Doc 1          Filed 06/29/23 Entered 06/29/23 09:30:59                                   **-***3661
                                                                                                                                  Desc Main
Form 4797 (2022)                                             Document      Page 33 of 118                                                                            Page 2
  Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                        (b) Date acquired     (c) Date sold
                                                                                                                                         (mo., day, yr.)      (mo., day, yr.)
 19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
   A   TOYOTA CAMRY 2008                                                                                                                 041519 070122
   B
   C
   D
       These columns relate to the properties on
        lines 19A through 19D.                                              Property A             Property B             Property C                   Property D
 20    Gross sales price ( Note: See line 1a before completing.)   20            2,950.
 21    Cost or other basis plus expense of sale ~~~~~~             21            6,500.
 22    Depreciation (or depletion) allowed or allowable ~~~        22            6,500.
 23    Adjusted basis. Subtract line 22 from line 21 ~~~~          23                0.

 24   Total gain. Subtract line 23 from line 20 ••••••            24 2,950.
 25   If section 1245 property:
    a Depreciation allowed or allowable from line 22 ~~~         25a 6,500.
    b Enter  the smaller  of line 24  or 25a    ••••••••         25b 2,950.
 26   If section 1250   property:  If straight line depreciation
      was used, enter -0- on line 26g, except for a corporation
      subject to section 291.
    a Additional depreciation after 1975 ~~~~~~~~~               26a
    b Applicable percentage multiplied by the smaller of
      line 24 or line 26a ~~~~~~~~~~~~~~~                        26b
    c Subtract line 26a from line 24. If residential rental
      property or line 24 isn't more than line 26a, skip lines
      26d and 26e ~~~~~~~~~~~~~~~~~~                             26c
    d Additional depreciation after 1969 and before 1976 ~       26d
    e Enter the smaller of line 26c or 26d ~~~~~~~~              26e
    f Section 291 amount (corporations only) ~~~~~~              26f
    g Add lines 26b, 26e, and 26f •••••••••••                    26g
 27 If section 1252 property: Skip this section if you didn't
      dispose of farmland or if this form is being completed for
      a partnership.
    a Soil, water, and land clearing expenses ~~~~~~             27a
    b Line 27a multiplied by applicable percentage ~~~~          27b
    c Enter the smaller of line 24 or 27b ••••••••               27c
 28 If section 1254 property:
    a Intangible drilling and development costs, expenditures
      for development of mines and other natural deposits,
      mining exploration costs, and depletion ~~~~~~             28a
    b Enter the smaller of line 24 or 28a ••••••••               28b
 29 If section 1255 property:
    a Applicable percentage of payments excluded from
      income under section 126 ~~~~~~~~~~~~                      29a
    b Enter the smaller of line 24 or 29a ••••••••               29b
Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

 30    Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                30                  2,950.

 31    Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13 ~~~~~~~~~~~~~~                      31                  2,950.
 32    Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
       from other than casualty or theft on Form 4797, line 6 •••••••••••••••••••••••••••••••••                                           32
  Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                   (see instructions)
                                                                                                                          (a) Section                  (b) Section
                                                                                                                              179                       280F(b)(2)
 33    Section 179 expense deduction or depreciation allowable in prior years ~~~~~~~~~~~~~~                     33
 34    Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     34
 35    Recapture amount. Subtract line 34 from line 33. See the instructions for where to report ••••••          35
218002
12-14-22                                                                                                                                                   Form 4797 (2022)
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  Form   8990                           Limitation on Business Interest Expense
                                                  Under Section 163(j)                                                               OMB No. 1545-0123
  (Rev. December 2022)
  Department of the Treasury
                                                               Attach to your tax return.
  Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
  Taxpayer name(s) shown on tax return                                                                                Identification number
         BYERS HOLDING LLC                                                                                             **-***3661
     A    If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
               Name of foreign entity
               Employer identification number, if any
               Reference ID number
    B     Is the foreign entity a CFC group member? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    Yes          No
    C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes          No
    D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
          to complete •••••••••••••••••••••••••••••••••••••••••••••••••••••                                                           Yes          No
   Part I        Computation of Allowable Business Interest Expense
   Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
   taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

  Section I - Business Interest Expense
     1      Current year business interest expense (not including floor plan
            financing interest expense), before the section 163(j) limitation ~~~~~~~ 1 150,334.
     2      Disallowed business interest expense carryforwards from prior
            years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~               2
     3      Partner's excess business interest expense treated as paid or
            accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~      3
     4      Floor plan financing interest expense. See instructions ~~~~~~~~~~        4
     5      Total business interest expense. Add lines 1 through 4 •••••••••••••••••••••••••                               5            150,334.

  Section II - Adjusted Taxable Income

                                                                  Tentative Taxable Income
     6      Tentative taxable income. See instructions •••••••••••••••••••••••••••••••                                     6        -1,209,166.

                               Additions (adjustments to be made if amounts are taken into account on line 6)
     7      Any item of loss or deduction that is not properly allocable to a trade or
            business of the taxpayer. See instructions ~~~~~~~~~~~~~~~~                7
    8       Any business interest expense not from a pass-through entity. See instr. ~ 8  150,334.
    9       Amount of any net operating loss deduction under section 172 ~~~~~~        9
   10       Amount of any qualified business income deduction allowed under
            section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               10
   11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                         11
   12       Amount of any loss or deduction items from a pass-through entity.
            See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             12
   13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                    13
   14       Total current year partner's excess taxable income (Schedule A, line
            44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             14
   15       Total current year S corporation shareholder's excess taxable
            income (Schedule B, line 46, column (c)) ~~~~~~~~~~~~~~~~~                 15
   16       Total. Add lines 7 through 15 •••••••••••••••••••••••••••••••••••••••                  16                                   150,334.

                               Reductions (adjustments to be made if amounts are taken into account on line 6)
   17     Any item of income or gain that is not properly allocable to a trade
          or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                        17 (                    )
   18     Any business interest income not from a pass-through entity.    See instructions     18 (                    )
   19     Amount of any income or gain items from a pass-through entity.
          See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       19 (                    )
   20     Other reductions. See instructions ~~~~~~~~~~~~~~~~~~~~                              20 (                    )
   21     Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (                          )
   22     Adjusted taxable income. Combine lines 6, 16, and 21. See instructions •••••••••••••••••                         22
  LHA    For Paperwork Reduction Act Notice, see the instructions.                   223211 01-25-23                         Form   8990   (Rev. 12-2022)
                                                                    11
12430517 144871 XX-XXXXXXX                              2022.03040 BYERS HOLDING LLC                                                   82-37831
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  Section III - Business Interest Income
   23     Current year business interest income. See instructions ~~~~~~~~~~        23
   24     Excess business interest income from pass-through entities (total of
          Schedule A, line 44, column (g), and Schedule B, line 46, column (d))~~~~ 24
   25     Total. Add lines 23 and 24 ••••••••••••••••••••••••••••••••••••••••                                                  25

  Section IV - Section 163(j) Limitation Calculations

                                                       Limitation on Business Interest Expense
   26     Multiply the adjusted taxable income from line 22 by the applicable
          percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                26
   27     Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~            27
   28     Floor plan financing interest expense (line 4)~~~~~~~~~~~~~~~~      28
   29     Total. Add lines 26, 27, and 28 ••••••••••••••••••••••••••••••••••••••                                               29

                                                         Allowable Business Interest Expense
   30     Total current year business interest expense deduction. See instructions ••••••••••••••••                            30

                                                                        Carryforward
   31     Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.) •••••••            31            150,334.
   Part II     Partnership Pass-Through Items
   Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
   and are not carried forward by the partnership. See the instructions for more information.

                                                           Excess Business Interest Expense
   32     Excess business interest expense. Enter amount from line 31 ••••••••••••••••••••••                                   32            150,334.

                                 Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)
   33     Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                     33
   34     Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             34
   35     Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~             35
   36     Excess taxable income. Multiply line 35 by line 22 ••••••••••••••••••••••••••••                                      36

                                                           Excess Business Interest Income
   37     Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
          less, enter -0-.) ••••••••••••••••••••••••••••••••••••••••••••••                                                     37
   Part III S Corporation Pass-Through Items
   Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
   See the instructions for more information.

                                                                 Excess Taxable Income
   38     Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                     38
   39     Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             39
   40     Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~             40
   41     Excess taxable income. Multiply line 40 by line 22 ••••••••••••••••••••••••••••                                      41

                                                           Excess Business Interest Income
   42     Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
          less, enter -0-.) ••••••••••••••••••••••••••••••••••••••••••••••                                                     42
                                                                                                                                 Form   8990   (Rev. 12-2022)




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12430517 144871 XX-XXXXXXX                                 2022.03040 BYERS HOLDING LLC                                                      82-37831
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BYERS HOLDING LLC                               Business Interest Expense                                                                     **-***3661
                                                              Prior Disallowed    Business Interest   Business Interest   Limited Business     Disallowed
                             Description                      Business Interest                                                              Business Interest
                                                                                      Expense          Expense Ratio      Interest Expense
                                                                  Expense                                                                        Expense
                                                                                        150,334.           1.000000




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   150,334.           1.000000                    0.                  0.

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                                                          Document      Page 37 of 118
  Determination of Each Partner's Deductible Business Interest Expense
  and Section 163(j) Excess Items - Worksheet A                                                                   Keep for Your Records


   Before you begin:     u   Complete Form 8990 before beginning this worksheet.
                         u   This worksheet provides space for up to three partners. If there are more than three partners, use more than
                             one worksheet. The total column should reconcile to amounts for all partners.
                                                                               Partner 1           Partner 2           Partner 3              Total
   Step 1: Partnership - level calculation required by section 163(j)(4)(A).
    1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                               0.
    2. Partnership's business interest income (Form 8990, line 25) ~                                                                                  0.
    3. Partnership's business interest expense (Form 8990, subtract
       line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                           150,334.
    4. Partnership's deductible business interest expense (Form 8990,
       subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                            0.
    5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                150,334.
    6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                0.
    7. Partnership's excess business interest income (Form 8990, line 37) •                                                                       0.
   Step 2: Determine each partner's section 163(j) items.
   8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                           0.                0.                    0.                  0.
   9. Partner's allocable business interest income. See instructions                  0.                0.                    0.                  0.
  10. Partner's allocable business interest expense. See instructions             1,156.          147,327.                1,112.            150,334.
   Step 3: Partner - level comparison of business interest income and business interest expense.
  11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~               0.                0.                    0.                  0.
  12. Subtract line 9 from line 10. (If zero or less, enter -0-.) •••••           1,156.          147,327.                1,112.            150,334.
   Step 4: Matching partnership and aggregate partner excess business interest income.
  13. Divide line 11 by the line 11 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                    0.
  15. Subtract line 14 from line 11. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 5: Remaining business interest expense determination.
  16. Divide line 12 by the line 12 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                .77%            98.00%                  .74%           100.00%
  17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
  18. Subtract line 17 from line 12. (If zero or less, enter -0-.) ••••           1,156.          147,327.                1,112.            150,334.
   Step 6: Determination of final allocable ATI.
  19. If line 8 is greater than or equal to $0, enter the amount from
      line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                  0.                  0.                 0.
  20. If line 8 is less than $0, enter the absolute value of line 8.
      Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                  0.                  0.                 0.
  21. Divide line 19 by the line 19 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                    0.
  23. Subtract line 22 from line 19. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
  24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                           0.
  25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                           0.
  26. Subtract line 24 from line 18. (If zero or less, enter -0-.) ••••           1,156.          147,327.                1,112.            150,334.




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12430517 144871 XX-XXXXXXX                                   2022.03040 BYERS HOLDING LLC                                                   82-37831
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  Determination of Each Partner's Deductible Business Interest Expense
  and Section 163(j) Excess Items - Worksheet A - Continued                                                      Keep for Your Records


                                                                                     Partner 1       Partner 2       Partner 3             Total
   Step 8: Partner priority right to ATI capacity excess determination.
  27a.   Is the line 5 total column amount greater than zero?  Yes X   No
  27b.   Is the line 20 total column amount greater than zero? Yes X No
  27c.                                                       X Yes No
         Is the line 26 total column amount greater than zero?
  27d.   Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~       Yes X No
  28.    If line 27d is "No," enter the amount from line 25. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                  0.
  29.    If line 27d is "No," enter the amount from line 26. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~                                       1,156.        147,327.           1,112.           150,334.
  30.    If line 27d is "No," enter -0-. Otherwise, complete
         Worksheet B •••••••••••••••••••••••                                                                                                       0.
   Step 9: Matching partnership and aggregate partner excess taxable income.
  31.    Divide line 28 by the line 28 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %               %             .00%
  32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                               0.
  33.    Subtract line 32 from line 28. (If zero or less, enter -0-.) •••                                                                        0.
   Step 10: Match partnership and aggregate partner excess business interest expense.
  34.    Divide line 29 by the line 29 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                   .77%        98.00%               .74%          100.00%
  35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                             0.
  36.    If line 30 is greater than zero, enter the amount from line 30.
         Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.) •     1,156.        147,327.           1,112.           150,334.
   Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
  37.    Partner's deductible business interest expense. Subtract line
         36 from line 10~~~~~~~~~~~~~~~~~~~~~~~                                                                                                    0.
  38.    Partner's excess business interest expense. Enter the amount
         from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                         1,156.        147,327.           1,112.           150,334.
  39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                         0.
  40.    Partner's excess business interest income. Enter the amount
         from line 15 ••••••••••••••••••••••••                                                                                                     0.




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                                                                              12.3
12430517 144871 XX-XXXXXXX                                        2022.03040 BYERS HOLDING LLC                                           82-37831
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  Determination of Each Partner's Deductible Business Interest Expense
  and Section 163(j) Excess Items - Worksheet A                                                                   Keep for Your Records


   Before you begin:     u   Complete Form 8990 before beginning this worksheet.
                         u   This worksheet provides space for up to three partners. If there are more than three partners, use more than
                             one worksheet. The total column should reconcile to amounts for all partners.
                                                                               Partner 1           Partner 2           Partner 3              Total
   Step 1: Partnership - level calculation required by section 163(j)(4)(A).
    1. Partnership's Adjusted Taxable Income (ATI) (Form 8990, line 22)                                                                               0.
    2. Partnership's business interest income (Form 8990, line 25) ~                                                                                  0.
    3. Partnership's business interest expense (Form 8990, subtract
       line 4 from line 5) ~~~~~~~~~~~~~~~~~~~~~~                                                                                           150,334.
    4. Partnership's deductible business interest expense (Form 8990,
       subtract line 4 from line 30) ~~~~~~~~~~~~~~~~~                                                                                            0.
    5. Partnership's excess business interest expense (Form 8990, line 32) ~                                                                150,334.
    6. Partnership's excess taxable income (Form 8990, line 36) ~~                                                                                0.
    7. Partnership's excess business interest income (Form 8990, line 37) •                                                                       0.
   Step 2: Determine each partner's section 163(j) items.
   8. Partner's allocable ATI. See instructions ~~~~~~~~~~~                             0.                  0.                  0.                0.
   9. Partner's allocable business interest income. See instructions                    0.                  0.                  0.                0.
  10. Partner's allocable business interest expense. See instructions                 360.                190.                189.          150,334.
   Step 3: Partner - level comparison of business interest income and business interest expense.
  11. Subtract line 10 from line 9. (If zero or less, enter -0-.) ~~~~~                 0.                  0.                  0.                0.
  12. Subtract line 9 from line 10. (If zero or less, enter -0-.) •••••               360.                190.                189.          150,334.
   Step 4: Matching partnership and aggregate partner excess business interest income.
  13. Divide line 11 by the line 11 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  14. Multiply line 13 by the line 12 total column amount ~~~~~~                                                                                    0.
  15. Subtract line 14 from line 11. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 5: Remaining business interest expense determination.
  16. Divide line 12 by the line 12 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                .24%                .13%                .13%           100.00%
  17. Multiply line 16 by the line 11 total column amount ~~~~~~                                                                                  0.
  18. Subtract line 17 from line 12. (If zero or less, enter -0-.) ••••               360.                190.                189.          150,334.
   Step 6: Determination of final allocable ATI.
  19. If line 8 is greater than or equal to $0, enter the amount from
      line 8. Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~                                      0.                  0.                  0.                 0.
  20. If line 8 is less than $0, enter the absolute value of line 8.
      Otherwise, enter -0- ~~~~~~~~~~~~~~~~~~~~~                                           0.                  0.                  0.                 0.
  21. Divide line 19 by the line 19 total column amount. (If the total
      column equals zero, enter -0-.) ~~~~~~~~~~~~~~~~                                      %                   %                   %             .00%
  22. Multiply line 21 by the line 20 total column amount ~~~~~~                                                                                    0.
  23. Subtract line 22 from line 19. (If zero or less, enter -0-.) ••••                                                                             0.
   Step 7: Partner - level comparison of the applicable percentage of ATI and remaining business interest expense.
  24. Multiply line 23 by the applicable percentage (defined earlier) ~                                                                           0.
  25. Subtract line 18 from line 24. (If zero or less, enter -0-.) ~~~~                                                                           0.
  26. Subtract line 24 from line 18. (If zero or less, enter -0-.) ••••               360.                190.                189.          150,334.




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                                                                         12.4
12430517 144871 XX-XXXXXXX                                   2022.03040 BYERS HOLDING LLC                                                   82-37831
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  Determination of Each Partner's Deductible Business Interest Expense
  and Section 163(j) Excess Items - Worksheet A - Continued                                                       Keep for Your Records


                                                                                     Partner 1       Partner 2        Partner 3             Total
   Step 8: Partner priority right to ATI capacity excess determination.
  27a.   Is the line 5 total column amount greater than zero?  Yes X   No
  27b.   Is the line 20 total column amount greater than zero? Yes X No
  27c.                                                       X Yes No
         Is the line 26 total column amount greater than zero?
  27d.   Are lines 27(a), 27(b), and 27(c) all "Yes"? ~~       Yes X No
  28.    If line 27d is "No," enter the amount from line 25. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~~                                                                                                   0.
  29.    If line 27d is "No," enter the amount from line 26. Otherwise,
         complete Worksheet B ~~~~~~~~~~~~~~~~~~                                           360.            190.              189.         150,334.
  30.    If line 27d is "No," enter -0-. Otherwise, complete
         Worksheet B •••••••••••••••••••••••                                                                                                        0.
   Step 9: Matching partnership and aggregate partner excess taxable income.
  31.    Divide line 28 by the line 28 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                         %               %                %             .00%
  32.    Multiply line 31 by the line 29 total column amount ~~~~~                                                                                0.
  33.    Subtract line 32 from line 28. (If zero or less, enter -0-.) •••                                                                         0.
   Step 10: Match partnership and aggregate partner excess business interest expense.
  34.    Divide line 29 by the line 29 total column amount. (If the total
         column equals zero, enter -0-.) ~~~~~~~~~~~~~~~                                   .24%            .13%              .13%          100.00%
  35.    Multiply line 34 by the line 28 total column amount ~~~~~                                                                              0.
  36.    If line 30 is greater than zero, enter the amount from line 30.
         Otherwise, subtract line 35 from line 29. (If zero or less, enter -0-.) •         360.            190.              189.         150,334.
   Step 11: Final section 163(j) excess item and deductible business interest expense allocation.
  37.    Partner's deductible business interest expense. Subtract line
         36 from line 10~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     0.
  38.    Partner's excess business interest expense. Enter the amount
         from line 36 ~~~~~~~~~~~~~~~~~~~~~~~~                                             360.            190.              189.         150,334.
  39.    Partner's excess taxable income. Multiply line 33 by (10/3) ~                                                                          0.
  40.    Partner's excess business interest income. Enter the amount
         from line 15 ••••••••••••••••••••••••                                                                                                      0.




  223222 04-01-22
                                                                              12.5
12430517 144871 XX-XXXXXXX                                        2022.03040 BYERS HOLDING LLC                                            82-37831
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                                                         Document      Page 41 of 118

                                    Worksheet for Figuring Net Earnings (Loss) From Self-Employment

  Name of partnership                                                                                                             Employer identification number


          BYERS HOLDING LLC                                                                                                          **-***3661
  1a      Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                1a    -1,038,200.
   b      Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                      1b
   c      Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                 1c
   d      Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
          amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     1d
   e      Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1e
   f      Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1f    -1,038,200.
  2a      Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                 2a          2,950.
   b      Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2b
   c      Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2c          2,950.
  3a      Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
          on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3a    -1,041,150.
      b   Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
          organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3b    -1,020,327.
   c      Subtract line 3b from line 3a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3c              -20,823.
  4a      Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
          as defined in section 1402(c) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4a        120,632.
      b   Part of line 4a allocated to individual limited partners for other than services and to
          estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~                      4b
      c   Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4c              120,632.
  5       Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a •••••••  5                99,809.




  212161
  04-01-22
                                                                        12.6
12430517 144871 XX-XXXXXXX                                  2022.03040 BYERS HOLDING LLC                                                    82-37831
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                                             Worksheet for Adjusted Current Earnings Adjustments


  Name of partnership                                                                                         Employer identification number


      BYERS HOLDING LLC                                                                                          **-***3661
  1. Additions to AMTI:
     a. Depreciation recomputed for AMT purposes ~~~~~~~~~~~~~~~~~~~~~~~~~                          91,580.
     b. Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     c. Amortization of IRC 173 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     d. Depletion for post-1989 properties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     e. Intangible drilling costs deducted from AMTI ~~~~~~~~~~~~~~~~~~~~~~~~


     f. Total additions to AMTI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             91,580.

  2. Deductions:
     a. Depreciation recomputed for ACE purposes ~~~~~~~~~~~~~~~~~~~~~~~~~                          91,580.
     b. Depletion recomputed for ACE purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~
     c. ACE intangible drilling costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


     d. Total deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 91,580.

  3. Other adjustments:
     a. Basis adjustments from sales or exchanges ~~~~~~~~~~~~~~~~~~~~~~~~~
     b. Other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


     c. Total other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


  4. Total adjustments to AMTI for ACE calculation. Combine lines 1f, 2d and 3c   •••••••••••••••••••••••••                              0.




  212181 04-01-22
                                                                          12.7
12430517 144871 XX-XXXXXXX                                    2022.03040 BYERS HOLDING LLC                              82-37831
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 Section 1.263(a)-1(f) De Minimis Safe Harbor Election




Byers Holding LLC
717 Forest Ave., Ste 215
Lake Forest, IL 60045


Employer Identification Number:          **-***3661


For the Year Ending December 31, 2022


Byers Holding LLC is making the de minimis safe harbor election
under Reg. Sec. 1.263(a)-1(f).
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  }}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                        TAX EXPENSE                     STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
PAYROLL TAXES                                                                         121,428.
REAL EATATE TAXES                                                                      47,766.
SALES TAX                                                                                  331.
                                                                                }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 14                                                           169,525.
                                                                                ~~~~~~~~~~~~~~

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FORM 1065                      OTHER DEDUCTIONS                  STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
ADVERTISING                                                                             7,695.
AMORTIZATION EXPENSE                                                                  370,226.
AUTO EXPENSES                                                                          31,412.
BANK SERVICE CHARGES                                                                    3,581.
CONFERENCES                                                                             1,134.
CONSULTING SERIVCES                                                                    12,610.
CONTRACTORS                                                                            33,223.
EQUIPMENT LEASES                                                                      141,580.
INSURANCE                                                                              43,764.
JANITORIAL                                                                             11,723.
JOB SUPPLIES                                                                           37,960.
MEALS NOT SUBJECT TO LIMITATION                                                         2,920.
MISCELLANEOUS                                                                              198.
OFFICE EXPENSES                                                                        18,462.
PAYROLL PROCESSING FEES                                                                20,156.
POSTAGE & DELIVERY                                                                     42,365.
PROFESSIONAL FEES                                                                      42,840.
PROMOTIONAL MATERIALS                                                                      400.
REIMBURSED EXPENSES                                                                     1,140.
SALESPERSON EXPENSES                                                                   11,235.
SMALL TOOLS & EQUIPMENT                                                               170,168.
SOFTWARE                                                                               87,057.
TRAVEL                                                                                 12,367.
UTILITIES                                                                              89,187.
                                                                                }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 20                                                         1,193,403.
                                                                                ~~~~~~~~~~~~~~




                                              14                              STATEMENT(S) 1, 2
12430517 144871 XX-XXXXXXX        2022.03040 BYERS HOLDING LLC                        82-37831
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  }}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                    OTHER DEDUCTIONS                   STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
HEALTH INSURANCE PREMIUMS                                                             20,632.
EXCESS BUSINESS INTEREST EXPENSE                                                     150,334.
                                                                               }}}}}}}}}}}}}}
TOTAL INCLUDED IN SCHEDULE K, LINE 13D                                               170,966.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT   4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE PREMIUMS                                                 2,428.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 18C                                                          2,428.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                       OTHER ITEMS                     STATEMENT   5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
SECTION 199A - ORDINARY INCOME (LOSS)                                             -1,038,200.
SECTION 199A W-2 WAGES                                                             1,742,334.
SECTION 199A UNADJUSTED BASIS OF ASSETS                                            2,845,023.

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT   6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING OF    END OF TAX
DESCRIPTION                                                   TAX YEAR         YEAR
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
LOCKED MONEY MARKET                                                3,490.         3,490.
UNDEPOSITED FUNDS                                                   -201.         1,435.
DUE FROM MICHIGAN DEPT. OF TREASURY                                8,280.         8,280.
DUE FROM EMPLOYEES                                                     0.           900.
                                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                       11,569.        14,105.
                                                           ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                              15           STATEMENT(S) 3, 4, 5, 6
12430517 144871 XX-XXXXXXX        2022.03040 BYERS HOLDING LLC           82-37831
         Case 23-08545   Doc 1   Filed 06/29/23   Entered 06/29/23 09:30:59   Desc Main
  BYERS HOLDING LLC          Document  Page 46 of 118               **-***3661
  }}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                      OTHER ASSETS                     STATEMENT   7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING OF    END OF TAX
DESCRIPTION                                                   TAX YEAR         YEAR
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSIT                                                   4,000.         8,900.
                                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 13                                       4,000.         8,900.
                                                           ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT   8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                            BEGINNING OF    END OF TAX
DESCRIPTION                                                   TAX YEAR         YEAR
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
INSURANCE PAYABLE                                                   -124.           107.
PREPAID POSTAGE LIABILITY                                          8,444.       272,641.
DUE TO ILLINOIS DEPT. OF REVENUE                                   1,078.         1,204.
DUE TO MICHIGAN DEPT. OF TREASURY                                      31.           48.
INTERCOMPANY                                                      11,292.         8,216.
BANK OVERDRAFT                                                          0.      429,123.
                                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 17                                      20,721.       711,339.
                                                           ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED IN RETURN STATEMENT     9
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE PREMIUMS                                                 2,428.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 4                                                          2,428.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE M-1    DEDUCTIONS ON RETURN NOT CHARGED AGAINST BOOKS   STATEMENT 10
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
AMORTIZATION                                                                         327,862.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-1, LINE 7                                                        327,862.
                                                                               ~~~~~~~~~~~~~~




                                              16          STATEMENT(S) 7, 8, 9, 10
12430517 144871 XX-XXXXXXX        2022.03040 BYERS HOLDING LLC           82-37831
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SCHEDULE M-2                   OTHER DECREASES                   STATEMENT 11
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
GUARANTEED PAYMENTS                                                                  100,000.
NONDEDUCTIBLE EXPENSES                                                                 2,428.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE M-2, LINE 7                                                        102,428.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1125-A                      OTHER COSTS                     STATEMENT 12
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
OUT-SIDE SERIVCES                                                                     12,202.
FREIGHT & DELIVERY                                                                   121,139.
                                                                               }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                                      133,341.
                                                                               ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 4562                  PART VI - AMORTIZATION                STATEMENT 13
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                             (B)       (C)       (D)           (E)     (F)         (G)
          (A)               DATE      AMORT.     CODE          LIFE/ ACCUM.       AMORT.
  DESCRIPTION OF COSTS      BEGAN     AMOUNT     SECT.         RATE   AMORT.     THIS YR.
}}}}}}}}}}}}}}}}}}}}}}}}   }}}}}}}} }}}}}}}}}} }}}}}}          }}}} }}}}}}}}}} }}}}}}}}}}
GOODWILL                   02/23/18 1,000,000. 197             180M   255,557.     66,667.
CUSTOMER LIST              02/23/18   200,000. 197             180M    51,110.     13,333.
BUSINESS NAME              02/23/18   100,000. 197             180M    25,557.      6,667.
DEFERRED FINANCING COS     02/23/18    42,361. 461             120M    16,238.      4,236.
GOODWILL                   05/01/18 3,263,000. 197             180M   896,288.    217,533.
CUSTOMER LIST              05/01/18     1,000. 197             180M        245.        67.
COVENANT-NOT-TO COMPET     05/01/18   100,000. 197             180M    24,445.      6,667.
BUSINESS NAME              05/01/18     1,000. 197             180M        245.        67.
DEFERRED FINANCING COS     05/01/18    98,312. 461             120M    36,047.      9,831.
GOODWILL                   04/01/19   654,925. 197             180M   120,070.     43,662.
BUSINESS NAME              04/01/19     1,000. 197             180M        184.        67.
CUSTOMER LIST              04/01/19     1,000. 197             180M        184.        67.
COVENANT-NOT-TO COMPET     04/01/19        500. 197            180M         91.        33.
DEFERRED FINANCING COS     04/01/19    13,286. 461             120M     3,654.      1,329.
                                                                                }}}}}}}}}}
TOTAL TO FORM 4562, LINE 43                                                       370,226.
                                                                                ~~~~~~~~~~




                                              17           STATEMENT(S) 11, 12, 13
12430517 144871 XX-XXXXXXX        2022.03040 BYERS HOLDING LLC           82-37831
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ALTERNATIVE MINIMUM TAX DEPRECIATION REPORT




   Asset                                        Date      AMT     AMT        AMT            AMT             ACE             Regular         AMT            ACE
    No.              Description              Acquired   Method   Life   Cost Or Basis   Accumulated    Cost Or Basis     Depreciation   Depreciation   Depreciation

      37PRINTING MACHINES        012022200DB5.00                           4,902.                  0.     4,902.           4,902.         4,902.         4,902.
      38PRINTING MACHINES        022222200DB5.00                           4,902.                  0.     4,902.           4,902.         4,902.         4,902.
      39SCREEN TRUEPRESS JET 520 011822200DB5.00                          17,000.                  0.    17,000.          17,000.        17,000.        17,000.
      40PRINTING MACHINES        030222200DB5.00                           7,000.                  0.     7,000.           7,000.         7,000.         7,000.
      41PRINTING MACHINES        080122200DB5.00                          44,000.                  0.    44,000.          44,000.        44,000.        44,000.
      42PRINTING MACHINES        080122200DB5.00                           2,999.                  0.     2,999.           2,999.         2,999.         2,999.
      43PRINTING MACHINES        080122200DB5.00                           2,999.                  0.     2,999.           2,999.         2,999.         2,999.
      44PRINTING MACHINES        090122200DB5.00                           2,878.                  0.     2,878.           2,878.         2,878.         2,878.
      45PRINTING MACHINES        060122200DB5.00                           4,900.                  0.     4,900.           4,900.         4,900.         4,900.

           TOTALS                                                         91,580.                  0.    91,580.          91,580.        91,580.        91,580.




228107
04-01-22




                                                                            17.1
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                                                                                                                                                                                                      651121

Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022                                            Final K-1                   Amended K-1
                                                                                                                                      Part III Partner's Share of Current Year Income,
                                                                                                                                                                                             OMB No. 1545-0123

                                                                             For calendar year 2022, or tax year
Internal Revenue Service                                                                                                                       Deductions, Credits, and Other Items
                            beginning                                        ending                                          1 Ordinary business income (loss)            14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                     -7,980. A                         112,629.
Credits, etc.                          See separate instructions.                                                            2         Net rental real estate income (loss) C                 10,780.
  Part I Information About the Partnership                                                                                                                                15 Credits
  A Partnership's employer identification number                                                                             3 Other net rental income (loss)
  **-***3661
  B Partnership's name, address, city, state, and ZIP code                                                           4a                Guaranteed payments for services   16 Schedule K-3 is attached if
                                                                                                                                                      120,632.
                                                                                                                                                           checked ••••••••
  BYERS HOLDING LLC                                                                                                  4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  717 FOREST AVE., STE 215
  LAKE FOREST, IL 60045                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:                                                                                                        120,632.
  E-FILE                                                                                                                     5 Interest income                            18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                                                                               nondeductible expenses
   Part II         Information About the Partner                                                                     6a Ordinary dividends                                C*                             19.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
  ***-**-0749                                                                                                        6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                  19 Distributions
                                                                                                                      6c Dividend equivalents
  MATT SANDRETTO
  2439 N. JANSSEN AVENUE                                                                                                     7 Royalties                                  20 Other information
  CHICAGO, IL 60614                                                                                                                                                       Z        *                     STMT
  G X General partner or LLC                                                 Limited partner or other LLC                    8 Net short-term capital gain (loss)
             member-manager                                                  member
  H1    X    Domestic partner                                      Foreign partner                                   9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                                Name                                                                       9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                       9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                            10 Net section 1231 gain (loss)
       Profit                  VARIOUS%                                    VARIOUS%
       Loss                    VARIOUS%                                    VARIOUS%                                  11 Other income (loss)
       Capital                 VARIOUS%                                    VARIOUS%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                               Beginning                                   Ending                    12 Section 179 deduction                             21 Foreign taxes paid or accrued
       Nonrecourse ••• $                                                 $
       Qualified nonrecourse                                                                                         13 Other deductions
       financing •••• $                                $                                         K                                                       1,156.
       Recourse •••• $                      7,247,270. $                              7,372,527. M                                                      20,632.
       Check this box if Item K includes liability amounts from lower-tier partnerships   •••••
  L                         Partner's Capital Account Analysis                                                       22                       More than one activity for at-risk purposes*
                                                                                                                     23                       More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~                          $             -2,535,848.                                         *See attached statement for additional information.
       Capital contributed during the year ~~~~~~                   $
       Current year net income (loss) ~~~~~~~~                      $                        -9,155.
       Other increase (decrease) (attach explanation) ~             $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~                       $(                                        )
       Ending capital account ~~~~~~~~~~                            $             -2,545,003.
  M Did the partner contribute property with a built-in gain (loss)?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~ $
     Ending •••••••••••••••••• $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                             5
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  }}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE
PREMIUMS                                                                                  19.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                     19.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}

TRADE OR BUSINESS -

   ORDINARY INCOME (LOSS)                                                                 -7,980.
   SELF-EMPLOYMENT EARNINGS(LOSS)                                                         91,997.
   HEALTH INSURANCE PAYMENTS                                                              20,632.
   W-2 WAGES                                                                              13,392.
   UNADJUSTED BASIS OF ASSETS                                                             21,868.




                                                                       PARTNER NUMBER 5
         Case 23-08545   Doc 1   Filed 06/29/23   Entered 06/29/23 09:30:59   Desc Main
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  }}}}}}}}}}}}}}}}}                                                  }}}}}}}}}}
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SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20,
 UNDER CODE Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 THE QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE
 AGGREGATIONS AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE
 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE STATEMENT.




~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                    AMOUNT         TOTALS
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                            -7,980.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                                -7,980.

OTHER DEDUCTIONS                                                  -1,156.
NONDEDUCTIBLE EXPENSES                                               -19.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                 -1,175.
                                                                               }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                                    -9,155.
                                                                               ~~~~~~~~~~~~~~



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SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY
 OF THE SCHEDULE UNLESS YOU REQUEST ONE.




                                                                       PARTNER NUMBER 5
        7         Case 23-08545                        Doc 1             Filed 06/29/23 Entered 06/29/23 09:30:59                                                                  Desc Main
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022                                            Final K-1                      Amended K-1
                                                                                                                                      Part III Partner's Share of Current Year Income,
                                                                                                                                                                                                 OMB No. 1545-0123

                                                                             For calendar year 2022, or tax year
Internal Revenue Service                                                                                                                       Deductions, Credits, and Other Items
                            beginning                                        ending                                          1 Ordinary business income (loss)                14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                         -1,017,436.
Credits, etc.                          See separate instructions.                                                            2         Net rental real estate income (loss)

  Part I Information About the Partnership                                                                                                                                    15 Credits
  A Partnership's employer identification number                                                                             3 Other net rental income (loss)
  **-***3661
  B Partnership's name, address, city, state, and ZIP code                                                           4a                Guaranteed payments for services       16 Schedule K-3 is attached if
                                                                                                                                                           checked ••••••••
  BYERS HOLDING LLC                                                                                                  4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  717 FOREST AVE., STE 215
  LAKE FOREST, IL 60045                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                                     5 Interest income                                18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                                                                                 nondeductible expenses
   Part II         Information About the Partner                                                                     6a Ordinary dividends                                    C*                     2,379.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
  **-***8531                                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                      19 Distributions
                                                                                                                      6c Dividend equivalents
  JAL EQUITY, INC.
  3600 TORREY PINES BLVD                                                                                                     7 Royalties                                      20 Other information
  SARASOTA, FL 34240                                                                                                                                                          Z      *                     STMT
  G          General partner or LLC                                 X        Limited partner or other LLC                    8 Net short-term capital gain (loss)
             member-manager                                                  member
  H1    X    Domestic partner                                      Foreign partner                                   9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                                Name                                                                       9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? CORPORATION
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                       9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                            10 Net section 1231 gain (loss)
       Profit                  VARIOUS%                                    VARIOUS%
       Loss                    VARIOUS%                                    VARIOUS%                                  11 Other income (loss)
       Capital                 VARIOUS%                                    VARIOUS%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                               Beginning                                   Ending                    12 Section 179 deduction                                 21 Foreign taxes paid or accrued
       Nonrecourse ••• $                                                 $
       Qualified nonrecourse                                                                                         13 Other deductions
       financing •••• $                                              $                                             K                                   147,327.
       Recourse •••• $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   •••••
  L                         Partner's Capital Account Analysis                                                       22                        More than one activity for at-risk purposes*
                                                                                                                     23                        More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~                          $                  -391,798.                                      *See attached statement for additional information.
       Capital contributed during the year ~~~~~~                   $
       Current year net income (loss) ~~~~~~~~                      $             -1,167,142.
       Other increase (decrease) (attach explanation) ~             $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~                       $(                                        )
       Ending capital account ~~~~~~~~~~                            $             -1,558,940.
  M Did the partner contribute property with a built-in gain (loss)?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~ $
     Ending •••••••••••••••••• $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                   www.irs.gov/Form1065                 Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                                 7
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  BYERS HOLDING LLC          Document  Page 53 of 118               **-***3661
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE
PREMIUMS                                                                               2,379.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                  2,379.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                        AMOUNT
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TRADE OR BUSINESS -

   ORDINARY INCOME (LOSS)                                                         -1,017,436.
   W-2 WAGES                                                                       1,707,487.
   UNADJUSTED BASIS OF ASSETS                                                      2,788,122.




                                                                       PARTNER NUMBER 7
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  BYERS HOLDING LLC           Document  Page 54 of 118               **-***3661
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SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
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 THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20,
 UNDER CODE Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 THE QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE
 AGGREGATIONS AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE
 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE STATEMENT.




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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                    AMOUNT         TOTALS
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                        -1,017,436.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                            -1,017,436.

OTHER DEDUCTIONS                                                -147,327.
NONDEDUCTIBLE EXPENSES                                            -2,379.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                               -149,706.
                                                                               }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                                -1,167,142.
                                                                               ~~~~~~~~~~~~~~



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SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
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 THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY
 OF THE SCHEDULE UNLESS YOU REQUEST ONE.




                                                                       PARTNER NUMBER 7
        8         Case 23-08545                        Doc 1             Filed 06/29/23 Entered 06/29/23 09:30:59                                                                Desc Main
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022                                            Final K-1                   Amended K-1
                                                                                                                                      Part III Partner's Share of Current Year Income,
                                                                                                                                                                                             OMB No. 1545-0123

                                                                             For calendar year 2022, or tax year
Internal Revenue Service                                                                                                                       Deductions, Credits, and Other Items
                            beginning                                        ending                                          1 Ordinary business income (loss)            14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                     -7,682. A                           -7,704.
Credits, etc.                          See separate instructions.                                                            2         Net rental real estate income (loss) C                  10,378.
  Part I Information About the Partnership                                                                                                                                15 Credits
  A Partnership's employer identification number                                                                             3 Other net rental income (loss)
  **-***3661
  B Partnership's name, address, city, state, and ZIP code                                                           4a                Guaranteed payments for services   16 Schedule K-3 is attached if
                                                                                                                                                           checked ••••••••
  BYERS HOLDING LLC                                                                                                  4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  717 FOREST AVE., STE 215
  LAKE FOREST, IL 60045                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                                     5 Interest income                            18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                                                                               nondeductible expenses
   Part II         Information About the Partner                                                                     6a Ordinary dividends                                C*                             18.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
  **-***3161                                                                                                         6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                  19 Distributions
                                                                                                                      6c Dividend equivalents
  MOLLEHHOUR GROSS LLC
  11409 MUNICIPAL CENTER DRIVE #23434                                                                                        7 Royalties                                  20 Other information
  KNOXVILLE, TN 37933                                                                                                                                                     Z        *                     STMT
  G   General partner or LLC X Limited partner or other LLC                                                                  8 Net short-term capital gain (loss)
             member-manager                                                  member
  H1    X    Domestic partner                                      Foreign partner                                   9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                                Name                                                                       9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? PARTNERSHIP
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                       9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                            10 Net section 1231 gain (loss)
       Profit                  VARIOUS%                                    VARIOUS%
       Loss                    VARIOUS%                                    VARIOUS%                                  11 Other income (loss)
       Capital                 VARIOUS%                                    VARIOUS%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                               Beginning                                   Ending                    12 Section 179 deduction                             21 Foreign taxes paid or accrued
       Nonrecourse ••• $                                                 $
       Qualified nonrecourse                                                                                         13 Other deductions
       financing •••• $                                              $                                             K                                       1,112.
       Recourse •••• $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   •••••
  L                         Partner's Capital Account Analysis                                                       22                       More than one activity for at-risk purposes*
                                                                                                                     23                       More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~                          $                                                                 *See attached statement for additional information.
       Capital contributed during the year ~~~~~~                   $
       Current year net income (loss) ~~~~~~~~                      $                        -8,812.
       Other increase (decrease) (attach explanation) ~             $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~                       $(                                        )
       Ending capital account ~~~~~~~~~~                            $                        -8,812.
  M Did the partner contribute property with a built-in gain (loss)?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~ $
     Ending •••••••••••••••••• $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                Schedule K-1 (Form 1065) 2022
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  BYERS HOLDING LLC          Document  Page 56 of 118               **-***3661
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE
PREMIUMS                                                                                  18.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                     18.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                        AMOUNT
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TRADE OR BUSINESS -

   ORDINARY INCOME (LOSS)                                                                 -7,682.
   SELF-EMPLOYMENT EARNINGS(LOSS)                                                         -7,704.
   W-2 WAGES                                                                              12,892.
   UNADJUSTED BASIS OF ASSETS                                                             21,052.




                                                                       PARTNER NUMBER 8
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SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
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 THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20,
 UNDER CODE Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 THE QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE
 AGGREGATIONS AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE
 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE STATEMENT.




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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                    AMOUNT         TOTALS
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                            -7,682.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                                -7,682.

OTHER DEDUCTIONS                                                  -1,112.
NONDEDUCTIBLE EXPENSES                                               -18.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                 -1,130.
                                                                               }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                                    -8,812.
                                                                               ~~~~~~~~~~~~~~



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SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
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 THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY
 OF THE SCHEDULE UNLESS YOU REQUEST ONE.




                                                                       PARTNER NUMBER 8
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022                                            Final K-1                   Amended K-1
                                                                                                                                      Part III Partner's Share of Current Year Income,
                                                                                                                                                                                             OMB No. 1545-0123

                                                                             For calendar year 2022, or tax year
Internal Revenue Service                                                                                                                       Deductions, Credits, and Other Items
                            beginning                                        ending                                          1 Ordinary business income (loss)            14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                     -2,486. A                           -2,493.
Credits, etc.                          See separate instructions.                                                            2         Net rental real estate income (loss) C                   3,358.
  Part I Information About the Partnership                                                                                                                                15 Credits
  A Partnership's employer identification number                                                                             3 Other net rental income (loss)
  **-***3661
  B Partnership's name, address, city, state, and ZIP code                                                           4a                Guaranteed payments for services   16 Schedule K-3 is attached if
                                                                                                                                                           checked ••••••••
  BYERS HOLDING LLC                                                                                                  4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  717 FOREST AVE., STE 215
  LAKE FOREST, IL 60045                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                                     5 Interest income                            18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                                                                               nondeductible expenses
   Part II         Information About the Partner                                                                     6a Ordinary dividends                                C*                               6.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
  ***-**-7180                                                                                                        6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                  19 Distributions
                                                                                                                      6c Dividend equivalents
  JEFF PAYNE
  8 WAWASET FARM LANE                                                                                                        7 Royalties                                  20 Other information
  WEST CHESTER, PA 19382                                                                                                                                                  Z        *                     STMT
  G          General partner or LLC                                 X        Limited partner or other LLC                    8 Net short-term capital gain (loss)
             member-manager                                                  member
  H1    X    Domestic partner                                      Foreign partner                                   9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                                Name                                                                       9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                       9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                            10 Net section 1231 gain (loss)
       Profit                  VARIOUS%                                    VARIOUS%
       Loss                    VARIOUS%                                    VARIOUS%                                  11 Other income (loss)
       Capital                 VARIOUS%                                    VARIOUS%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                               Beginning                                   Ending                    12 Section 179 deduction                             21 Foreign taxes paid or accrued
       Nonrecourse ••• $                                                 $
       Qualified nonrecourse                                                                                         13 Other deductions
       financing •••• $                                              $                                             K                                            360.
       Recourse •••• $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   •••••
  L                         Partner's Capital Account Analysis                                                       22                       More than one activity for at-risk purposes*
                                                                                                                     23                       More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~                          $                                                                 *See attached statement for additional information.
       Capital contributed during the year ~~~~~~                   $
       Current year net income (loss) ~~~~~~~~                      $                        -2,852.
       Other increase (decrease) (attach explanation) ~             $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~                       $(                                        )
       Ending capital account ~~~~~~~~~~                            $                        -2,852.
  M Did the partner contribute property with a built-in gain (loss)?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~ $
     Ending •••••••••••••••••• $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                Schedule K-1 (Form 1065) 2022
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE
PREMIUMS                                                                                   6.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                      6.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                        AMOUNT
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TRADE OR BUSINESS -

   ORDINARY INCOME (LOSS)                                                                 -2,486.
   SELF-EMPLOYMENT EARNINGS(LOSS)                                                         -2,493.
   W-2 WAGES                                                                               4,172.
   UNADJUSTED BASIS OF ASSETS                                                              6,812.




                                                                       PARTNER NUMBER 9
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SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
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 THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20,
 UNDER CODE Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 THE QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE
 AGGREGATIONS AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE
 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE STATEMENT.




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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                    AMOUNT         TOTALS
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                            -2,486.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                                -2,486.

OTHER DEDUCTIONS                                                    -360.
NONDEDUCTIBLE EXPENSES                                                -6.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -366.
                                                                               }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                                    -2,852.
                                                                               ~~~~~~~~~~~~~~



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SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
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 THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY
 OF THE SCHEDULE UNLESS YOU REQUEST ONE.




                                                                       PARTNER NUMBER 9
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022                                            Final K-1                   Amended K-1
                                                                                                                                      Part III Partner's Share of Current Year Income,
                                                                                                                                                                                             OMB No. 1545-0123

                                                                             For calendar year 2022, or tax year
Internal Revenue Service                                                                                                                       Deductions, Credits, and Other Items
                            beginning                                        ending                                          1 Ordinary business income (loss)            14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                     -1,308. A                           -1,311.
Credits, etc.                          See separate instructions.                                                            2         Net rental real estate income (loss) C                   1,767.
  Part I Information About the Partnership                                                                                                                                15 Credits
  A Partnership's employer identification number                                                                             3 Other net rental income (loss)
  **-***3661
  B Partnership's name, address, city, state, and ZIP code                                                           4a                Guaranteed payments for services   16 Schedule K-3 is attached if
                                                                                                                                                           checked ••••••••
  BYERS HOLDING LLC                                                                                                  4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  717 FOREST AVE., STE 215
  LAKE FOREST, IL 60045                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                                     5 Interest income                            18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                                                                               nondeductible expenses
   Part II         Information About the Partner                                                                     6a Ordinary dividends                                C*                               3.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
  ***-**-5809                                                                                                        6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                  19 Distributions
                                                                                                                      6c Dividend equivalents
  KEITH KOWAL
  437 QUIGLEY DRIVE                                                                                                          7 Royalties                                  20 Other information
  MALVERN, PA 19355                                                                                                                                                       Z        *                     STMT
  G          General partner or LLC                                 X        Limited partner or other LLC                    8 Net short-term capital gain (loss)
             member-manager                                                  member
  H1    X    Domestic partner                                      Foreign partner                                   9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                                Name                                                                       9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                       9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                            10 Net section 1231 gain (loss)
       Profit                  VARIOUS%                                    VARIOUS%
       Loss                    VARIOUS%                                    VARIOUS%                                  11 Other income (loss)
       Capital                 VARIOUS%                                    VARIOUS%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                               Beginning                                   Ending                    12 Section 179 deduction                             21 Foreign taxes paid or accrued
       Nonrecourse ••• $                                                 $
       Qualified nonrecourse                                                                                         13 Other deductions
       financing •••• $                                              $                                             K                                            190.
       Recourse •••• $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   •••••
  L                         Partner's Capital Account Analysis                                                       22                       More than one activity for at-risk purposes*
                                                                                                                     23                       More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~                          $                                                                 *See attached statement for additional information.
       Capital contributed during the year ~~~~~~                   $
       Current year net income (loss) ~~~~~~~~                      $                        -1,501.
       Other increase (decrease) (attach explanation) ~             $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~                       $(                                        )
       Ending capital account ~~~~~~~~~~                            $                        -1,501.
  M Did the partner contribute property with a built-in gain (loss)?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~ $
     Ending •••••••••••••••••• $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                           10
         Case 23-08545   Doc 1   Filed 06/29/23   Entered 06/29/23 09:30:59   Desc Main
  BYERS HOLDING LLC          Document  Page 62 of 118               **-***3661
  }}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE
PREMIUMS                                                                                   3.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                      3.
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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                        AMOUNT
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TRADE OR BUSINESS -

   ORDINARY INCOME (LOSS)                                                                 -1,308.
   SELF-EMPLOYMENT EARNINGS(LOSS)                                                         -1,312.
   W-2 WAGES                                                                               2,195.
   UNADJUSTED BASIS OF ASSETS                                                              3,585.




                                                                       PARTNER NUMBER 10
         Case 23-08545   Doc 1   Filed 06/29/23   Entered 06/29/23 09:30:59   Desc Main
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  }}}}}}}}}}}}}}}}}                                                  }}}}}}}}}}
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SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
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 THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20,
 UNDER CODE Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 THE QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE
 AGGREGATIONS AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE
 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE STATEMENT.




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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                    AMOUNT         TOTALS
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                            -1,308.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                                -1,308.

OTHER DEDUCTIONS                                                    -190.
NONDEDUCTIBLE EXPENSES                                                -3.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -193.
                                                                               }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                                    -1,501.
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SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
 THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY
 OF THE SCHEDULE UNLESS YOU REQUEST ONE.




                                                                       PARTNER NUMBER 10
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Schedule K-1
(Form 1065)
Department of the Treasury
                                                                                         2022                                            Final K-1                   Amended K-1
                                                                                                                                      Part III Partner's Share of Current Year Income,
                                                                                                                                                                                             OMB No. 1545-0123

                                                                             For calendar year 2022, or tax year
Internal Revenue Service                                                                                                                       Deductions, Credits, and Other Items
                            beginning                                        ending                                          1 Ordinary business income (loss)            14 Self-employment earnings (loss)
Partner's Share of Income, Deductions,                                                                                                                     -1,308. A                           -1,312.
Credits, etc.                          See separate instructions.                                                            2         Net rental real estate income (loss) C                   1,767.
  Part I Information About the Partnership                                                                                                                                15 Credits
  A Partnership's employer identification number                                                                             3 Other net rental income (loss)
  **-***3661
  B Partnership's name, address, city, state, and ZIP code                                                           4a                Guaranteed payments for services   16 Schedule K-3 is attached if
                                                                                                                                                           checked ••••••••
  BYERS HOLDING LLC                                                                                                  4b Guaranteed payments for capital 17 Alternative min tax (AMT) items
  717 FOREST AVE., STE 215
  LAKE FOREST, IL 60045                                                                                               4c Total guaranteed payments
  C IRS center where partnership filed return:
  E-FILE                                                                                                                     5 Interest income                            18 Tax-exempt income and
  D          Check if this is a publicly traded partnership (PTP)                                                                                                               nondeductible expenses
   Part II         Information About the Partner                                                                     6a Ordinary dividends                                C*                               3.
  E Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)
  ***-**-3469                                                                                                        6b Qualified dividends
  F Name, address, city, state, and ZIP code for partner entered in E. See instructions.                                                                                  19 Distributions
                                                                                                                      6c Dividend equivalents
  SHARI CAMBRONNE
  4590 HELMO AVENUE                                                                                                          7 Royalties                                  20 Other information
  OAKDALE, MN 55128                                                                                                                                                       Z        *                     STMT
  G          General partner or LLC                                 X        Limited partner or other LLC                    8 Net short-term capital gain (loss)
             member-manager                                                  member
  H1    X    Domestic partner                                      Foreign partner                                   9a Net long-term capital gain (loss)
  H2         If the partner is a disregarded entity (DE), enter the partner's:
       TIN                                Name                                                                       9b Collectibles (28%) gain (loss)
  I1 What type of entity is this partner? INDIVIDUAL
  I2 If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here ~~~~                                       9c Unrecaptured section 1250 gain
  J Partner's share of profit, loss, and capital:
                         Beginning                                 Ending                                            10 Net section 1231 gain (loss)
       Profit                  VARIOUS%                                    VARIOUS%
       Loss                    VARIOUS%                                    VARIOUS%                                  11 Other income (loss)
       Capital                 VARIOUS%                                    VARIOUS%
       Check if decrease is due to sale or exchange of partnership interest ~~~~
  K Partner's share of liabilities:
                                               Beginning                                   Ending                    12 Section 179 deduction                             21 Foreign taxes paid or accrued
       Nonrecourse ••• $                                                 $
       Qualified nonrecourse                                                                                         13 Other deductions
       financing •••• $                                              $                                             K                                            189.
       Recourse •••• $                                            0. $                                    0.
       Check this box if Item K includes liability amounts from lower-tier partnerships   •••••
  L                         Partner's Capital Account Analysis                                                       22                       More than one activity for at-risk purposes*
                                                                                                                     23                       More than one activity for passive activity purposes*
       Beginning capital account ~~~~~~~~~                          $                                                                 *See attached statement for additional information.
       Capital contributed during the year ~~~~~~                   $
       Current year net income (loss) ~~~~~~~~                      $                        -1,500.
       Other increase (decrease) (attach explanation) ~             $
                                                                                                                   For IRS Use Only




       Withdrawals and distributions ~~~~~~~~                       $(                                        )
       Ending capital account ~~~~~~~~~~                            $                        -1,500.
  M Did the partner contribute property with a built-in gain (loss)?
           Yes       X No If "Yes," attach statement. See instructions.
  N Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
     Beginning ~~~~~~~~~~~~~~~~ $
     Ending •••••••••••••••••• $
211261 11-28-22 LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                                  www.irs.gov/Form1065                Schedule K-1 (Form 1065) 2022
                                                                                                                                                                                                           11
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SCHEDULE K-1         NONDEDUCTIBLE EXPENSES, BOX 18, CODE C
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DESCRIPTION                          PARTNER FILING INSTRUCTIONS                   AMOUNT
}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}}}}}}}}}}               }}}}}}}}}}}}}}
NON-DEDUCTIBLE LIFE INSURANCE
PREMIUMS                                                                                   3.
                                                                               }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K-1, BOX 18, CODE C                                                      3.
                                                                               ~~~~~~~~~~~~~~

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SCHEDULE K-1       SECTION 199A INFORMATION, BOX 20, CODE Z
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DESCRIPTION                                                                        AMOUNT
}}}}}}}}}}}                                                                    }}}}}}}}}}}}}}

TRADE OR BUSINESS -

   ORDINARY INCOME (LOSS)                                                                 -1,308.
   SELF-EMPLOYMENT EARNINGS(LOSS)                                                         -1,312.
   W-2 WAGES                                                                               2,195.
   UNADJUSTED BASIS OF ASSETS                                                              3,584.




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SCHEDULE K-1        SECTION 199A ADDITIONAL INFORMATION
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 THE SECTION 199A AMOUNTS TO BE USED IN THE CALCULATION OF QUALIFIED
 BUSINESS INCOME DEDUCTION ON YOUR 1040/1041 RETURN ARE REPORTED ON LINE 20,
 UNDER CODE Z. PLEASE CONSULT YOUR TAX ADVISOR REGARDING THE CALCULATION OF
 THE QUALIFIED BUSINESS INCOME DEDUCTION, INCLUDING THE POSSIBLE
 AGGREGATIONS AND LIMITATIONS THAT MAY APPLY AND THE FILING OF THE
 1.199A-4(C)(2)(I) ANNUAL DISCLOSURE STATEMENT.




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SCHEDULE K-1           CURRENT YEAR NET INCOME (LOSS) AND
                         OTHER INCREASES(DECREASES)
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DESCRIPTION                                                    AMOUNT         TOTALS
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
ORDINARY INCOME (LOSS)                                            -1,308.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 INCOME SUBTOTAL                                                -1,308.

OTHER DEDUCTIONS                                                    -189.
NONDEDUCTIBLE EXPENSES                                                -3.
                                                           }}}}}}}}}}}}}}
     SCHEDULE K-1 DEDUCTIONS SUBTOTAL                                                   -192.
                                                                               }}}}}}}}}}}}}}
NET INCOME (LOSS) PER SCHEDULE K-1                                                    -1,500.
                                                                               ~~~~~~~~~~~~~~



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SCHEDULE K-1            SCHEDULE K-3 NOTIFICATION
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 THE SCHEDULE K-3 HAS NOT BEEN PREPARED FOR YOU. YOU WILL NOT RECEIVE A COPY
 OF THE SCHEDULE UNLESS YOU REQUEST ONE.




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                                  2022 TAX RETURN FILING INSTRUCTIONS
                                                          ILLINOIS FORM IL-1065



                                                          FOR THE YEAR ENDING

                                                           DECEMBER 31, 2022
                                                          ~~~~~~~~~~~~~~~~~~

Prepared for
                          BYERS HOLDING LLC
                          717 FOREST AVE., STE 215
                          LAKE FOREST, IL 60045

Prepared by
                          HEGRE, MCMAHON & SCHIMMEL, LLC
                          600 ENTERPRISE DRIVE, STE 109
                          OAK BROOK, IL 60523

To be signed and          A MEMBER OF THE LLC
dated by
Amount of tax                                                           0.00
                         Total tax                        $   ~~~~~~~~~~~~~
                         Less: payments and credits       $             0.00
                                                              ~~~~~~~~~~~~~
                         Plus: other amount               $             0.00
                                                              ~~~~~~~~~~~~~
                         Plus: interest and penalties     $             0.00
                                                              ~~~~~~~~~~~~~
                          NO PMT REQUIRED                 $   ~~~~~~~~~~~~~

Overpayment                                                                0.00
                         Credited to your estimated tax        $ ~~~~~~~~~~~~~
                         Other amount                          $           0.00
                                                                 ~~~~~~~~~~~~~
                         Refunded to you                       $           0.00
                                                                 ~~~~~~~~~~~~~

Mail tax return           THIS RETURN HAS BEEN PREPARED FOR ELECTRONIC FILING. IF YOU
and check (if             WISH TO HAVE IT TRANSMITTED TO THE IDOR, PLEASE SIGN, DATE AND
applicable) to            RETURN FORM 8879-SO TO OUR OFFICE. WE WILL THEN SUBMIT THE
                          ELECTRONIC RETURN TO THE IDOR.


Forms to be               ENCLOSED ARE COPIES OF SCHEDULE K-1-P TO BE DISTRIBUTED TO
distributed               EACH PARTNER.
to partners
Return must be            NOT APPLICABLE
mailed on
or before
Special                   DO NOT MAIL THE PAPER COPY OF THE RETURN TO THE IDOR.
Instructions




210142 04-01-22
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                                             State-Only e-file Signature Authorization
 8879-SO                                          | Do not send to the Taxing Authority. This is not a tax return.                                          2022
                                                              | Keep this form for your records.

Taxpayer name                                                                                                                             FEIN
BYERS HOLDING LLC                                                                                                                                **-***3661




                                                                                                                                                     ----
 Part I Electronically Filed States

  ILLINOIS




 Part II          Declaration and Signature Authorization (Be sure you get and keep a copy of your return)
Under penalties of perjury, I declare that I have examined a copy of my electronic income tax return and accompanying schedules and statements for tax year 2022, and to
the best of my knowledge and belief, it is true, correct, and complete. I consent to allow my intermediate service provider, transmitter, or electronic return originator (ERO)
to send my return to the taxing authority and to receive from the taxing authority (a) an acknowledgement of receipt or reason for rejection of the transmission, (b) the
reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize the taxing authority and its designated Financial Agent to
initiate an ACH electronic funds withdrawal (direct debit) entry to the financial institution account indicated in the tax preparation software for payment of my state taxes
owed on this return and/or a payment of estimated tax, and the financial institution to debit the entry to this account. I further understand that this also authorizes the
financial institutions involved in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve issues
related to the payment. I further acknowledge that the personal identification number (PIN) below is my signature for my electronic income tax return and, if applicable,
my Electronic Funds Withdrawal Consent.


Taxpayer's PIN: check one box only
  X    I authorize   HEGRE, MCMAHON & SCHIMMEL, LLC                                                     to enter or generate my PIN         60523
                                     ERO firm name                                                                                        Enter five numbers, but
       as my signature on my tax year 2022 electronically filed income tax return.                                                        do not enter all zeros

       I will enter my PIN as my signature on my tax year 2022 electronically filed income tax return. Check this box only if you are entering your own
       PIN and your return is filed using the Practitioner PIN method. The ERO must complete Part III below.


Your signature |                                                                                                                Date |


Title |     MANAGING MEMBER


 Part III         Certification and Authentication

ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                 15476860602
                                                                                                      do not enter all zeros
I certify that the above numeric entry is my PIN, which is my signature for the tax year 2022 electronically filed income tax return for the taxpayer
indicated above.


ERO's signature |                                                                                                               Date |      05/17/23

                                                            ERO Must Retain This Form
                                                   Do Not Submit This Form to the Taxing Authority




219875 04-01-22
                                                           Case 23-08545                    Doc 1          Filed 06/29/23 Entered 06/29/23 09:30:59                                                         Desc Main
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                                                         Illinois Department of Revenue
                                                         2022 Form IL-1065
                                                         Partnership Replacement Tax Return
                                                         See "When should I file?" in the Form IL-1065 instructions for a list of due dates.
                  If this return is not for calendar year 2022, enter your fiscal tax year here.
                  Tax year beginning                                              , ending                                                                                                             Enter the amount you are paying.
                                                                      month        day           year                      month         day             year
                                                                                                                                                                                                       $
                                  WARNING This form is for tax years ending on or after December 31, 2022, and before December 31, 2023.
                                          For all other situations, see instructions to determine the correct form to use.
    Step 1:                                              Identify your partnership                                                                                      K Enter your federal employer identification number (FEIN).
                                               A Enter your complete legal business name.                                                                                   **-***3661
                                                 If you have a name change, check this box.                                                                             L          Check this box if you are a member of a unitary
                                                 Name: BYERS HOLDING LLC                                                                                                      business group and are included on a Schedule UB,
                                                                                                                                                                              Combined Apportionment for Unitary Business
                                               B Enter your mailing address.                                                                                                  Group. Enter the FEIN of the member who prepared
                                                 Check this box if either of the following apply:                                                                             the Schedule UB and attach it to this return.
                                                 ¥ this is your first return, or
                                                 ¥ you have an address change.                                                                                          M Enter your North American Industry Classification
                                                 C/O:                                                                                                                     System (NAICS) Code. See instructions.
                                                 Mailing address: 717 FOREST AVE., STE                                     215                                              323100
                                                 City: LAKE FOREST                                                State:   IL ZIP: 60045
                                                                                                                                                                        N Enter the city, state, and ZIP code where your
                                               C If this is the first or final return, check the applicable box(es).                                                      accounting records are kept. (Use the two-letter
                                                          First return                                                                                                    postal abbreviation, e.g., IL, GA, etc.)
                                                          Final return (Enter the date of termination.                             )                                        LAKE FOREST                               IL          60045
                                                                                                        mm      dd         yyyy                                             City                              State   ZIP

                                               D If this is a final return because you sold this business, enter the date sold                                          O If you are making the business income election to
                                                 (mm dd yyyy)                            , and the new owner's FEIN.                                                      treat all nonbusiness income as business income,
                                                                                                                                                                          check this box and enter zero on Lines 36 and 44.
                                               E Apportionment Formulas. Check the appropriate box or boxes and                                                         P If you have completed the following, check the box
                                                 see Apportionment Formula instructions.                                                                                  and attach the federal form(s) to this return.
                                                         Financial organizations                 Transportation companies                                                         Federal Form 8886             Federal Sch. M-3,
                                                         Federally regulated exchanges       X Sales companies                                                                                                  Part II, Line 10
                                               F Check this box if you are:                                                                                             Q Check this box if you attached Form IL-4562.           X
                                                         classified as an investment partnership                                                                        R Check this box if you attached Illinois
                                                         classified as a publicly-traded partnership                                                                      Schedule M (for businesses).
                                               G Check this box if you made an IRC ¤ 761 election.                                                                      S Check this box if you attached Schedule 80/20.
                                               H Check this box if you are a 52/53 week filer.                                                                          T Check this box if you attached Schedule 1299-A.
                                               I Check this box if you elected to file and pay Pass-through                                                             U Check this box if your business activity is
                                                 Entity (PTE) Tax. See instructions.                                                                                      protected under Public Law 86-272.
                                               J If you are paying Pass-through Entity (PTE) Tax and you annualized your                                                V Check this box if you attached the Subgroup
                                                 income on Form IL-2220, check this box and attach Form IL-2220.                                                          Schedule.


      <
                                               Step 2:       Figure your ordinary income or loss                                                                                                               (Whole dollars only)
                                                 1 Ordinary income or loss, or equivalent from federal Schedule K.                                                                                      1       -1,038,200                .00
Attach your payment and Form IL-1065-V here.




                                                 2 Net income or loss from all rental real estate activities.                                                                                           2                                 .00
                                                 3 Net income or loss from other rental activities.                                                                                                     3                                 .00
                                                 4 Portfolio income or loss.                                                                                                                            4                                 .00
                                                 5 Net IRC Section 1231 gain or loss.                                                                                                                   5                                 .00
                                                 6 All other items of income or loss that were not included in the computation of income or loss on
                                                   Page 1 of U.S. Form 1065. See instructions. Identify:                                                                                                6                                 .00
                                                 7 Add Lines 1 through 6. This is your ordinary income or loss.                                                                                         7       -1,038,200                .00

                                               Step 3:       Figure your unmodified base income or loss
                                                8 Charitable contributions.                                                                                                                             8                                 .00
                                                9 Expense deduction under IRC Section 179.                                                                                                              9                                 .00
                                               10 Interest on investment indebtedness.                                                                                                                 10                                 .00
                                               11 All other items of expense that were not deducted in the computation of ordinary income or loss on
                                                  Page 1 of U.S. Form 1065. See instructions. Identify:                SEE STATEMENT                                   1                               11           20,632                .00


      ;
                                               12 Add Lines 8 through 11.                                                                                                                              12           20,632                .00
                                               13 Subtract Line 12 from Line 7. This amount is your total unmodified base income or loss.                                                              13       -1,058,832                .00
                                                   IR          NS       DR
                                                                                                              This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                       IL-1065 (R-12/22)                                      information is REQUIRED. Failure to provide information could result in a penalty.
                                                       249151 01-23-23     ID: 2BX
                                                                                                                                                                                                                            Page 1 of 5
           BYERS
             Case HOLDING
                  23-08545 LLC
                            Doc                      1      Filed 06/29/23 Entered 06/29/23 09:30:59 **-***3661
                                                                                                      Desc Main
                                                            Document      Page 70 of 118



Step 4:       Figure your income or loss
  14   Enter your unmodified base income or loss from Line 13.                                                                           14   -1,058,832             .00
  15   State, municipal, and other interest income excluded from Line 14.                                                                15                          .00
  16   Illinois taxes deducted in arriving at Line 14. See Instructions.                                                                 16                          .00
  17   Illinois Special Depreciation addition. Attach Form IL-4562.                                                                      17          91,580          .00
  18   Related-Party Expenses addition. Attach Schedule 80/20.                                                                           18                          .00
  19   Distributive share of additions. Attach Schedule(s) K-1-P or K-1-T.                                                               19                          .00
  20   Guaranteed payments to partners from U.S. Form 1065.                                                                              20     120,632              .00
  21   The amount of loss distributable to a partner subject to replacement tax. Attach Schedule B.                                      21   1,279,120              .00
  22   Other additions. Attach Illinois Schedule M (for businesses).                                                                     22                          .00
  23   Add Lines 14 through 22. This amount is your income or loss.                                                                      23       432,500            .00


Step 5:       Figure your base income or loss
  24 Interest income from U.S. Treasury or other exempt federal obligations.                     24                                .00
  25 August 1, 1969, valuation limitation amount. Attach Schedule F.                             25                                .00
  26 Personal service income or reasonable allowance for compensation
     of partners.                                                                                26                                .00
  27 Share of income distributable to a partner subject to replacement tax.
     Attach Schedule B.                                                                          27                                .00
  28 River Edge Redevelopment Zone Dividend subtraction.
     Attach Schedule 1299-A.                                                                     28                                .00
  29 High Impact Business Dividend subtraction. Attach Schedule 1299-A.                          29                                .00
  30 Illinois Special Depreciation subtraction. Attach Form IL-4562.                             30                      348,823   .00
  31 Related-Party Expenses subtraction. Attach Schedule 80/20.                                  31                                .00
  32 Distributive share of subtractions. Attach Schedule(s) K-1-P or K-1-T.                      32                                .00
  33 Other subtractions. Attach Schedule M (for businesses).                                     33                                .00
  34 Total subtractions. Add Lines 24 through 33.                                                                                        34       348,823            .00
  35 Base income or loss. Subtract Line 34 from Line 23.                                                                                 35        83,677            .00


              A       If the amount on Line 35 is derived inside Illinois only, check this box and enter the amount from Step 5,
                      Line 35 on Step 7, Line 47. You may not complete Step 6. (You must leave Step 6, Lines 36 through 46 blank.)
                        Note |
 STOP                            If you are a unitary filer, do not check this box. Check the box on Line B and complete Step 6.
              B       If any portion of the amount on Line 35 is derived outside Illinois, or you are a unitary filer, check this box                               X
                      and complete all lines of Step 6. (Do not leave Lines 40 through 42 blank.) See instructions.
 Step 6:      Figure your income allocable to Illinois (Complete only if you checked the box on Line B, above.)
 36 Nonbusiness income or loss. Attach Schedule NB.                                                             36                                           37    .00
 37 Business income or loss included in Line 35 from non-unitary partnerships, partnerships
    included on a Schedule UB, S corporations, trusts, or estates. See instructions.                            37                                     0           .00
 38 Add Lines 36 and 37.                                                                                        38                                    37           .00
 39 Business income or loss. Subtract Line 38 from Line 35.                                                     39                                83,640           .00
 40 Total sales everywhere. This amount cannot be negative.                                40     3,921,786 .00
 41 Total sales inside Illinois. This amount cannot be negative.                           41     2,827,946 .00
 42 Apportionment factor. Divide Line 41 by Line 40. Round to six decimal places.          42       .721086
 43 Business income or loss apportionable to Illinois. Multiply Line 39 by Line 42.                             43                                60,312           .00
 44 Nonbusiness income or loss allocable to Illinois. Attach Schedule NB.                                       44                                    37           .00
 45 Business income or loss apportionable to Illinois from non-unitary partnerships, partnerships
    included on a Schedule UB, S corporations, trusts, or estates. See instructions.                            45                                     0           .00
 46 Base income or loss allocable to Illinois. Add Lines 43 through 45.                                         46                                60,349           .00




249152 01-23-23




                                                                                                                                                     ID: 2BX
        Page 2 of 5                                                 Printed by the authority of the state of Illinois.                         IL-1065 (R-12/22)
           BYERS
             Case HOLDING
                  23-08545 LLC
                            Doc                       1     Filed 06/29/23 Entered 06/29/23 09:30:59 **-***3661
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Step 7:      Figure your net income
  47 Base income or net loss from Step 5, Line 35, or Step 6, Line 46.                                                              47                    60,349         .00


                                                                                                                    ;< ;<
  48 Illinois net loss deduction. If Line 47 is zero or a negative amount, enter zero. Attach Schedule NLD.                         48                    60,349         .00
       Check this box and attach a detailed statement if you have merged losses.
  49   Income after NLD. Subtract Line 48 from Line 47.                                                                             49                         0         .00
  50   Enter the amount from Step 5, Line 35.                                                                                       50                    83,677         .00
  51   Divide Line 47 by Line 50. Round the result to six decimal places. This figure cannot be greater than one.                   51                   .721214
  52   Exemption allowance. See instructions before completing.                                                                     52                       721         .00
  53   Net income. Subtract Line 52 from Line 49.                                                                                   53                         0         .00

Step 8:      Figure the taxes, pass-through withholding, and penalty you owe
  54   Replacement tax. Multiply Line 53 by 1.5% (.015).                                                                            54                               0   .00
  55   Recapture of investment credits. Attach Schedule 4255.                                                                       55                                   .00
  56   Replacement tax before investment credits. Add Lines 54 and 55.                                                              56                                   .00
  57   Investment credits. Attach Form IL-477.                                                                                      57                                   .00
  58   Net replacement tax. Subtract Line 57 from Line 56. If the amount is negative, enter zero.                                   58                                   .00
  59   Pass-through withholding you owe on behalf of your members. Enter the amount from                                            59                               0   .00


                                                                                     ;<                                        ;<
       Schedule B, Section A, Line 5. See instructions. Attach Schedule B.
  60   Pass-through entity income. See instructions.                                   60                                .00
  61   Pass-through entity tax. Multiply Line 60 by 4.95% (.0495).                                                                  61                                   .00
  62   Total net replacement tax, pass-through withholding, and pass-through entity tax
       you owe. Add Lines 58, 59, and 61.                                                                                           62                                   .00
  63   Underpayment of estimated tax penalty from Form IL-2220. See instructions.                                                   63                               0   .00
  64   Total taxes, pass-through withholding, and penalty. Add Lines 62 and 63.                                                     64                                   .00


Step 9:      Figure your refund or balance due
  65 Payments. See instructions.
     a Credits from previous overpayments.                                            65a                                .00
     b Total payments made before the date this return is filed.                      65b                                .00
     c Pass-through withholding reported to you.
        Attach Schedule(s) K-1-P or K-1-T.                                            65c                                .00
     d Illinois income tax withholding. Attach Form(s) W-2G.                          65d                                .00
  66 Total payments. Add Lines 65a through 65d.                                                                                     66                                   .00


                                                                                                                          ;                                                    ;<
                                                                                                                    ;< ;< <
  67 Overpayment. If Line 66 is greater than Line 64, subtract Line 64 from Line 66.                                                67                                   .00
  68 Amount to be credited forward. See instructions.                                                                               68                                   .00
     Check this box and attach a detailed statement if this carryforward is going to a different FEIN.
  69 Refund. Subtract Line 68 from Line 67. This is the amount to be refunded.                                                      69                                   .00

  70    Complete to direct deposit your refund

         Routing Number                                                                 Checking or            Savings


         Account Number

  71 Tax Due. If Line 64 is greater than Line 66, subtract Line 66 from Line 64. This is the amount you owe.                        71                               0   .00


                        )
       Special
                 Note           Enter the amount of your payment on the top of Page 1 in the space provided.

Step 10: Sign below - Under penalties of perjury, I state that I have examined this return and, to the best of my knowledge, it is true, correct, and complete.
                                                                                                                              X Check if the Department
Sign                                                                 MEMBER              610-823-3123                       may     discuss this return with the
Here           Signature of partner                     Date (mm/dd/yyyy) Title                     Phone                                paid preparer shown in this step.

Paid         PETER T. SCHIMMEL                                                                                 05/17/2023                     Check if   P00024655
Preparer        Print/Type paid preparer's name                      Paid preparer's signature Date (mm/dd/yyyy) self-employed Paid Preparer's PTIN
Use Only        Firm's name      | HEGRE,        MCMAHON         & SCHIMMEL,          L            Firm's FEIN | **-***0334
                Firm's address |   600     ENTERPRISE            DRIVE,     STE     109     O      Firm's phone | 312.345.6200
            If a payment is enclosed, mail your Form IL-1065 to:             If a payment is not enclosed, mail your Form IL-1065 to:
                     ILLINOIS DEPARTMENT OF REVENUE                                  ILLINOIS DEPARTMENT OF REVENUE
                     PO BOX 19053                                                    PO BOX 19031
                     SPRINGFIELD IL 62794-9053                                       SPRINGFIELD IL 62794-9031
         IL-1065 (R-12/22) ID: 2BX          249153 01-23-23                                                                           Page 3 of 5
                 Case 23-08545                    Doc 1
                                             Filed 06/29/23 Entered 06/29/23 09:30:59                                                                           Desc Main
                                              Document
                 Illinois Department of Revenue            Page 72 of 118                                                                                                 Year ending
                 2022 Schedule B                                                                                                                                             12       22
                 Partners’ or Shareholders’ Information                                                                                                                     Month      Year
                 Attach to your Form IL-1065 or Form IL1120-ST.
                                                                                                                                                                          IL Attachment No. 1



BYERS HOLDING LLC                                                                                                      **-***3661
Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                      Enter your federal employer identification number (FEIN).

Read this information first:
¥ You must read the Schedule B instructions and complete Schedule(s) K-1-P and Schedule(s) K-1-P(3) before completing this
   schedule.
¥ You must complete Section B of Schedule B and provide all the required information for your partners or shareholders before
   completing Section A of Schedule B.
 Note | Failure to follow these instructions may delay the processing of your return or result in you receiving further correspondence from the Illinois
Department of Revenue. You may also be required to submit further information to support your filing.

Section A: Total members' information (from Schedule(s) K-1-P and Schedule B, Section B)
           Before completing this section you must first complete Schedule(s) K-1-P, Schedule(s) K-1-P(3) and Schedule B, Section B. You
STOP
           will use the amounts from those schedules when completing this section.

Totals for resident and nonresident partners or shareholders (from Schedule(s) K-1-P and Schedule B, Section B)
  1    Enter the total of all nonbusiness income or loss you reported on Schedule(s) K-1-P for your members.
       See instructions.                                                                                                                                        1                  2,950.00

  2    Enter the total of all income and replacement tax credits you reported on Schedule(s) K-1-P for your
       members. See instructions.                                                                                                                               2


  3    Add the amounts shown on Schedule B, Section B, Line E for all partners or shareholders on all
       pages for which you have checked the box indicating the entity is subject to Illinois replacement tax
       or an ESOP. Enter the total here. See instructions.                                                                                                      3    -1,279,120.00

Totals for nonresident partners or shareholders only (from Schedule B, Section B)
  4    Enter the total pass-through withholding you reported on all pages of your Schedule B, Section B, Line J for your
       a. nonresident individual members. See instructions.                                                                                                    4a
       b. nonresident estate members. See instructions.                                                                                                        4b
       c. partnership and S corporation members. See instructions.                                                                                             4c
       d. nonresident trust members. See instructions.                                                                                                         4d
       e. C corporation members. See instructions.                                                                                                             4e


  5    Add Line 4a through Line 4e. This is the total pass-through withholding you owe on behalf of all your
       nonresident partners or shareholders. This amount should match the total amount from Schedule B,
       Section B, Line J for all nonresident partners or shareholders on all pages. Enter the total here and
       on Form IL-1065 (Form IL-1065-X), Line 59, or Form IL-1120-ST (Form IL-1120-ST-X), Line 59.                                                              5
       See instructions.


  6    Enter the total pass-through entity tax credit paid on all pages of Schedule B, Section B, Line K.                                                       6


  7    Enter the total pass-through entity tax credit received and distributed on all pages of Schedule B,
       Section B, Line L.                                                                                                                                       7



                                          |   Attach all pages of Schedule B, Section B behind this page.




                                                This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                information is REQUIRED. Failure to provide information could result in a penalty.



       249311 01-23-23

       Page 4 of 5                                                                                                                              Schedule B Front (R-12/22) ID: 2BX
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                 2022 Schedule B

BYERS HOLDING LLC                                                                           **-***3661
Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                           Enter your federal employer identification number (FEIN).


Section B: Members' information (See instructions before completing.)
                                         Member 1                          Member 2                  Member 3                                    Member 4

 A Name                         MATT SANDRETTO                          JAL EQUITY, IN      MOLLEHHOUR GRO                             JEFF PAYNE

      C/O


      Address 1                 2439 N. JANSSE                          3600 TORREY PI      11409 MUNICIPA                             8 WAWASET FARM

      Address 2


      City                      CHICAGO                                 SARASOTA            KNOXVILLE                                  WEST CHESTER

      State, ZIP                IL 60614                                FL 34240            TN 37933                                   PA         19382

 B Partner or                                     I                            S                               P                                        I
   Shareholder


 C SSN/FEIN                     ***-**-0749                             **-***8531          **-***3161                                 ***-**-7180

 D Subject to Illinois
   replacement tax
   or an ESOP                                                                  X                               X

 E Member's distributable
   amount of base
   income or loss                                   90,043                     -1,269,535                          -9,585                               -3,102

  F Excluded from pass-
    through withholding                           R

 G Share of Illinois income
   subject to pass-
   through withholding                                              0                  0                                       0                            0

 H Pass-through
   withholding
   before credits                                                   0                  0                                       0                            0

  I Distributable
    share of credits                                                0                  0                                       0                            0

  J Pass-through
    withholding amount                                              0                  0                                       0                            0

 K PTE tax credit
   paid to members                                                  0                  0                                       0                            0

  L PTE tax credit received
    and distributed to
    members

                        Note | If you have more members than space provided, attach additional copies of this page as necessary.
       Schedule B Back (R-12/22) ID: 2BX                249312 01-23-23                                                      Page 5 of 5
                 Case 23-08545                    Doc 1
                                             Filed 06/29/23 Entered 06/29/23 09:30:59                                                Desc Main
                                              Document
                 Illinois Department of Revenue            Page 74 of 118
                 2022 Schedule B

BYERS HOLDING LLC                                                                           **-***3661
Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                           Enter your federal employer identification number (FEIN).


Section B: Members' information (See instructions before completing.)
                                         Member 1                          Member 2                  Member 3                                    Member 4

 A Name                         KEITH KOWAL                             SHARI CAMBRONN

      C/O


      Address 1                 437 QUIGLEY DR                          4590 HELMO AVE

      Address 2


      City                      MALVERN                                 OAKDALE

      State, ZIP                PA 19355                                MN 55128

 B Partner or                                     I                               I
   Shareholder


 C SSN/FEIN                     ***-**-5809                             ***-**-3469

 D Subject to Illinois
   replacement tax
   or an ESOP


 E Member's distributable
   amount of base
   income or loss                                   -1,632                         -1,632

  F Excluded from pass-
    through withholding


 G Share of Illinois income
   subject to pass-
   through withholding                                              0                   0

 H Pass-through
   withholding
   before credits                                                   0                   0

  I Distributable
    share of credits                                                0                   0

  J Pass-through
    withholding amount                                              0                   0

 K PTE tax credit
   paid to members                                                  0                   0

  L PTE tax credit received
    and distributed to
    members

                        Note | If you have more members than space provided, attach additional copies of this page as necessary.
       Schedule B Back (R-12/22) ID: 2BX                249312 01-23-23                                                      Page 5 of 5
               Case 23-08545                     Doc 1            Filed 06/29/23 Entered 06/29/23 09:30:59                                                    Desc Main
                                                                  Document      Page 75 of 118                                                                     Carry year ending
           Illinois Department of Revenue
                                                                                                                                                                   12                 22
           2022 Schedule NLD
           Illinois Net Loss Deduction                                                                                                                                 Month            Year

           For Illinois net losses arising in tax years ending on or after December 31, 1986.
           Attach to your Form IL-1120, IL-1120-ST, IL-1041, IL-1065, or corresponding amended return.                                                                     IL Attachment No. 6

BYERS HOLDING LLC                                                                                                                              **-***3661
Enter your name as shown on your return.                                                                                       Enter your federal employer identification number (FEIN).

Step 1: Figure your Illinois net loss deduction (NLD)
¥ Read the instructions before completing this schedule.
¥ "Carry year" is the year to which the loss is being carried.
¥ Enter all amounts as positive figures.
                                                           A                                        B                                          C
                                          Loss year
                                          that expires                             Loss year                                   Loss year
                                          first
                                                           12/19                   ending                                      ending
                                                          Month     Year                             Month      Year                             Month      Year


  1   Enter your reported Illinois
      net loss. See instructions.                        524,748
  2a Enter the carry year and the
     amount of Illinois net loss
     previously carried back or
     forward. See instructions. 2a
                                          Month Year     Loss carried              Month Year      Loss carried                Month Year      Loss carried



                                     2b
                                          Month Year     Loss carried              Month Year      Loss carried                Month Year      Loss carried



                                     2c
                                          Month Year     Loss carried              Month Year      Loss carried                Month Year      Loss carried
  2d Add Lines 2a through 2c.
     This is your total amount
     of loss previously carried.     2d                                    0

  3   Subtract Line 2d from
      Line 1. This is your
      remaining Illinois net loss.                       524,748

  4   Enter the Illinois base
      income for this carry year.
      See instructions.                                    60,349              J                                           J
  5   Column A:                                                                    K Enter Line 8 from previous column K       K Enter Line 8 from previous column K
      See instructions.
      Columns B and C: See
      instructions.                                      60,349.               J                                            J                                                   60,349
                                                                                K Enter Line 9 from previous column K        K Enter Line 9 from previous column K Line 7 Total
  6   Write the lesser of Line 4
      or Line 5. This is your                                                                                                                                          Enter the total of
      maximum NLD allowed.                               60,349.                                                                                                       Line 7, Column A, B,
                                                                                                                                                                       and C in this box.
                                                                                                                                                                       See instructions.
                                                                                                                                                                       For corporate filers,
  7   Write the lesser of Line 3
                                                                                                                                                                       this amount cannot
      or Line 6. This is your NLD.                         60,349                                                                                                      exceed $100,000.

  8   Subtract Line 7 from Line 4.
      This is your remaining
      income after NLD.                                                    0


  9   Subtract Line 7 from Line 6.
      This is your remaining NLD
      allowed this carry year.                                          0.


10    Subtract Line 7 from Line 3.
      This is your remaining NLD
      for subsequent years.                              464,399




        Schedule NLD Page 1 of 2 (R-12/22) ID: 2BX                                                  This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                                    information is REQUIRED. Failure to provide information could result in a penalty.
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Step 2: Identify the loss year company
Complete this part only if the loss shown on Step 1, Line 1, originated from a company other than the one filing this return. Enter the FEIN of the
company, the reason (e.g., merger) you are allowed to use that company's losses, and the date you acquired the loss.

                                  A                                                                  B                                                C
11 FEIN:                                                               12 FEIN:                                         13 FEIN:
   Reason:                                                                Reason:                                          Reason:



  Enter the date you                                                   Enter the date you                               Enter the date you
  acquired this loss:                                                  acquired this loss:                              acquired this loss:
                          Month         Day        Year                                      Month       Day   Year                           Month       Day   Year



                                                                    Discharge of Indebtedness Worksheet

   1 Enter the amount of the reduction to your federal net operating losses
     that was carried over to the tax year of the discharge (See federal Form 982).                                                  1
   2 Multiply the amount on Line 1 by your income allocation ratio.                                                                  2
   3 Enter the total amount of Illinois net loss carryovers from all loss years
     available to be carried to the taxable year of the discharge.                                                                   3
   4 Enter the lesser of Line 2 or Line 3. This is the amount of your loss carryover reduction.                                      4




                                                                                                                                 298132
                                                                                                                                 01-23-23


         Printed by the authority of the State of Illinois - web only - one copy.
                                                                                                                      Schedule NLD page 2 of 2 (R-12/22) ID: 2BX
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                                                                                                                                                      Year ending
           Illinois Department of Revenue

           2022 IL-4562 Special Depreciation                                                                                                          12
                                                                                                                                                    Month
                                                                                                                                                                22
                                                                                                                                                               Year
           For tax years ending on or after December 31, 2022.
           Attach to your Form IL-1120, IL-1120-ST, IL-1065, IL-1041, or IL-1040.                                                                 IL Attachment No. 11
Step 1:      Provide the following information

     BYERS HOLDING LLC                                                                                                                          **-***3661
Enter your name as shown on your return.                                                                                            Enter your Social Security number (SSN) or
                                                                                                                                    federal employer identification number (FEIN).


                  )
 Special
           Note             You must read the instructions before completing Form IL-4562. Do not use negative figures.
Step 2:      Figure your Illinois special depreciation addition
 1    Enter the total amount claimed as a special depreciation allowance on your current federal Form 4562,
      Depreciation and Amortization, Lines 14 and 25, for property acquired after September 10, 2001                                       1                  91,580.00
 2    Individuals only: Enter the total amount claimed as a special depreciation allowance from
      federal Form 2106, Employee Business Expenses.                                                                                       2
 3    Last year of regular depreciation: Enter the total amount of all Illinois depreciation
      subtractions claimed on this year and any prior year Forms IL-4562, Step 3, for each property.                                       3
      See instructions.
 4    Add Lines 1 through 3. This is your Illinois special depreciation addition. Enter the total here and
      see instructions for the list of Illinois form and line references to report this addition.                                          4                  91,580.00

Step 3:      Figure your Illinois special depreciation subtraction
 5 a Enter the portion of depreciation allowance claimed on federal Form 4562, for property for which you
     claimed bonus depreciation equal to 30 percent of your basis in the property. See instructions.                                      5a
   b Individuals only: Enter the portion of depreciation allowance claimed for bonus depreciation
     equal to 30 percent of your basis in the property. See instructions.                                                                 5b
   c Add Lines 5a and 5b.                                                                                                                 5c
 6   Multiply Line 5c by 42.9 percent (0.429).                                                                                            6
 7 a Enter the portion of depreciation allowance claimed on federal Form 4562, for property for which you
     claimed bonus depreciation equal to 50 percent of your basis in the property. See instructions.                                      7a
   b Individuals only: Enter the portion of depreciation allowance claimed for bonus depreciation
     equal to 50 percent of your basis in the property. See instructions.                                                                 7b
   c Add Lines 7a and 7b.                                                                                                                 7c
 8 a Enter the portion of depreciation allowance claimed on federal Form 4562, for property for which you
     claimed bonus depreciation equal to 80 percent of your basis in the property. See instructions.                                      8a
   b Individuals only: Enter the portion of depreciation allowance claimed for bonus depreciation
     equal to 80 percent of your basis in the property. See instructions.                                                                 8b
   c Add Lines 8a and 8b.                                                                                                                 8c
 9   Multiply Line 8c by four (4).                                                                                                        9
10   Enter the amount of federal depreciation you would have claimed if you elected not to claim
     bonus depreciation on your federal return.                                       STATEMENT 2                                         10                348,823.00
11   Add Lines 6, 7c, 9, and 10.                                                                                                          11                348,823.00
12   Last year of regular depreciation: Enter the Illinois special depreciation addition reported
     on any prior year Form IL-4562, Step 2, Line 1 plus Line 2, for each property. See instructions.                                     12
13   Add Lines 11 and 12. This is your Illinois depreciation subtraction for this year. Enter the total here
     and see instructions for the list of Illinois form and line references to report this subtraction.                                   13                348,823.00



                                                   J Attach this form to your Illinois return. §




                                                This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                information is REQUIRED. Failure to provide information could result in a penalty.


                                     249211
       IL-4562 (R-12/22)   ID: 2BX   01-23-23
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            Illinois Department of Revenue                                                                                                                           Year ending
                                                                                                                                                           12                      22
            Schedule NB Nonbusiness Income                                                                                                                 Month                 Year
            Attach to your Form IL-1120, IL-1120-ST, or IL-1065.
                                                                                                                                                                                IL Attachment No. 17

BYERS HOLDING LLC                                                                                                                                **-***3661
Enter your name as shown on your Form IL-1120, IL-1120-ST, or IL-1065.                                                                           Enter your federal employer identification number (FEIN).



                                                     Read the instructions before completing this form.
                                                                                                                                   Column A                                    Column B
                                                                                                                               Total everywhere                           Allocable to Illinois

 1 Interest*                                                                                                       1


 2 Dividends*                                                                                                      2


 3 Rental income                                                                                                   3


 4 Patent royalties                                                                                                4


 5 Copyright royalties                                                                                             5


 6 Other royalty income                                                                                            6


 7 Capital gain (loss) from real property                                                                          7


 8 Capital gain (loss) from tangible personal property                                                             8                             37.00                                         37.00

 9 Capital gain (loss) from intangible personal property                                                           9


10 Other (specify)                                                                                                10




11 Recaptured business expense (see instructions.)
    Note | You must complete the apportionment factor
   worksheet below to get the correct figure for Column B.                                                        11


12 Totals. Add Lines 1 through 11 for each column.                                                                12                             37.00                                         37.00

  Apportionment factor worksheet (see instructions)
  a Enter your apportionment factor from two years ago (if applicable).                                       a
  b Enter your apportionment factor from last year's tax return.                                              b
  c Enter your apportionment factor from this year's tax return.                                              c
  d Add Lines a, b, and c.                                                                                    d
  e If you have an amount on Line a, divide Line d by 3.
    If you do not have an amount on Line a, divide Line d by 2.                                               e
  f Enter the greater of Line c or Line e.
    This is your apportionment factor.                                                                        f
  g Multiply Column A, Line 11 by Line f, and enter the result
    here and in Column B, Line 11.                                                                            g

* Interest and dividends are allocable to Illinois if your commercial domicile was in Illinois at the time the interest or dividend was paid or accrued.

                                                        This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this         Printed by the authority of the State
                                                        information is REQUIRED. Failure to provide information could result in a penalty.             of Illinois
        249161 01-23-23

        ID: 2BX Schedule NB (R-12/19)
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  BYERS HOLDING LLC          Document  Page 79 of 118               **-***3661
  }}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL-1065                     OTHER ITEMS OF EXPENSE               STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
HEALTH INSURANCE PREMIUMS                                                              20,632.
                                                                                }}}}}}}}}}}}}}
TOTAL TO FORM IL-1065, LINE 11                                                         20,632.
                                                                                ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
IL-4562                    FEDERAL DEPRECIATION IF NOT           STATEMENT    2
                           CLAIMING BONUS DEPRECIATION
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   ASSET                                                            AMOUNT
 }}}}}}}}}}                                                     }}}}}}}}}}}}}}
PRINTING MACHINES                                                      39,547.
BLUECREST INSERTER                                                    290,958.
PRINTING MACHINES                                                          981.
PRINTING MACHINES                                                          981.
SCREEN TRUEPRESS JET 520                                                3,400.
PRINTING MACHINES                                                       1,400.
PRINTING MACHINES                                                       8,800.
PRINTING MACHINES                                                          600.
PRINTING MACHINES                                                          600.
PRINTING MACHINES                                                          576.
PRINTING MACHINES                                                          980.
                                                                }}}}}}}}}}}}}}
TOTAL TO IL-4562, LINE 10                                             348,823.
                                                                ~~~~~~~~~~~~~~




                                                                              STATEMENT(S) 1, 2
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              Illinois Department of Revenue                                                                                                            Year ending
                                                                                                                                                        12      22
              Schedule K-1-P                                                                                                                            Month            Year
              Partner's or Shareholder's Share of Income, Deductions, Credits, and Recapture
                                                                                                                                                       IL Attachment No. 12
              To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
              Partners and Shareholders receiving Schedule K-1-P should attach this to their Illinois tax return.

Step 1:          Identify your partnership or S corporation
 1 Check your business type             X       partnership    S corporation                           3     **-***3661
                                                                                                         Enter your federal employer identification number (FEIN).
 2   BYERS HOLDING LLC                                                                                 4 Enter the apportionment factor from Form IL-1065 or Form
     Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                   IL-1120-ST, Line 42. Otherwise, enter "1."        .721086

Step 2:          Identify your partner or shareholder

 5   MATT SANDRETTO                                                                                   9a Check the appropriate box. See instructions.
     Name                                                                                                         X      individual                 corporation                     trust
 6   2439 N. JANSSEN AVENUE                                                                                              partnership                S corporation                   estate
     Mailing address

     CHICAGO, IL                        60614                                                         9b To be completed by the recipient on Line 5 only.
     City                                                               State          ZIP                 I am a:      grantor trust         disregarded entity
 7   ***-**-0749                                                                                           and the amounts on this schedule will be reported by:
     Social Security number or FEIN
                                                                                                           Name:
 8               VARIOUS                                                                                   SSN or FEIN:
     Share (%)


Step 3:          Figure your partner's or shareholder's share of your nonbusiness income or loss
                                                                                                                         A                                               B
                                                                                                                 Member's share                                  Member's share
                                                                                                                (See instructions.)                             allocable to Illinois
10   Interest                                                                                        10
11   Dividends                                                                                       11
12   Rental income                                                                                   12
13   Patent royalties                                                                                13
14   Copyright royalties                                                                             14
15   Other royalty income                                                                            15
16   Capital gain or loss from real property                                                         16
17   Capital gain or loss from tangible personal property                                            17                                 23                                              23
18   Capital gain or loss from intangible personal property                                          18
19   Other income and expense                                                                        19
                                      Specify

Step 4:          Figure your partner's or shareholder's share of your business income or loss
                                                                                                                         A                                               B
                                                                                                                  Member's share
                                                                                                              from U.S. Schedule K-1,                          Member's share
                                                                                                             less nonbusiness income                         apportioned to Illinois

20   Ordinary income or loss from trade or business activity                                         20                      -8,003                                          -5,771
21   Net income or loss from rental real estate activities                                           21
22   Net income or loss from other rental activities                                                 22
23   Interest                                                                                        23
24   Dividends                                                                                       24
25   Royalties                                                                                       25
26   Net short-term capital gain or loss                                                             26
27   Net long-term capital gain or loss. Total for year.                                             27
28   Unrecaptured Section 1250 gain                                                                  28
29   Guaranteed payments to partner (U.S. Form 1065 only)                                            29                   120,632                                            86,986
30   Net Section 1231 gain or loss (other than casualty or theft). Total for year.                   30
31   Other income and expense                       SEE STATEMENT                                    31                   -20,632                                        -14,877
                                      Specify



            249131 01-23-23                                                            This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                       information is REQUIRED. Failure to provide this information could result in a penalty.
            Schedule K-1-P Page 1 (R-12/22)         ID: 2BX
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               Case 23-08545                 Doc 1         Filed 06/29/23 Entered 06/29/23 09:30:59                                     Desc Main
         Enter identification number from Line 7.          Document      Page 81 of 118
         ***-**-0749


Step 5:       Figure your partner's or shareholder's share of Illinois additions and subtractions
K-1-P Recipient: Before using the information provided in Step 5, you must read
Schedule K-1-P(2) to correctly report the amounts listed in Columns A and B.                                          A                                     B
                                                                                                             Member's share from              Member's share apportioned or
    Additions                                                                                             Form IL-1065 or IL-1120-ST              allocated to Illinois
 32 Federally tax-exempt interest income                                                              32
 33 Illinois taxes and surcharge deducted. See instructions.                                          33
 34 Illinois Special Depreciation addition                                                            34                        704                                      508
 35 Related-Party Expenses addition                                                                   35
 36 Distributive share of additions                                                                   36
 37 Other additions (from Illinois Schedule M for businesses)                                         37
    Subtractions
 38 a Interest from U.S. Treasury obligations (business income)                                       38a
    b Interest from U.S. Treasury obligations (nonbusiness income)                                    38b
 39 River Edge Redevelopment Zone Dividend subtraction                                                39
 40 High Impact Business Dividend subtraction                                                         40
 41 Contribution subtraction (Form IL-1120-ST filers only)                                            41
 42 River Edge Redevelopment Zone Interest subtraction (Form IL-1120-ST financial organizations only) 42
 43 High Impact Business within a Foreign Trade Zone Interest
     subtraction (Form IL-1120-ST financial organizations only)                                 43
44   Illinois Special Depreciation subtraction                                                  44                      2,681                                    1,933
45   Related-Party Expenses subtraction                                                         45
46   Distributive share of subtractions                                                         46
47   Other subtractions (from Illinois Schedule M for businesses)                               47

Step 6:      Figure your partner's or shareholder's (except a corporate partner or                                 A                                  B
             shareholder) share of your Illinois August 1, 1969, appreciation                        Member's share from Illinois       Member's share apportioned or
             amounts                                                                            Schedule F (Form IL-1065 or IL-1120-ST)       allocated to Illinois
48   Section 1245 and 1250 gain                                                                 48
49   Section 1231 gain                                                                          49
50   Section 1231 gain less casualty and theft gain. See instructions.                          50
51   Capital gain                                                                               51

Step 7:       Figure your partner's or shareholder's share of your Illinois credits, recapture, pass-through withholding, pass-through
              entity tax credit, and federal income subject to surcharge
                                                         Member's share                                                          Member's share
                                          Credit            from Illinois                                                         from Illinois
52   Illinois Income Tax Credits           Code               tax return           53 Other  credits                                tax return
a    Film Production Services               5000 52a                               a Pass-through Entity (PTE) Tax Credit 53a
b    Enterprise Zone Investment             5080 52b                                  See instructions.
 c   Enterprise Zone Construction Jobs 5120      52c                               b Replacement Tax Investment Credits
d    High Impact Business Construction Jobs 5160 52d                                  See instructions.                   53b
e    Affordable Housing Donations           5260 52e                               54 Recapture
 f   EDGE                                   5300 52f                               a Enterprise Zone or River
g    New Construction EDGE                  5320 52g                                   Edge Redevelopment Zone
h    Research and Development               5340 52h                                   Investment Credit recapture        54a
 i   Wages Paid to Ex-Felons                5380 52i                               b REV Illinois Investment
 j   Student-Assistance Contributions 5420       52j                                   Credit recapture                   54b
 k   Angel Investment                       5460 52k                                c Replacement Tax Investment
 l   New Markets Development                5500 52l                                   Credit recapture                   54c
m    River Edge Historic Preservation 5540       52m                               d Additional income tax credit
n    River Edge Construction Jobs           5560 52n                                   recapture                          54d
o    Live Theater Production                5580 52o                               55 Pass-through withholding
p    Hospital                               5620 52p                                   See instructions.                   55
q    Invest in Kids                         5660 52q                               56 Federal income attributable to
 r   Data Center Construction Employment 5820    52r                                   transactions subject to the
                                                                                       Compassionate Use of Medical
 s   Apprenticeship Education Expense 0160       52s                                   Cannabis Program Act surcharge.
 t   Historic Preservation                  1030 52t                                   See instructions.                   56
u    REV Illinois Investment                5230 52u                               57 Federal income attributable to the
 v   Agritourism Liability Insurance        5440 52v                                   sale or exchange of assets by a
                                                                                       gaming licensee surcharge.
w    Recovery and Mental Health             0180 52w                                   See instructions.                   57
 x   Other income tax credits                    52x
                                                                                                249132 01-23-23           ID: 2BX      Schedule K-1-P Page 2 (R-12/22)
                                                                                                                                                                         5
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  BYERS HOLDING LLC          Document  Page 82 of 118               **-***3661
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IL SCH K-1-P          OTHER BUSINESS INCOME AND EXPENSE
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                    TOTAL         ILLINOIS
}}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
OTHER EXPENSES                                                    -20,632        -14,877
                                                           }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTALS TO SCHEDULE K-1-P, LINE 31                                 -20,632        -14,877
                                                           ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                                       PARTNER NUMBER 5
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IL SCH K-1-P MEMBER'S SHARE OF DISTRIBUTABLE BASE INCOME OR LOSS
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1 ENTER THE SHARE OF INCOME FROM IL-1065 LINE 14 FOR THIS MEMBER
  (SCHEDULE K-1-P COLUMN A LINES 10-27 & 30-31)                  $                    -28,612.00

2 ENTER THE SHARE OF ADDITIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 15-20 AND LINE 22                                                121,336.00

3 ADD LINES 1 AND 2                                                                       92,724.00

4 ENTER THE SHARE OF SUBTRACTIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 24-25 AND 28-33                                                      2,681.00

5 SUBTRACT LINE 4 FROM LINE 3                                                   $         90,043.00




                                                                       PARTNER NUMBER 5
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              Illinois Department of Revenue                                                                                                            Year ending
                                                                                                                                                        12      22
              Schedule K-1-P                                                                                                                            Month            Year
              Partner's or Shareholder's Share of Income, Deductions, Credits, and Recapture
                                                                                                                                                       IL Attachment No. 12
              To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
              Partners and Shareholders receiving Schedule K-1-P should attach this to their Illinois tax return.

Step 1:          Identify your partnership or S corporation
 1 Check your business type             X       partnership     S corporation                          3     **-***3661
                                                                                                         Enter your federal employer identification number (FEIN).
 2   BYERS HOLDING LLC                                                                                 4 Enter the apportionment factor from Form IL-1065 or Form
     Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                   IL-1120-ST, Line 42. Otherwise, enter "1."        .721086

Step 2:          Identify your partner or shareholder

 5   JAL EQUITY, INC.                                                                                 9a Check the appropriate box. See instructions.
     Name
                                                                                                                         individual                 corporation                     trust
 6   3600 TORREY PINES BLVD                                                                                              partnership         X      S corporation                   estate
     Mailing address

     SARASOTA, FL                          34240                                                      9b To be completed by the recipient on Line 5 only.
     City                                                                 State        ZIP                 I am a:      grantor trust         disregarded entity
 7   **-***8531                                                                                            and the amounts on this schedule will be reported by:
     Social Security number or FEIN
                                                                                                           Name:
 8               VARIOUS                                                                                   SSN or FEIN:
     Share (%)


Step 3:          Figure your partner's or shareholder's share of your nonbusiness income or loss
                                                                                                                         A                                               B
                                                                                                                 Member's share                                  Member's share
                                                                                                                (See instructions.)                             allocable to Illinois
10   Interest                                                                                        10
11   Dividends                                                                                       11
12   Rental income                                                                                   12
13   Patent royalties                                                                                13
14   Copyright royalties                                                                             14
15   Other royalty income                                                                            15
16   Capital gain or loss from real property                                                         16
17   Capital gain or loss from tangible personal property                                            17                         2,891                                            2,891
18   Capital gain or loss from intangible personal property                                          18
19   Other income and expense                                                                        19
                                      Specify

Step 4:          Figure your partner's or shareholder's share of your business income or loss
                                                                                                                         A                                               B
                                                                                                                  Member's share
                                                                                                              from U.S. Schedule K-1,                          Member's share
                                                                                                             less nonbusiness income                         apportioned to Illinois

20   Ordinary income or loss from trade or business activity                                         20           -1,020,327                                          -735,744
21   Net income or loss from rental real estate activities                                           21
22   Net income or loss from other rental activities                                                 22
23   Interest                                                                                        23
24   Dividends                                                                                       24
25   Royalties                                                                                       25
26   Net short-term capital gain or loss                                                             26
27   Net long-term capital gain or loss. Total for year.                                             27
28   Unrecaptured Section 1250 gain                                                                  28
29   Guaranteed payments to partner (U.S. Form 1065 only)                                            29
30   Net Section 1231 gain or loss (other than casualty or theft). Total for year.                   30
31   Other income and expense                                                                        31
                                      Specify



            249131 01-23-23                                                            This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                       information is REQUIRED. Failure to provide this information could result in a penalty.
            Schedule K-1-P Page 1 (R-12/22)         ID: 2BX
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         Enter identification number from Line 7.          Document      Page 85 of 118
         **-***8531


Step 5:       Figure your partner's or shareholder's share of Illinois additions and subtractions
K-1-P Recipient: Before using the information provided in Step 5, you must read
Schedule K-1-P(2) to correctly report the amounts listed in Columns A and B.                                          A                                     B
                                                                                                             Member's share from              Member's share apportioned or
    Additions                                                                                             Form IL-1065 or IL-1120-ST              allocated to Illinois
 32 Federally tax-exempt interest income                                                              32
 33 Illinois taxes and surcharge deducted. See instructions.                                          33
 34 Illinois Special Depreciation addition                                                            34                89,748                                  64,716
 35 Related-Party Expenses addition                                                                   35
 36 Distributive share of additions                                                                   36
 37 Other additions (from Illinois Schedule M for businesses)                                         37
    Subtractions
 38 a Interest from U.S. Treasury obligations (business income)                                       38a
    b Interest from U.S. Treasury obligations (nonbusiness income)                                    38b
 39 River Edge Redevelopment Zone Dividend subtraction                                                39
 40 High Impact Business Dividend subtraction                                                         40
 41 Contribution subtraction (Form IL-1120-ST filers only)                                            41
 42 River Edge Redevelopment Zone Interest subtraction (Form IL-1120-ST financial organizations only) 42
 43 High Impact Business within a Foreign Trade Zone Interest
     subtraction (Form IL-1120-ST financial organizations only)                                 43
44   Illinois Special Depreciation subtraction                                                  44                  341,847                                 246,501
45   Related-Party Expenses subtraction                                                         45
46   Distributive share of subtractions                                                         46
47   Other subtractions (from Illinois Schedule M for businesses)                               47

Step 6:      Figure your partner's or shareholder's (except a corporate partner or                                 A                                  B
             shareholder) share of your Illinois August 1, 1969, appreciation                        Member's share from Illinois       Member's share apportioned or
             amounts                                                                            Schedule F (Form IL-1065 or IL-1120-ST)       allocated to Illinois
48   Section 1245 and 1250 gain                                                                 48
49   Section 1231 gain                                                                          49
50   Section 1231 gain less casualty and theft gain. See instructions.                          50
51   Capital gain                                                                               51

Step 7:       Figure your partner's or shareholder's share of your Illinois credits, recapture, pass-through withholding, pass-through
              entity tax credit, and federal income subject to surcharge
                                                         Member's share                                                          Member's share
                                          Credit            from Illinois                                                         from Illinois
52   Illinois Income Tax Credits           Code               tax return           53 Other  credits                                tax return
a    Film Production Services               5000 52a                               a Pass-through Entity (PTE) Tax Credit 53a
b    Enterprise Zone Investment             5080 52b                                  See instructions.
 c   Enterprise Zone Construction Jobs 5120      52c                               b Replacement Tax Investment Credits
d    High Impact Business Construction Jobs 5160 52d                                  See instructions.                   53b
e    Affordable Housing Donations           5260 52e                               54 Recapture
 f   EDGE                                   5300 52f                               a Enterprise Zone or River
g    New Construction EDGE                  5320 52g                                   Edge Redevelopment Zone
h    Research and Development               5340 52h                                   Investment Credit recapture        54a
 i   Wages Paid to Ex-Felons                5380 52i                               b REV Illinois Investment
 j   Student-Assistance Contributions 5420       52j                                   Credit recapture                   54b
 k   Angel Investment                       5460 52k                                c Replacement Tax Investment
 l   New Markets Development                5500 52l                                   Credit recapture                   54c
m    River Edge Historic Preservation 5540       52m                               d Additional income tax credit
n    River Edge Construction Jobs           5560 52n                                   recapture                          54d
o    Live Theater Production                5580 52o                               55 Pass-through withholding
p    Hospital                               5620 52p                                   See instructions.                   55
q    Invest in Kids                         5660 52q                               56 Federal income attributable to
 r   Data Center Construction Employment 5820    52r                                   transactions subject to the
                                                                                       Compassionate Use of Medical
 s   Apprenticeship Education Expense 0160       52s                                   Cannabis Program Act surcharge.
 t   Historic Preservation                  1030 52t                                   See instructions.                   56
u    REV Illinois Investment                5230 52u                               57 Federal income attributable to the
 v   Agritourism Liability Insurance        5440 52v                                   sale or exchange of assets by a
                                                                                       gaming licensee surcharge.
w    Recovery and Mental Health             0180 52w                                   See instructions.                   57
 x   Other income tax credits                    52x
                                                                                                249132 01-23-23           ID: 2BX      Schedule K-1-P Page 2 (R-12/22)
                                                                                                                                                                         7
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  BYERS HOLDING LLC          Document  Page 86 of 118               **-***3661
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IL SCH K-1-P MEMBER'S SHARE OF DISTRIBUTABLE BASE INCOME OR LOSS
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1 ENTER THE SHARE OF INCOME FROM IL-1065 LINE 14 FOR THIS MEMBER
  (SCHEDULE K-1-P COLUMN A LINES 10-27 & 30-31)                  $ -1,017,436.00

2 ENTER THE SHARE OF ADDITIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 15-20 AND LINE 22                                                    89,748.00

3 ADD LINES 1 AND 2                                                                  -927,688.00

4 ENTER THE SHARE OF SUBTRACTIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 24-25 AND 28-33                                                  341,847.00

5 SUBTRACT LINE 4 FROM LINE 3                                                   $ -1,269,535.00




                                                                       PARTNER NUMBER 7
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           Illinois Department of Revenue                                                                                                                                    Year ending
                                                                                                                                                                             12      22
           2022 Schedule K-1-P(3)                                                                                                                                           Month             Year
           Pass-through Withholding Calculation for Nonresident Members
           To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
Read this information first:
¥ For tax years ending on or after December 31, 2022, and before December 31, 2023.
¥ You must complete Schedule K-1-P(3) for each nonresident partners or shareholder who has not submitted a Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) for any member who is a resident or who has submitted Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) if you have elected to pay Pass-through Entity Tax.
 Note | Keep this schedule with your income tax records. You must send us this information if we request it.

Step 1: Identify your partnership or S corporation
 1 BYERS HOLDING LLC                                                                                               2   **-***3661
    Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                  Enter your federal employer identification number (FEIN).

Step 2: Identify your nonresident partner or shareholder
 3 JAL EQUITY, INC.                                                                                                4   **-***8531
    Name                                                                                                               Social Security number or FEIN

  5 Check the appropriate box to identify this nonresident partner's or shareholder's organization type.
            individual               corporation                    trust                 partnership          X        S corporation                    estate


Step 3:       Figure your nonresident partner's or shareholder's pass-through withholding
 Note     | If this member is a resident or has submitted Form IL-1000-E to you, do not complete this schedule for this member.
 6 Add the amounts from this member's Schedule K-1-P, Step 3, Column B, Lines 12 through 17 and 19 and
   enter the total here. This is your member's share of nonbusiness income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                          6                        2,891
 7 Add the amounts from this member's Schedule K-1-P, Step 4, Column B, Lines 20 through 27 and 29
   through 31 and enter the total here. This is your member's share of business income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                          7                -735,744
 8 Add Line 6 and Line 7 and enter the result.                                                                                                                    8                -732,853
 9 Add the amounts from this member's Schedule K-1-P, Column B, Lines 32 through 37 and enter the total
   here. This is your member's share of additions allocable to Illinois.                                                                                           9                 64,716
10 Add Line 8 and Line 9 and enter the result.                                                                                                                    10               -668,137
11 Add the amounts from this member's Schedule K-1-P, Column B, Lines 38a through 47 and enter the total here.
   If this member is an individual, partnership, trust, or estate and received Illinois August 1, 1969, appreciation
   amounts from you, see instructions. This is your member's share of subtractions allocable to Illinois.                                                         11                 246,501
12 Subtract Line 11 from Line 10. If negative, enter zero. This is your member's share of Illinois income
   subject to pass-through withholding. See instructions.                                                                                                         12                                 0
Note | If this member is a nonresident individual or estate, enter zero on Lines 13 through 15 and go to Line 16.
13 Replacement tax before credits. If this member is a
      partnership, S corporation, or nonresident trust, multiply Line 12 by 1.5% (.015) and enter the result.
      corporation, multiply Line 12 by 2.5% (.025) and enter the result.                                                                                          13                                 0
14 Enter the amount of Illinois replacement tax investment credits passed to this member and available for use this year.                                         14                                 0
15 Subtract Line 14 from Line 13. If negative, enter zero. This is your member's share of replacement tax after credits.                                          15                                 0
Note | If this member is a nonresident partnership or S corporation, enter zero on Lines 16 through 18 and go to Line 19.
16 Income Tax before credits. See instructions.                                                                                                                   16                                 0
17 Enter the amount of Illinois income tax credits passed to this member and available for use this year. See instructions.                                       17                                 0
18 Subtract Line 17 from Line 16. If negative, enter zero. This is your member's share of income tax after credits.                                               18                                 0

19 Add Lines 15 and 18 and enter the result. This is your member's total pass-through withholding.
   Report this amount on this member's Schedule K-1-P, Step 7, Line 55. You must also report this amount on your
   Form IL-1065 or Form IL-1120-ST, Schedule B, Section B, Line J, on the line which reports this member's amounts. 19                                                                               0
| Keep a copy of this schedule for each member with your income tax records. Do not send Schedule K-1-P(3) to your members
  or submit it to the Illinois Department of Revenue unless we specifically request it from you.




                                                     This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                    information is REQUIRED. Failure to provide this information could result in a penalty.

                                                                                                                                                           Printed by the authority of the state
        249681 01-23-23 Schedule K-1-P(3) (R-12/22)     ID: 2BX                                                                                            of Illinois
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              Illinois Department of Revenue                                                                                                            Year ending
                                                                                                                                                        12      22
              Schedule K-1-P                                                                                                                            Month            Year
              Partner's or Shareholder's Share of Income, Deductions, Credits, and Recapture
                                                                                                                                                       IL Attachment No. 12
              To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
              Partners and Shareholders receiving Schedule K-1-P should attach this to their Illinois tax return.

Step 1:          Identify your partnership or S corporation
 1 Check your business type             X       partnership     S corporation                          3     **-***3661
                                                                                                         Enter your federal employer identification number (FEIN).
 2   BYERS HOLDING LLC                                                                                 4 Enter the apportionment factor from Form IL-1065 or Form
     Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                   IL-1120-ST, Line 42. Otherwise, enter "1."        .721086

Step 2:          Identify your partner or shareholder

 5   MOLLEHHOUR GROSS LLC                                                                             9a Check the appropriate box. See instructions.
     Name
                                                                                                                         individual                 corporation                     trust
 6   11409 MUNICIPAL CENTER DRIVE #23434                                                                          X      partnership                S corporation                   estate
     Mailing address

     KNOXVILLE, TN                              37933                                                 9b To be completed by the recipient on Line 5 only.
     City                                                                 State        ZIP                 I am a:      grantor trust         disregarded entity
 7   **-***3161                                                                                            and the amounts on this schedule will be reported by:
     Social Security number or FEIN
                                                                                                           Name:
 8               VARIOUS                                                                                   SSN or FEIN:
     Share (%)


Step 3:          Figure your partner's or shareholder's share of your nonbusiness income or loss
                                                                                                                         A                                               B
                                                                                                                 Member's share                                  Member's share
                                                                                                                (See instructions.)                             allocable to Illinois
10   Interest                                                                                        10
11   Dividends                                                                                       11
12   Rental income                                                                                   12
13   Patent royalties                                                                                13
14   Copyright royalties                                                                             14
15   Other royalty income                                                                            15
16   Capital gain or loss from real property                                                         16
17   Capital gain or loss from tangible personal property                                            17                                 22                                              22
18   Capital gain or loss from intangible personal property                                          18
19   Other income and expense                                                                        19
                                      Specify

Step 4:          Figure your partner's or shareholder's share of your business income or loss
                                                                                                                         A                                               B
                                                                                                                  Member's share
                                                                                                              from U.S. Schedule K-1,                          Member's share
                                                                                                             less nonbusiness income                         apportioned to Illinois

20   Ordinary income or loss from trade or business activity                                         20                      -7,704                                          -5,555
21   Net income or loss from rental real estate activities                                           21
22   Net income or loss from other rental activities                                                 22
23   Interest                                                                                        23
24   Dividends                                                                                       24
25   Royalties                                                                                       25
26   Net short-term capital gain or loss                                                             26
27   Net long-term capital gain or loss. Total for year.                                             27
28   Unrecaptured Section 1250 gain                                                                  28
29   Guaranteed payments to partner (U.S. Form 1065 only)                                            29
30   Net Section 1231 gain or loss (other than casualty or theft). Total for year.                   30
31   Other income and expense                                                                        31
                                      Specify



            249131 01-23-23                                                            This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                       information is REQUIRED. Failure to provide this information could result in a penalty.
            Schedule K-1-P Page 1 (R-12/22)         ID: 2BX
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         Enter identification number from Line 7.          Document      Page 89 of 118
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Step 5:       Figure your partner's or shareholder's share of Illinois additions and subtractions
K-1-P Recipient: Before using the information provided in Step 5, you must read
Schedule K-1-P(2) to correctly report the amounts listed in Columns A and B.                                          A                                     B
                                                                                                             Member's share from              Member's share apportioned or
    Additions                                                                                             Form IL-1065 or IL-1120-ST              allocated to Illinois
 32 Federally tax-exempt interest income                                                              32
 33 Illinois taxes and surcharge deducted. See instructions.                                          33
 34 Illinois Special Depreciation addition                                                            34                        678                                      489
 35 Related-Party Expenses addition                                                                   35
 36 Distributive share of additions                                                                   36
 37 Other additions (from Illinois Schedule M for businesses)                                         37
    Subtractions
 38 a Interest from U.S. Treasury obligations (business income)                                       38a
    b Interest from U.S. Treasury obligations (nonbusiness income)                                    38b
 39 River Edge Redevelopment Zone Dividend subtraction                                                39
 40 High Impact Business Dividend subtraction                                                         40
 41 Contribution subtraction (Form IL-1120-ST filers only)                                            41
 42 River Edge Redevelopment Zone Interest subtraction (Form IL-1120-ST financial organizations only) 42
 43 High Impact Business within a Foreign Trade Zone Interest
     subtraction (Form IL-1120-ST financial organizations only)                                 43
44   Illinois Special Depreciation subtraction                                                  44                      2,581                                    1,861
45   Related-Party Expenses subtraction                                                         45
46   Distributive share of subtractions                                                         46
47   Other subtractions (from Illinois Schedule M for businesses)                               47

Step 6:      Figure your partner's or shareholder's (except a corporate partner or                                 A                                  B
             shareholder) share of your Illinois August 1, 1969, appreciation                        Member's share from Illinois       Member's share apportioned or
             amounts                                                                            Schedule F (Form IL-1065 or IL-1120-ST)       allocated to Illinois
48   Section 1245 and 1250 gain                                                                 48
49   Section 1231 gain                                                                          49
50   Section 1231 gain less casualty and theft gain. See instructions.                          50
51   Capital gain                                                                               51

Step 7:       Figure your partner's or shareholder's share of your Illinois credits, recapture, pass-through withholding, pass-through
              entity tax credit, and federal income subject to surcharge
                                                         Member's share                                                          Member's share
                                          Credit            from Illinois                                                         from Illinois
52   Illinois Income Tax Credits           Code               tax return           53 Other  credits                                tax return
a    Film Production Services               5000 52a                               a Pass-through Entity (PTE) Tax Credit 53a
b    Enterprise Zone Investment             5080 52b                                  See instructions.
 c   Enterprise Zone Construction Jobs 5120      52c                               b Replacement Tax Investment Credits
d    High Impact Business Construction Jobs 5160 52d                                  See instructions.                   53b
e    Affordable Housing Donations           5260 52e                               54 Recapture
 f   EDGE                                   5300 52f                               a Enterprise Zone or River
g    New Construction EDGE                  5320 52g                                   Edge Redevelopment Zone
h    Research and Development               5340 52h                                   Investment Credit recapture        54a
 i   Wages Paid to Ex-Felons                5380 52i                               b REV Illinois Investment
 j   Student-Assistance Contributions 5420       52j                                   Credit recapture                   54b
 k   Angel Investment                       5460 52k                                c Replacement Tax Investment
 l   New Markets Development                5500 52l                                   Credit recapture                   54c
m    River Edge Historic Preservation 5540       52m                               d Additional income tax credit
n    River Edge Construction Jobs           5560 52n                                   recapture                          54d
o    Live Theater Production                5580 52o                               55 Pass-through withholding
p    Hospital                               5620 52p                                   See instructions.                   55
q    Invest in Kids                         5660 52q                               56 Federal income attributable to
 r   Data Center Construction Employment 5820    52r                                   transactions subject to the
                                                                                       Compassionate Use of Medical
 s   Apprenticeship Education Expense 0160       52s                                   Cannabis Program Act surcharge.
 t   Historic Preservation                  1030 52t                                   See instructions.                   56
u    REV Illinois Investment                5230 52u                               57 Federal income attributable to the
 v   Agritourism Liability Insurance        5440 52v                                   sale or exchange of assets by a
                                                                                       gaming licensee surcharge.
w    Recovery and Mental Health             0180 52w                                   See instructions.                   57
 x   Other income tax credits                    52x
                                                                                                249132 01-23-23           ID: 2BX      Schedule K-1-P Page 2 (R-12/22)
                                                                                                                                                                         8
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  BYERS HOLDING LLC          Document  Page 90 of 118               **-***3661
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IL SCH K-1-P MEMBER'S SHARE OF DISTRIBUTABLE BASE INCOME OR LOSS
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1 ENTER THE SHARE OF INCOME FROM IL-1065 LINE 14 FOR THIS MEMBER
  (SCHEDULE K-1-P COLUMN A LINES 10-27 & 30-31)                  $                        -7,682.00

2 ENTER THE SHARE OF ADDITIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 15-20 AND LINE 22                                                      678.00

3 ADD LINES 1 AND 2                                                                       -7,004.00

4 ENTER THE SHARE OF SUBTRACTIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 24-25 AND 28-33                                                      2,581.00

5 SUBTRACT LINE 4 FROM LINE 3                                                   $         -9,585.00




                                                                       PARTNER NUMBER 8
                Case 23-08545                    Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59                                                       Desc Main
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           Illinois Department of Revenue                                                                                                                                  Year ending
                                                                                                                                                                           12      22
           2022 Schedule K-1-P(3)                                                                                                                                         Month             Year
           Pass-through Withholding Calculation for Nonresident Members
           To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
Read this information first:
¥ For tax years ending on or after December 31, 2022, and before December 31, 2023.
¥ You must complete Schedule K-1-P(3) for each nonresident partners or shareholder who has not submitted a Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) for any member who is a resident or who has submitted Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) if you have elected to pay Pass-through Entity Tax.
 Note | Keep this schedule with your income tax records. You must send us this information if we request it.

Step 1: Identify your partnership or S corporation
 1 BYERS HOLDING LLC                                                                                             2   **-***3661
    Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                Enter your federal employer identification number (FEIN).

Step 2: Identify your nonresident partner or shareholder
 3 MOLLEHHOUR GROSS LLC                                                                                          4   **-***3161
    Name                                                                                                             Social Security number or FEIN

  5 Check the appropriate box to identify this nonresident partner's or shareholder's organization type.
            individual               corporation                    trust          X      partnership                 S corporation                    estate


Step 3:       Figure your nonresident partner's or shareholder's pass-through withholding
 Note     | If this member is a resident or has submitted Form IL-1000-E to you, do not complete this schedule for this member.
 6 Add the amounts from this member's Schedule K-1-P, Step 3, Column B, Lines 12 through 17 and 19 and
   enter the total here. This is your member's share of nonbusiness income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        6                                  22
 7 Add the amounts from this member's Schedule K-1-P, Step 4, Column B, Lines 20 through 27 and 29
   through 31 and enter the total here. This is your member's share of business income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        7                     -5,555
 8 Add Line 6 and Line 7 and enter the result.                                                                                                                  8                     -5,533
 9 Add the amounts from this member's Schedule K-1-P, Column B, Lines 32 through 37 and enter the total
   here. This is your member's share of additions allocable to Illinois.                                                                                         9                       489
10 Add Line 8 and Line 9 and enter the result.                                                                                                                  10                    -5,044
11 Add the amounts from this member's Schedule K-1-P, Column B, Lines 38a through 47 and enter the total here.
   If this member is an individual, partnership, trust, or estate and received Illinois August 1, 1969, appreciation
   amounts from you, see instructions. This is your member's share of subtractions allocable to Illinois.                                                       11                       1,861
12 Subtract Line 11 from Line 10. If negative, enter zero. This is your member's share of Illinois income
   subject to pass-through withholding. See instructions.                                                                                                       12                                 0
Note | If this member is a nonresident individual or estate, enter zero on Lines 13 through 15 and go to Line 16.
13 Replacement tax before credits. If this member is a
      partnership, S corporation, or nonresident trust, multiply Line 12 by 1.5% (.015) and enter the result.
      corporation, multiply Line 12 by 2.5% (.025) and enter the result.                                                                                        13                                 0
14 Enter the amount of Illinois replacement tax investment credits passed to this member and available for use this year.                                       14                                 0
15 Subtract Line 14 from Line 13. If negative, enter zero. This is your member's share of replacement tax after credits.                                        15                                 0
Note | If this member is a nonresident partnership or S corporation, enter zero on Lines 16 through 18 and go to Line 19.
16 Income Tax before credits. See instructions.                                                                                                                 16                                 0
17 Enter the amount of Illinois income tax credits passed to this member and available for use this year. See instructions.                                     17                                 0
18 Subtract Line 17 from Line 16. If negative, enter zero. This is your member's share of income tax after credits.                                             18                                 0

19 Add Lines 15 and 18 and enter the result. This is your member's total pass-through withholding.
   Report this amount on this member's Schedule K-1-P, Step 7, Line 55. You must also report this amount on your
   Form IL-1065 or Form IL-1120-ST, Schedule B, Section B, Line J, on the line which reports this member's amounts. 19                                                                             0
| Keep a copy of this schedule for each member with your income tax records. Do not send Schedule K-1-P(3) to your members
  or submit it to the Illinois Department of Revenue unless we specifically request it from you.




                                                     This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                    information is REQUIRED. Failure to provide this information could result in a penalty.

                                                                                                                                                         Printed by the authority of the state
        249681 01-23-23 Schedule K-1-P(3) (R-12/22)     ID: 2BX                                                                                          of Illinois
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              Illinois Department of Revenue                                                                                                            Year ending
                                                                                                                                                        12      22
              Schedule K-1-P                                                                                                                            Month            Year
              Partner's or Shareholder's Share of Income, Deductions, Credits, and Recapture
                                                                                                                                                       IL Attachment No. 12
              To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
              Partners and Shareholders receiving Schedule K-1-P should attach this to their Illinois tax return.

Step 1:          Identify your partnership or S corporation
 1 Check your business type             X       partnership     S corporation                          3     **-***3661
                                                                                                         Enter your federal employer identification number (FEIN).
 2   BYERS HOLDING LLC                                                                                 4 Enter the apportionment factor from Form IL-1065 or Form
     Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                   IL-1120-ST, Line 42. Otherwise, enter "1."        .721086

Step 2:          Identify your partner or shareholder

 5   JEFF PAYNE                                                                                       9a Check the appropriate box. See instructions.
     Name                                                                                                         X      individual                 corporation                     trust
 6   8 WAWASET FARM LANE                                                                                                 partnership                S corporation                   estate
     Mailing address

     WEST CHESTER, PA                                 19382                                           9b To be completed by the recipient on Line 5 only.
     City                                                                 State        ZIP                 I am a:      grantor trust         disregarded entity
 7   ***-**-7180                                                                                           and the amounts on this schedule will be reported by:
     Social Security number or FEIN
                                                                                                           Name:
 8               VARIOUS                                                                                   SSN or FEIN:
     Share (%)


Step 3:          Figure your partner's or shareholder's share of your nonbusiness income or loss
                                                                                                                         A                                               B
                                                                                                                 Member's share                                  Member's share
                                                                                                                (See instructions.)                             allocable to Illinois
10   Interest                                                                                        10
11   Dividends                                                                                       11
12   Rental income                                                                                   12
13   Patent royalties                                                                                13
14   Copyright royalties                                                                             14
15   Other royalty income                                                                            15
16   Capital gain or loss from real property                                                         16
17   Capital gain or loss from tangible personal property                                            17                                    7                                            7
18   Capital gain or loss from intangible personal property                                          18
19   Other income and expense                                                                        19
                                      Specify

Step 4:          Figure your partner's or shareholder's share of your business income or loss
                                                                                                                         A                                               B
                                                                                                                  Member's share
                                                                                                              from U.S. Schedule K-1,                          Member's share
                                                                                                             less nonbusiness income                         apportioned to Illinois

20   Ordinary income or loss from trade or business activity                                         20                      -2,493                                          -1,798
21   Net income or loss from rental real estate activities                                           21
22   Net income or loss from other rental activities                                                 22
23   Interest                                                                                        23
24   Dividends                                                                                       24
25   Royalties                                                                                       25
26   Net short-term capital gain or loss                                                             26
27   Net long-term capital gain or loss. Total for year.                                             27
28   Unrecaptured Section 1250 gain                                                                  28
29   Guaranteed payments to partner (U.S. Form 1065 only)                                            29
30   Net Section 1231 gain or loss (other than casualty or theft). Total for year.                   30
31   Other income and expense                                                                        31
                                      Specify



            249131 01-23-23                                                            This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                       information is REQUIRED. Failure to provide this information could result in a penalty.
            Schedule K-1-P Page 1 (R-12/22)         ID: 2BX
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               Case 23-08545                 Doc 1         Filed 06/29/23 Entered 06/29/23 09:30:59                                     Desc Main
         Enter identification number from Line 7.          Document      Page 93 of 118
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Step 5:       Figure your partner's or shareholder's share of Illinois additions and subtractions
K-1-P Recipient: Before using the information provided in Step 5, you must read
Schedule K-1-P(2) to correctly report the amounts listed in Columns A and B.                                          A                                     B
                                                                                                             Member's share from              Member's share apportioned or
    Additions                                                                                             Form IL-1065 or IL-1120-ST              allocated to Illinois
 32 Federally tax-exempt interest income                                                              32
 33 Illinois taxes and surcharge deducted. See instructions.                                          33
 34 Illinois Special Depreciation addition                                                            34                        219                                      158
 35 Related-Party Expenses addition                                                                   35
 36 Distributive share of additions                                                                   36
 37 Other additions (from Illinois Schedule M for businesses)                                         37
    Subtractions
 38 a Interest from U.S. Treasury obligations (business income)                                       38a
    b Interest from U.S. Treasury obligations (nonbusiness income)                                    38b
 39 River Edge Redevelopment Zone Dividend subtraction                                                39
 40 High Impact Business Dividend subtraction                                                         40
 41 Contribution subtraction (Form IL-1120-ST filers only)                                            41
 42 River Edge Redevelopment Zone Interest subtraction (Form IL-1120-ST financial organizations only) 42
 43 High Impact Business within a Foreign Trade Zone Interest
     subtraction (Form IL-1120-ST financial organizations only)                                 43
44   Illinois Special Depreciation subtraction                                                  44                           835                                         602
45   Related-Party Expenses subtraction                                                         45
46   Distributive share of subtractions                                                         46
47   Other subtractions (from Illinois Schedule M for businesses)                               47

Step 6:      Figure your partner's or shareholder's (except a corporate partner or                                 A                                  B
             shareholder) share of your Illinois August 1, 1969, appreciation                        Member's share from Illinois       Member's share apportioned or
             amounts                                                                            Schedule F (Form IL-1065 or IL-1120-ST)       allocated to Illinois
48   Section 1245 and 1250 gain                                                                 48
49   Section 1231 gain                                                                          49
50   Section 1231 gain less casualty and theft gain. See instructions.                          50
51   Capital gain                                                                               51

Step 7:       Figure your partner's or shareholder's share of your Illinois credits, recapture, pass-through withholding, pass-through
              entity tax credit, and federal income subject to surcharge
                                                         Member's share                                                          Member's share
                                          Credit            from Illinois                                                         from Illinois
52   Illinois Income Tax Credits           Code               tax return           53 Other  credits                                tax return
a    Film Production Services               5000 52a                               a Pass-through Entity (PTE) Tax Credit 53a
b    Enterprise Zone Investment             5080 52b                                  See instructions.
 c   Enterprise Zone Construction Jobs 5120      52c                               b Replacement Tax Investment Credits
d    High Impact Business Construction Jobs 5160 52d                                  See instructions.                   53b
e    Affordable Housing Donations           5260 52e                               54 Recapture
 f   EDGE                                   5300 52f                               a Enterprise Zone or River
g    New Construction EDGE                  5320 52g                                   Edge Redevelopment Zone
h    Research and Development               5340 52h                                   Investment Credit recapture        54a
 i   Wages Paid to Ex-Felons                5380 52i                               b REV Illinois Investment
 j   Student-Assistance Contributions 5420       52j                                   Credit recapture                   54b
 k   Angel Investment                       5460 52k                                c Replacement Tax Investment
 l   New Markets Development                5500 52l                                   Credit recapture                   54c
m    River Edge Historic Preservation 5540       52m                               d Additional income tax credit
n    River Edge Construction Jobs           5560 52n                                   recapture                          54d
o    Live Theater Production                5580 52o                               55 Pass-through withholding
p    Hospital                               5620 52p                                   See instructions.                   55
q    Invest in Kids                         5660 52q                               56 Federal income attributable to
 r   Data Center Construction Employment 5820    52r                                   transactions subject to the
                                                                                       Compassionate Use of Medical
 s   Apprenticeship Education Expense 0160       52s                                   Cannabis Program Act surcharge.
 t   Historic Preservation                  1030 52t                                   See instructions.                   56
u    REV Illinois Investment                5230 52u                               57 Federal income attributable to the
 v   Agritourism Liability Insurance        5440 52v                                   sale or exchange of assets by a
                                                                                       gaming licensee surcharge.
w    Recovery and Mental Health             0180 52w                                   See instructions.                   57
 x   Other income tax credits                    52x
                                                                                                249132 01-23-23           ID: 2BX      Schedule K-1-P Page 2 (R-12/22)
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  BYERS HOLDING LLC          Document  Page 94 of 118               **-***3661
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IL SCH K-1-P MEMBER'S SHARE OF DISTRIBUTABLE BASE INCOME OR LOSS
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1 ENTER THE SHARE OF INCOME FROM IL-1065 LINE 14 FOR THIS MEMBER
  (SCHEDULE K-1-P COLUMN A LINES 10-27 & 30-31)                  $                        -2,486.00

2 ENTER THE SHARE OF ADDITIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 15-20 AND LINE 22                                                      219.00

3 ADD LINES 1 AND 2                                                                       -2,267.00

4 ENTER THE SHARE OF SUBTRACTIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 24-25 AND 28-33                                                        835.00

5 SUBTRACT LINE 4 FROM LINE 3                                                   $         -3,102.00




                                                                       PARTNER NUMBER 9
                Case 23-08545                    Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59                                                       Desc Main
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            Illinois Department of Revenue                                                                                                                                 Year ending
                                                                                                                                                                           12      22
            2022 Schedule K-1-P(3)                                                                                                                                        Month             Year
            Pass-through Withholding Calculation for Nonresident Members
            To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
Read this information first:
¥ For tax years ending on or after December 31, 2022, and before December 31, 2023.
¥ You must complete Schedule K-1-P(3) for each nonresident partners or shareholder who has not submitted a Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) for any member who is a resident or who has submitted Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) if you have elected to pay Pass-through Entity Tax.
 Note | Keep this schedule with your income tax records. You must send us this information if we request it.

Step 1: Identify your partnership or S corporation
 1 BYERS HOLDING LLC                                                                                             2   **-***3661
    Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                Enter your federal employer identification number (FEIN).

Step 2: Identify your nonresident partner or shareholder
 3 JEFF PAYNE                                                                                                    4   ***-**-7180
    Name                                                                                                             Social Security number or FEIN

  5 Check the appropriate box to identify this nonresident partner's or shareholder's organization type.
        X    individual              corporation                    trust                 partnership                 S corporation                    estate


Step 3:       Figure your nonresident partner's or shareholder's pass-through withholding
 Note     | If this member is a resident or has submitted Form IL-1000-E to you, do not complete this schedule for this member.
 6 Add the amounts from this member's Schedule K-1-P, Step 3, Column B, Lines 12 through 17 and 19 and
   enter the total here. This is your member's share of nonbusiness income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        6                                  7
 7 Add the amounts from this member's Schedule K-1-P, Step 4, Column B, Lines 20 through 27 and 29
   through 31 and enter the total here. This is your member's share of business income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        7                     -1,798
 8 Add Line 6 and Line 7 and enter the result.                                                                                                                  8                     -1,791
 9 Add the amounts from this member's Schedule K-1-P, Column B, Lines 32 through 37 and enter the total
   here. This is your member's share of additions allocable to Illinois.                                                                                         9                       158
10 Add Line 8 and Line 9 and enter the result.                                                                                                                  10                    -1,633
11 Add the amounts from this member's Schedule K-1-P, Column B, Lines 38a through 47 and enter the total here.
   If this member is an individual, partnership, trust, or estate and received Illinois August 1, 1969, appreciation
   amounts from you, see instructions. This is your member's share of subtractions allocable to Illinois.                                                       11                               602
12 Subtract Line 11 from Line 10. If negative, enter zero. This is your member's share of Illinois income
   subject to pass-through withholding. See instructions.                                                                                                       12                                 0
Note | If this member is a nonresident individual or estate, enter zero on Lines 13 through 15 and go to Line 16.
13 Replacement tax before credits. If this member is a
      partnership, S corporation, or nonresident trust, multiply Line 12 by 1.5% (.015) and enter the result.
      corporation, multiply Line 12 by 2.5% (.025) and enter the result.                                                                                        13                                 0
14 Enter the amount of Illinois replacement tax investment credits passed to this member and available for use this year.                                       14                                 0
15 Subtract Line 14 from Line 13. If negative, enter zero. This is your member's share of replacement tax after credits.                                        15                                 0
Note | If this member is a nonresident partnership or S corporation, enter zero on Lines 16 through 18 and go to Line 19.
16 Income Tax before credits. See instructions.                                                                                                                 16                                 0
17 Enter the amount of Illinois income tax credits passed to this member and available for use this year. See instructions.                                     17                                 0
18 Subtract Line 17 from Line 16. If negative, enter zero. This is your member's share of income tax after credits.                                             18                                 0

19 Add Lines 15 and 18 and enter the result. This is your member's total pass-through withholding.
   Report this amount on this member's Schedule K-1-P, Step 7, Line 55. You must also report this amount on your
   Form IL-1065 or Form IL-1120-ST, Schedule B, Section B, Line J, on the line which reports this member's amounts. 19                                                                             0
| Keep a copy of this schedule for each member with your income tax records. Do not send Schedule K-1-P(3) to your members
  or submit it to the Illinois Department of Revenue unless we specifically request it from you.




                                                     This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                    information is REQUIRED. Failure to provide this information could result in a penalty.

                                                                                                                                                         Printed by the authority of the state
        249681 01-23-23 Schedule K-1-P(3) (R-12/22)     ID: 2BX                                                                                          of Illinois
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              Illinois Department of Revenue                                                                                                            Year ending
                                                                                                                                                        12      22
              Schedule K-1-P                                                                                                                            Month            Year
              Partner's or Shareholder's Share of Income, Deductions, Credits, and Recapture
                                                                                                                                                       IL Attachment No. 12
              To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
              Partners and Shareholders receiving Schedule K-1-P should attach this to their Illinois tax return.

Step 1:          Identify your partnership or S corporation
 1 Check your business type             X       partnership     S corporation                          3     **-***3661
                                                                                                         Enter your federal employer identification number (FEIN).
 2   BYERS HOLDING LLC                                                                                 4 Enter the apportionment factor from Form IL-1065 or Form
     Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                   IL-1120-ST, Line 42. Otherwise, enter "1."        .721086

Step 2:          Identify your partner or shareholder

 5   KEITH KOWAL                                                                                      9a Check the appropriate box. See instructions.
     Name                                                                                                         X      individual                 corporation                     trust
 6   437 QUIGLEY DRIVE                                                                                                   partnership                S corporation                   estate
     Mailing address

     MALVERN, PA                        19355                                                         9b To be completed by the recipient on Line 5 only.
     City                                                                 State        ZIP                 I am a:      grantor trust         disregarded entity
 7   ***-**-5809                                                                                           and the amounts on this schedule will be reported by:
     Social Security number or FEIN
                                                                                                           Name:
 8               VARIOUS                                                                                   SSN or FEIN:
     Share (%)


Step 3:          Figure your partner's or shareholder's share of your nonbusiness income or loss
                                                                                                                         A                                               B
                                                                                                                 Member's share                                  Member's share
                                                                                                                (See instructions.)                             allocable to Illinois
10   Interest                                                                                        10
11   Dividends                                                                                       11
12   Rental income                                                                                   12
13   Patent royalties                                                                                13
14   Copyright royalties                                                                             14
15   Other royalty income                                                                            15
16   Capital gain or loss from real property                                                         16
17   Capital gain or loss from tangible personal property                                            17                                    3                                            3
18   Capital gain or loss from intangible personal property                                          18
19   Other income and expense                                                                        19
                                      Specify

Step 4:          Figure your partner's or shareholder's share of your business income or loss
                                                                                                                         A                                               B
                                                                                                                  Member's share
                                                                                                              from U.S. Schedule K-1,                          Member's share
                                                                                                             less nonbusiness income                         apportioned to Illinois

20   Ordinary income or loss from trade or business activity                                         20                      -1,311                                              -945
21   Net income or loss from rental real estate activities                                           21
22   Net income or loss from other rental activities                                                 22
23   Interest                                                                                        23
24   Dividends                                                                                       24
25   Royalties                                                                                       25
26   Net short-term capital gain or loss                                                             26
27   Net long-term capital gain or loss. Total for year.                                             27
28   Unrecaptured Section 1250 gain                                                                  28
29   Guaranteed payments to partner (U.S. Form 1065 only)                                            29
30   Net Section 1231 gain or loss (other than casualty or theft). Total for year.                   30
31   Other income and expense                                                                        31
                                      Specify



            249131 01-23-23                                                            This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                       information is REQUIRED. Failure to provide this information could result in a penalty.
            Schedule K-1-P Page 1 (R-12/22)         ID: 2BX
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         Enter identification number from Line 7.          Document      Page 97 of 118
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Step 5:       Figure your partner's or shareholder's share of Illinois additions and subtractions
K-1-P Recipient: Before using the information provided in Step 5, you must read
Schedule K-1-P(2) to correctly report the amounts listed in Columns A and B.                                          A                                     B
                                                                                                             Member's share from              Member's share apportioned or
    Additions                                                                                             Form IL-1065 or IL-1120-ST              allocated to Illinois
 32 Federally tax-exempt interest income                                                              32
 33 Illinois taxes and surcharge deducted. See instructions.                                          33
 34 Illinois Special Depreciation addition                                                            34                        116                                       84
 35 Related-Party Expenses addition                                                                   35
 36 Distributive share of additions                                                                   36
 37 Other additions (from Illinois Schedule M for businesses)                                         37
    Subtractions
 38 a Interest from U.S. Treasury obligations (business income)                                       38a
    b Interest from U.S. Treasury obligations (nonbusiness income)                                    38b
 39 River Edge Redevelopment Zone Dividend subtraction                                                39
 40 High Impact Business Dividend subtraction                                                         40
 41 Contribution subtraction (Form IL-1120-ST filers only)                                            41
 42 River Edge Redevelopment Zone Interest subtraction (Form IL-1120-ST financial organizations only) 42
 43 High Impact Business within a Foreign Trade Zone Interest
     subtraction (Form IL-1120-ST financial organizations only)                                 43
44   Illinois Special Depreciation subtraction                                                  44                           440                                         317
45   Related-Party Expenses subtraction                                                         45
46   Distributive share of subtractions                                                         46
47   Other subtractions (from Illinois Schedule M for businesses)                               47

Step 6:      Figure your partner's or shareholder's (except a corporate partner or                                 A                                  B
             shareholder) share of your Illinois August 1, 1969, appreciation                        Member's share from Illinois       Member's share apportioned or
             amounts                                                                            Schedule F (Form IL-1065 or IL-1120-ST)       allocated to Illinois
48   Section 1245 and 1250 gain                                                                 48
49   Section 1231 gain                                                                          49
50   Section 1231 gain less casualty and theft gain. See instructions.                          50
51   Capital gain                                                                               51

Step 7:       Figure your partner's or shareholder's share of your Illinois credits, recapture, pass-through withholding, pass-through
              entity tax credit, and federal income subject to surcharge
                                                         Member's share                                                          Member's share
                                          Credit            from Illinois                                                         from Illinois
52   Illinois Income Tax Credits           Code               tax return           53 Other  credits                                tax return
a    Film Production Services               5000 52a                               a Pass-through Entity (PTE) Tax Credit 53a
b    Enterprise Zone Investment             5080 52b                                  See instructions.
 c   Enterprise Zone Construction Jobs 5120      52c                               b Replacement Tax Investment Credits
d    High Impact Business Construction Jobs 5160 52d                                  See instructions.                   53b
e    Affordable Housing Donations           5260 52e                               54 Recapture
 f   EDGE                                   5300 52f                               a Enterprise Zone or River
g    New Construction EDGE                  5320 52g                                   Edge Redevelopment Zone
h    Research and Development               5340 52h                                   Investment Credit recapture        54a
 i   Wages Paid to Ex-Felons                5380 52i                               b REV Illinois Investment
 j   Student-Assistance Contributions 5420       52j                                   Credit recapture                   54b
 k   Angel Investment                       5460 52k                                c Replacement Tax Investment
 l   New Markets Development                5500 52l                                   Credit recapture                   54c
m    River Edge Historic Preservation 5540       52m                               d Additional income tax credit
n    River Edge Construction Jobs           5560 52n                                   recapture                          54d
o    Live Theater Production                5580 52o                               55 Pass-through withholding
p    Hospital                               5620 52p                                   See instructions.                   55
q    Invest in Kids                         5660 52q                               56 Federal income attributable to
 r   Data Center Construction Employment 5820    52r                                   transactions subject to the
                                                                                       Compassionate Use of Medical
 s   Apprenticeship Education Expense 0160       52s                                   Cannabis Program Act surcharge.
 t   Historic Preservation                  1030 52t                                   See instructions.                   56
u    REV Illinois Investment                5230 52u                               57 Federal income attributable to the
 v   Agritourism Liability Insurance        5440 52v                                   sale or exchange of assets by a
                                                                                       gaming licensee surcharge.
w    Recovery and Mental Health             0180 52w                                   See instructions.                   57
 x   Other income tax credits                    52x
                                                                                                249132 01-23-23           ID: 2BX      Schedule K-1-P Page 2 (R-12/22)
                                                                                                                                                                   10
         Case 23-08545   Doc 1   Filed 06/29/23   Entered 06/29/23 09:30:59   Desc Main
  BYERS HOLDING LLC          Document  Page 98 of 118               **-***3661
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IL SCH K-1-P MEMBER'S SHARE OF DISTRIBUTABLE BASE INCOME OR LOSS
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1 ENTER THE SHARE OF INCOME FROM IL-1065 LINE 14 FOR THIS MEMBER
  (SCHEDULE K-1-P COLUMN A LINES 10-27 & 30-31)                  $                        -1,308.00

2 ENTER THE SHARE OF ADDITIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 15-20 AND LINE 22                                                      116.00

3 ADD LINES 1 AND 2                                                                       -1,192.00

4 ENTER THE SHARE OF SUBTRACTIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 24-25 AND 28-33                                                        440.00

5 SUBTRACT LINE 4 FROM LINE 3                                                   $         -1,632.00




                                                                       PARTNER NUMBER 10
                Case 23-08545                    Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59                                                       Desc Main
                                                                 Document      Page 99 of 118


            Illinois Department of Revenue                                                                                                                                 Year ending
                                                                                                                                                                           12      22
            2022 Schedule K-1-P(3)                                                                                                                                        Month             Year
            Pass-through Withholding Calculation for Nonresident Members
            To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
Read this information first:
¥ For tax years ending on or after December 31, 2022, and before December 31, 2023.
¥ You must complete Schedule K-1-P(3) for each nonresident partners or shareholder who has not submitted a Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) for any member who is a resident or who has submitted Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) if you have elected to pay Pass-through Entity Tax.
 Note | Keep this schedule with your income tax records. You must send us this information if we request it.

Step 1: Identify your partnership or S corporation
 1 BYERS HOLDING LLC                                                                                             2   **-***3661
    Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                Enter your federal employer identification number (FEIN).

Step 2: Identify your nonresident partner or shareholder
 3 KEITH KOWAL                                                                                                   4   ***-**-5809
    Name                                                                                                             Social Security number or FEIN

  5 Check the appropriate box to identify this nonresident partner's or shareholder's organization type.
        X    individual              corporation                    trust                 partnership                 S corporation                    estate


Step 3:       Figure your nonresident partner's or shareholder's pass-through withholding
 Note     | If this member is a resident or has submitted Form IL-1000-E to you, do not complete this schedule for this member.
 6 Add the amounts from this member's Schedule K-1-P, Step 3, Column B, Lines 12 through 17 and 19 and
   enter the total here. This is your member's share of nonbusiness income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        6                                  3
 7 Add the amounts from this member's Schedule K-1-P, Step 4, Column B, Lines 20 through 27 and 29
   through 31 and enter the total here. This is your member's share of business income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        7                           -945
 8 Add Line 6 and Line 7 and enter the result.                                                                                                                  8                           -942
 9 Add the amounts from this member's Schedule K-1-P, Column B, Lines 32 through 37 and enter the total
   here. This is your member's share of additions allocable to Illinois.                                                                                         9                            84
10 Add Line 8 and Line 9 and enter the result.                                                                                                                  10                          -858
11 Add the amounts from this member's Schedule K-1-P, Column B, Lines 38a through 47 and enter the total here.
   If this member is an individual, partnership, trust, or estate and received Illinois August 1, 1969, appreciation
   amounts from you, see instructions. This is your member's share of subtractions allocable to Illinois.                                                       11                               317
12 Subtract Line 11 from Line 10. If negative, enter zero. This is your member's share of Illinois income
   subject to pass-through withholding. See instructions.                                                                                                       12                                 0
Note | If this member is a nonresident individual or estate, enter zero on Lines 13 through 15 and go to Line 16.
13 Replacement tax before credits. If this member is a
      partnership, S corporation, or nonresident trust, multiply Line 12 by 1.5% (.015) and enter the result.
      corporation, multiply Line 12 by 2.5% (.025) and enter the result.                                                                                        13                                 0
14 Enter the amount of Illinois replacement tax investment credits passed to this member and available for use this year.                                       14                                 0
15 Subtract Line 14 from Line 13. If negative, enter zero. This is your member's share of replacement tax after credits.                                        15                                 0
Note | If this member is a nonresident partnership or S corporation, enter zero on Lines 16 through 18 and go to Line 19.
16 Income Tax before credits. See instructions.                                                                                                                 16                                 0
17 Enter the amount of Illinois income tax credits passed to this member and available for use this year. See instructions.                                     17                                 0
18 Subtract Line 17 from Line 16. If negative, enter zero. This is your member's share of income tax after credits.                                             18                                 0

19 Add Lines 15 and 18 and enter the result. This is your member's total pass-through withholding.
   Report this amount on this member's Schedule K-1-P, Step 7, Line 55. You must also report this amount on your
   Form IL-1065 or Form IL-1120-ST, Schedule B, Section B, Line J, on the line which reports this member's amounts. 19                                                                             0
| Keep a copy of this schedule for each member with your income tax records. Do not send Schedule K-1-P(3) to your members
  or submit it to the Illinois Department of Revenue unless we specifically request it from you.




                                                     This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                    information is REQUIRED. Failure to provide this information could result in a penalty.

                                                                                                                                                         Printed by the authority of the state
        249681 01-23-23 Schedule K-1-P(3) (R-12/22)     ID: 2BX                                                                                          of Illinois
                  Case 23-08545                       Doc 1    Filed 06/29/23 Entered 06/29/23 09:30:59                                            Desc Main
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              Illinois Department of Revenue                                                                                                            Year ending
                                                                                                                                                        12      22
              Schedule K-1-P                                                                                                                            Month            Year
              Partner's or Shareholder's Share of Income, Deductions, Credits, and Recapture
                                                                                                                                                       IL Attachment No. 12
              To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
              Partners and Shareholders receiving Schedule K-1-P should attach this to their Illinois tax return.

Step 1:          Identify your partnership or S corporation
 1 Check your business type             X       partnership     S corporation                          3     **-***3661
                                                                                                         Enter your federal employer identification number (FEIN).
 2   BYERS HOLDING LLC                                                                                 4 Enter the apportionment factor from Form IL-1065 or Form
     Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                   IL-1120-ST, Line 42. Otherwise, enter "1."        .721086

Step 2:          Identify your partner or shareholder

 5   SHARI CAMBRONNE                                                                                  9a Check the appropriate box. See instructions.
     Name                                                                                                         X      individual                 corporation                     trust
 6   4590 HELMO AVENUE                                                                                                   partnership                S corporation                   estate
     Mailing address

     OAKDALE, MN                        55128                                                         9b To be completed by the recipient on Line 5 only.
     City                                                                 State        ZIP                 I am a:      grantor trust         disregarded entity
 7   ***-**-3469                                                                                           and the amounts on this schedule will be reported by:
     Social Security number or FEIN
                                                                                                           Name:
 8               VARIOUS                                                                                   SSN or FEIN:
     Share (%)


Step 3:          Figure your partner's or shareholder's share of your nonbusiness income or loss
                                                                                                                         A                                               B
                                                                                                                 Member's share                                  Member's share
                                                                                                                (See instructions.)                             allocable to Illinois
10   Interest                                                                                        10
11   Dividends                                                                                       11
12   Rental income                                                                                   12
13   Patent royalties                                                                                13
14   Copyright royalties                                                                             14
15   Other royalty income                                                                            15
16   Capital gain or loss from real property                                                         16
17   Capital gain or loss from tangible personal property                                            17                                    4                                            4
18   Capital gain or loss from intangible personal property                                          18
19   Other income and expense                                                                        19
                                      Specify

Step 4:          Figure your partner's or shareholder's share of your business income or loss
                                                                                                                         A                                               B
                                                                                                                  Member's share
                                                                                                              from U.S. Schedule K-1,                          Member's share
                                                                                                             less nonbusiness income                         apportioned to Illinois

20   Ordinary income or loss from trade or business activity                                         20                      -1,312                                              -946
21   Net income or loss from rental real estate activities                                           21
22   Net income or loss from other rental activities                                                 22
23   Interest                                                                                        23
24   Dividends                                                                                       24
25   Royalties                                                                                       25
26   Net short-term capital gain or loss                                                             26
27   Net long-term capital gain or loss. Total for year.                                             27
28   Unrecaptured Section 1250 gain                                                                  28
29   Guaranteed payments to partner (U.S. Form 1065 only)                                            29
30   Net Section 1231 gain or loss (other than casualty or theft). Total for year.                   30
31   Other income and expense                                                                        31
                                      Specify



            249131 01-23-23                                                            This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                                                       information is REQUIRED. Failure to provide this information could result in a penalty.
            Schedule K-1-P Page 1 (R-12/22)         ID: 2BX
                                                                                                                                                                                 11
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         Enter identification number from Line 7.          Document      Page 101 of 118
         ***-**-3469


Step 5:       Figure your partner's or shareholder's share of Illinois additions and subtractions
K-1-P Recipient: Before using the information provided in Step 5, you must read
Schedule K-1-P(2) to correctly report the amounts listed in Columns A and B.                                          A                                     B
                                                                                                             Member's share from              Member's share apportioned or
    Additions                                                                                             Form IL-1065 or IL-1120-ST              allocated to Illinois
 32 Federally tax-exempt interest income                                                              32
 33 Illinois taxes and surcharge deducted. See instructions.                                          33
 34 Illinois Special Depreciation addition                                                            34                        115                                       83
 35 Related-Party Expenses addition                                                                   35
 36 Distributive share of additions                                                                   36
 37 Other additions (from Illinois Schedule M for businesses)                                         37
    Subtractions
 38 a Interest from U.S. Treasury obligations (business income)                                       38a
    b Interest from U.S. Treasury obligations (nonbusiness income)                                    38b
 39 River Edge Redevelopment Zone Dividend subtraction                                                39
 40 High Impact Business Dividend subtraction                                                         40
 41 Contribution subtraction (Form IL-1120-ST filers only)                                            41
 42 River Edge Redevelopment Zone Interest subtraction (Form IL-1120-ST financial organizations only) 42
 43 High Impact Business within a Foreign Trade Zone Interest
     subtraction (Form IL-1120-ST financial organizations only)                                 43
44   Illinois Special Depreciation subtraction                                                  44                           439                                         317
45   Related-Party Expenses subtraction                                                         45
46   Distributive share of subtractions                                                         46
47   Other subtractions (from Illinois Schedule M for businesses)                               47

Step 6:      Figure your partner's or shareholder's (except a corporate partner or                                 A                                  B
             shareholder) share of your Illinois August 1, 1969, appreciation                        Member's share from Illinois       Member's share apportioned or
             amounts                                                                            Schedule F (Form IL-1065 or IL-1120-ST)       allocated to Illinois
48   Section 1245 and 1250 gain                                                                 48
49   Section 1231 gain                                                                          49
50   Section 1231 gain less casualty and theft gain. See instructions.                          50
51   Capital gain                                                                               51

Step 7:       Figure your partner's or shareholder's share of your Illinois credits, recapture, pass-through withholding, pass-through
              entity tax credit, and federal income subject to surcharge
                                                         Member's share                                                          Member's share
                                          Credit            from Illinois                                                         from Illinois
52   Illinois Income Tax Credits           Code               tax return           53 Other  credits                                tax return
a    Film Production Services               5000 52a                               a Pass-through Entity (PTE) Tax Credit 53a
b    Enterprise Zone Investment             5080 52b                                  See instructions.
 c   Enterprise Zone Construction Jobs 5120      52c                               b Replacement Tax Investment Credits
d    High Impact Business Construction Jobs 5160 52d                                  See instructions.                   53b
e    Affordable Housing Donations           5260 52e                               54 Recapture
 f   EDGE                                   5300 52f                               a Enterprise Zone or River
g    New Construction EDGE                  5320 52g                                   Edge Redevelopment Zone
h    Research and Development               5340 52h                                   Investment Credit recapture        54a
 i   Wages Paid to Ex-Felons                5380 52i                               b REV Illinois Investment
 j   Student-Assistance Contributions 5420       52j                                   Credit recapture                   54b
 k   Angel Investment                       5460 52k                                c Replacement Tax Investment
 l   New Markets Development                5500 52l                                   Credit recapture                   54c
m    River Edge Historic Preservation 5540       52m                               d Additional income tax credit
n    River Edge Construction Jobs           5560 52n                                   recapture                          54d
o    Live Theater Production                5580 52o                               55 Pass-through withholding
p    Hospital                               5620 52p                                   See instructions.                   55
q    Invest in Kids                         5660 52q                               56 Federal income attributable to
 r   Data Center Construction Employment 5820    52r                                   transactions subject to the
                                                                                       Compassionate Use of Medical
 s   Apprenticeship Education Expense 0160       52s                                   Cannabis Program Act surcharge.
 t   Historic Preservation                  1030 52t                                   See instructions.                   56
u    REV Illinois Investment                5230 52u                               57 Federal income attributable to the
 v   Agritourism Liability Insurance        5440 52v                                   sale or exchange of assets by a
                                                                                       gaming licensee surcharge.
w    Recovery and Mental Health             0180 52w                                   See instructions.                   57
 x   Other income tax credits                    52x
                                                                                                249132 01-23-23           ID: 2BX      Schedule K-1-P Page 2 (R-12/22)
                                                                                                                                                                   11
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  BYERS HOLDING LLC          Document  Page 102 of 118              **-***3661
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IL SCH K-1-P MEMBER'S SHARE OF DISTRIBUTABLE BASE INCOME OR LOSS
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1 ENTER THE SHARE OF INCOME FROM IL-1065 LINE 14 FOR THIS MEMBER
  (SCHEDULE K-1-P COLUMN A LINES 10-27 & 30-31)                  $                        -1,308.00

2 ENTER THE SHARE OF ADDITIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 15-20 AND LINE 22                                                      115.00

3 ADD LINES 1 AND 2                                                                       -1,193.00

4 ENTER THE SHARE OF SUBTRACTIONS DISTRIBUTABLE TO THIS MEMBER
  FROM IL-1065 LINES 24-25 AND 28-33                                                        439.00

5 SUBTRACT LINE 4 FROM LINE 3                                                   $         -1,632.00




                                                                       PARTNER NUMBER 11
                Case 23-08545                    Doc 1          Filed 06/29/23 Entered 06/29/23 09:30:59                                                        Desc Main
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            Illinois Department of Revenue                                                                                                                                 Year ending
                                                                                                                                                                           12      22
            2022 Schedule K-1-P(3)                                                                                                                                        Month             Year
            Pass-through Withholding Calculation for Nonresident Members
            To be completed by partnerships filing Form IL-1065 or S corporations filing Form IL-1120-ST.
Read this information first:
¥ For tax years ending on or after December 31, 2022, and before December 31, 2023.
¥ You must complete Schedule K-1-P(3) for each nonresident partners or shareholder who has not submitted a Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) for any member who is a resident or who has submitted Form IL-1000-E to you.
¥ Do not complete Schedule K-1-P(3) if you have elected to pay Pass-through Entity Tax.
 Note | Keep this schedule with your income tax records. You must send us this information if we request it.

Step 1: Identify your partnership or S corporation
 1 BYERS HOLDING LLC                                                                                             2   **-***3661
    Enter your name as shown on your Form IL-1065 or Form IL-1120-ST.                                                Enter your federal employer identification number (FEIN).

Step 2: Identify your nonresident partner or shareholder
 3 SHARI CAMBRONNE                                                                                               4   ***-**-3469
    Name                                                                                                             Social Security number or FEIN

  5 Check the appropriate box to identify this nonresident partner's or shareholder's organization type.
        X    individual              corporation                    trust                 partnership                 S corporation                    estate


Step 3:       Figure your nonresident partner's or shareholder's pass-through withholding
 Note     | If this member is a resident or has submitted Form IL-1000-E to you, do not complete this schedule for this member.
 6 Add the amounts from this member's Schedule K-1-P, Step 3, Column B, Lines 12 through 17 and 19 and
   enter the total here. This is your member's share of nonbusiness income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        6                                  4
 7 Add the amounts from this member's Schedule K-1-P, Step 4, Column B, Lines 20 through 27 and 29
   through 31 and enter the total here. This is your member's share of business income allocable to Illinois
   before modifications and credits. See instructions before completing.                                                                                        7                           -946
 8 Add Line 6 and Line 7 and enter the result.                                                                                                                  8                           -942
 9 Add the amounts from this member's Schedule K-1-P, Column B, Lines 32 through 37 and enter the total
   here. This is your member's share of additions allocable to Illinois.                                                                                         9                            83
10 Add Line 8 and Line 9 and enter the result.                                                                                                                  10                          -859
11 Add the amounts from this member's Schedule K-1-P, Column B, Lines 38a through 47 and enter the total here.
   If this member is an individual, partnership, trust, or estate and received Illinois August 1, 1969, appreciation
   amounts from you, see instructions. This is your member's share of subtractions allocable to Illinois.                                                       11                               317
12 Subtract Line 11 from Line 10. If negative, enter zero. This is your member's share of Illinois income
   subject to pass-through withholding. See instructions.                                                                                                       12                                 0
Note | If this member is a nonresident individual or estate, enter zero on Lines 13 through 15 and go to Line 16.
13 Replacement tax before credits. If this member is a
      partnership, S corporation, or nonresident trust, multiply Line 12 by 1.5% (.015) and enter the result.
      corporation, multiply Line 12 by 2.5% (.025) and enter the result.                                                                                        13                                 0
14 Enter the amount of Illinois replacement tax investment credits passed to this member and available for use this year.                                       14                                 0
15 Subtract Line 14 from Line 13. If negative, enter zero. This is your member's share of replacement tax after credits.                                        15                                 0
Note | If this member is a nonresident partnership or S corporation, enter zero on Lines 16 through 18 and go to Line 19.
16 Income Tax before credits. See instructions.                                                                                                                 16                                 0
17 Enter the amount of Illinois income tax credits passed to this member and available for use this year. See instructions.                                     17                                 0
18 Subtract Line 17 from Line 16. If negative, enter zero. This is your member's share of income tax after credits.                                             18                                 0

19 Add Lines 15 and 18 and enter the result. This is your member's total pass-through withholding.
   Report this amount on this member's Schedule K-1-P, Step 7, Line 55. You must also report this amount on your
   Form IL-1065 or Form IL-1120-ST, Schedule B, Section B, Line J, on the line which reports this member's amounts. 19                                                                             0
| Keep a copy of this schedule for each member with your income tax records. Do not send Schedule K-1-P(3) to your members
  or submit it to the Illinois Department of Revenue unless we specifically request it from you.




                                                     This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                    information is REQUIRED. Failure to provide this information could result in a penalty.

                                                                                                                                                         Printed by the authority of the state
        249681 01-23-23 Schedule K-1-P(3) (R-12/22)     ID: 2BX                                                                                          of Illinois
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                                  2022 TAX RETURN FILING INSTRUCTIONS
                                                  MICHIGAN COMPOSITE FORM 807



                                                          FOR THE YEAR ENDING

                                                           DECEMBER 31, 2022
                                                          ~~~~~~~~~~~~~~~~~~

Prepared for
                          BYERS HOLDING LLC
                          717 FOREST AVE., STE 215
                          LAKE FOREST, IL 60045

Prepared by
                          HEGRE, MCMAHON & SCHIMMEL, LLC
                          600 ENTERPRISE DRIVE, STE 109
                          OAK BROOK, IL 60523

To be signed and          A MEMBER OF THE LLC
dated by
Amount of tax                                                           0.00
                         Total tax                        $   ~~~~~~~~~~~~~
                         Less: payments and credits       $         8,280.00
                                                              ~~~~~~~~~~~~~
                         Plus: other amount               $             0.00
                                                              ~~~~~~~~~~~~~
                         Plus: interest and penalties     $             0.00
                                                              ~~~~~~~~~~~~~
                          OVERPAYMENT                     $        8,280.00
                                                              ~~~~~~~~~~~~~

Overpayment                                                            8,280.00
                         Credited to your estimated tax        $ ~~~~~~~~~~~~~
                         Other amount                          $           0.00
                                                                 ~~~~~~~~~~~~~
                         Refunded to you                       $           0.00
                                                                 ~~~~~~~~~~~~~

Mail tax return           MICHIGAN DEPARTMENT OF TREASURY
and check (if             P.O. BOX 30058
applicable) to            LANSING, MI 48909



Forms to be               ENCLOSED ARE COPIES OF SCHEDULE K-1 TO BE DISTRIBUTED TO THE
distributed               MEMBERS.
to partners
Return must be            OCTOBER 16, 2023
mailed on
or before
Special
Instructions




210142 04-01-22
                       Case 23-08545                   Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59                                                Desc Main
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  Michigan Department of Treasury, 807 (Rev. 12-22), Page 1 of 5                                                                 Issued under authority of Public Act 281 of 1967 as amended.

  2022 MICHIGAN Composite Individual Income Tax Return                                                                                                                   Amended Return
  This return is due April 18, 2023. Type or print clearly in blue or black ink.
                                                                          (MM-DD-YYYY)                                      (MM-DD-2022)

  Return is for calendar year 2022 or for tax year beginning:                                           and ending:                           -2022
  Filers whose tax year ends in 2022 should use this form. Do not use this form if the tax year ends in a year other than 2022.

   1.   Name of Partnership, S Corporation or Other Flow-Through Entity                                                                                2.   Federal Employer Identification Number (FEIN)



    BYERS HOLDING LLC                                                                                                                                   **-***3661
   3.   Mailing Address (Number, Street or P.O. Box)

    717 FOREST AVE., STE 215
   4.   City or Town                                                                                                                                State       ZIP Code

    LAKE FOREST                                                                                                                                       IL           60045
  NOTE: Individual members subject to a federal excess business loss limitation may not participate in a composite filing.
    5.   Ordinary income or (loss) from U.S. Form 1065 or U.S. Form 1120S ~~~~~~~~~~~~~~~~~~~~~~~~~                                                             5.              -1038200                    00
    6.   Additions from line 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   6.                                          00
    7.   Subtotal. Add lines 5 and 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                7.              -1038200                    00
    8.   Subtractions from line 40 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 8.                                          00
    9.   Total income subject to apportionment. Subtract line 8 from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          9.              -1038200                    00
   10.   Apportionment percentage from MI-1040H (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                10.               27.8914                    %
   11.   Total Michigan apportioned income. Multiply line 9 by the percentage on line 10 ~~~~~~~~~~~~~~~~~~~~                                                  11.               -289569                    00
   12.   Michigan allocated income or (loss) from line 45 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   12.                                          00
   13.   Flow-through entity tax non-electing entity income or (loss) adjustment (see instructions) ~~~~~~~~~~~~~~~~                                           13.                                          00
   14.   Total Michigan income. Add lines 11, 12 and 13 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     14.                 -289569                  00
   15.   Michigan income attributable to Michigan residents (see instructions for Schedule C) ~~~~~~~~~~~~~~~~~~                                               15.                                          00
   16.   Michigan income attributable to nonparticipating members (see instructions for Schedule B) ~~~~~~~~~~~~~~                                             16.                                          00
   17.   Michigan income attributable to participants (see instructions for Schedule A) •••••••••••••••••••••                                                  17.                 -289569                  00
   18.   Exemption allowance from line 51 ~~~~~~~~~~~~~~~~~~~~~  SEE STATEMENT 1 18.                                          00
   19.   SEP, SIMPLE or qualified plan deductions from line 54 ~~~~~~~~~~~~                          19.                      00
   20.   Add lines 18 and 19 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    20.                                          00
   21.   Taxable income. Subtract line 20 from line 17 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     21.                 -289569                  00
   22.   Tax. Multiply line 21 by 4.25% (0.0425) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                       22.                       0                  00
   23.   Credit for participants' allocated share of flow-through entity tax reported by filer from Schedule A
         (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                                  23.                                          00
   24.   Michigan extension payments and estimated tax payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                24.                         8280             00
   25.   2022 AMENDED RETURNS ONLY. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                       25.                                          00
   26.   If the total of lines 23, 24 and 25 is less than line 22, enter TAX DUE.
         Include interest                                     and penalty                                , if applicable ~~~~~~ PAY |                          26.                                          00
   27.   Overpayment. If the total of lines 23, 24 and 25 is more than line 22, enter overpayment ~~~~~~~~~~~~~~~~                                             27.                         8280             00
   28.   Credit Forward. Amount of line 27 to apply to 2023 estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                         28.                         8280             00
   29.   Subtract line 28 from line 27 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ REFUND |                                                                          29.                                          00

   TAXPAYER CERTIFICATION. I declare under penalty of perjury that PREPARER CERTIFICATION. I declare under penalty of perjury that this
   the information in this return and attachments is true and complete return is based on all information of which I have any knowledge.
   to the best of my knowledge. I have obtained the required power of
   attorney from each of the members of this composite return and the
   entity will resolve the issue of any tax liability.                 Preparer's PTIN, FEIN or SSN

   Filer's Signature                                                          Date             P00024655
                                                                                               Preparer's Name (print or type)



    X      By checking this box, I authorize Treasury to discuss my return with my preparer.   PETER T. SCHIMMEL
                                                                                               Preparer's Signature
  Mailing: Make check payable to " State of Michigan."
  Write the entity's FEIN, " Composite Return" and tax year on the check.
                                                                                               Preparer's Business Name, Address and Telephone Number

  Mail completed returns to:                                                                   HEGRE, MCMAHON & SCHIMMEL, LLC
       Michigan Department of Treasury                                                         600 ENTERPRISE DRIVE, STE 109
       P.O. Box 30058                                                                          OAK BROOK, IL 60523
       Lansing, MI 48909                                                                       312-345-6200
  1019                                                                                                                                                 258771 12-29-22         Continued on Page 2.
                                                                                        1
12430517 144871 XX-XXXXXXX                                                  2022.03040 BYERS HOLDING LLC                                                                            82-37831
                   Case 23-08545                     Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59        Desc Main
                                                                     Document      Page 106 of 118
  2022 807, Page 2 of 5
   Name of Partnership, S Corporation or Other Flow-Through Entity                                             Federal Employer Identification Number

  BYERS HOLDING LLC                                                                                                **-***3661

  ADDITIONS
   30. Net income or (loss) from rental real estate activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                      30.                                00
   31. Net income or (loss) from other rental activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          32.                                00
   32. Portfolio Income or (loss):
       a. Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           32a.                                00
       b. Dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            32b.                                00
       c. Royalty income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            32c.                                00
       d. Net short-term capital gain or (loss) (from U.S. Schedule K) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                  32d.                                00
       e. Net long-term capital gain or (loss) (from U.S. Schedule K) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                   32e.                                00
       f. Other portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       32f.                                00
   33. Net gain or (loss) under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  33.                                00
   34. Other income from U.S. Schedule K ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      34.                                00
   35. State or local taxes measured by income, including any allocated share of tax paid by an electing
       flow-through entity (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                35.                                00
   36. Other miscellaneous additions (include a supporting statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                    36.                                00
   37. Total additions. Add lines 30 through 36. Enter here and on line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~                 37.                                00


  SUBTRACTIONS
   38. Income or (loss) from other partnerships, S corporations and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~              38.                                00
   39. Other miscellaneous subtractions (include a supporting statement). Describe:                                  39.                                00
   40. Total subtractions. Add lines 38 and 39. Enter here and on line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                 40.                                00


  MICHIGAN ALLOCATED INCOME OR (LOSS)
   41. Guaranteed payments to all members allocated to Michigan:
       a. Participating nonresidents - for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~~~                41a.                                00
       b. Nonparticipating nonresidents - for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~               41b.                                00
       c. Michigan residents - total payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                41c.                                00
   42. Income attributable to other Michigan partnerships, S corporations or fiduciaries ~~~~~~~~~~~~~~~~~~~~        42.                                00
   43. Net Michigan capital gains or (losses) not subject to apportionment (from U.S. Schedule D) ~~~~~~~~~~~~~~     43.                                00
   44. Other Michigan allocated income or (loss) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                    44.                                00
   45. Total Michigan allocated income or (loss).
        Add lines 41a through 44. Enter here and on line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         45.                                00


  EXEMPTION ALLOWANCE. See instructions for completing this section.
   46. Michigan income to participants from line 17 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              46.             -289569            00
   47. Total income from Participants' Total Income Worksheet, page 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                    47.             -917568            00
   48. Percent of income attributable to Michigan.
       Divide line 46 by line 47 (must be between 0 and 100%) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         48.             31.5583            %
   49. Prorated exemption allowance per participant.
       Multiply line 48 by $5,000 (exemption allowance) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            49.                   1578         00
   50. Number of participants included in this return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            50.                                6
   51. Total prorated exemption ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         51.                   9468         00


  SEP, SIMPLE OR QUALIFIED PLAN DEDUCTIONS (PARTNERS ONLY)
   52. SEP, SIMPLE or qualified plan deductions for participants (include a schedule) ~~~~~~~~~~~~~~~~~~~~~          52.                                00
   53. Percent of income attributable to Michigan from line 48 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       53.                                %
   54. SEP, SIMPLE or qualified plan deductions attributable to Michigan.
       Multiply line 52 by the percentage on line 53. Enter here and on line 19 ~~~~~~~~~~~~~~~~~~~~~~~~             54.                                00




  1019                                                                                                                                    258772 12-29-22
                                                                                  2
12430517 144871 XX-XXXXXXX                                            2022.03040 BYERS HOLDING LLC                                    82-37831
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  2022 807, Page 3 of 5
   Name of Partnership, S Corporation or Other Flow-Through Entity                                                    Federal Employer Identification Number

    BYERS HOLDING LLC                                                                                                  **-***3661
  SCHEDULE A: SCHEDULE OF PARTICIPANTS (Must have at least two participants, see instructions)
                                                     Column 1                     Column 2                Column 3                    Column 4
                                              Participant Information       Distributive Share of   Share of Michigan Tax         Allocated Share of
                                                                            Michigan Income and                                Flow-Through Entity Tax
                                                                            Michigan Guaranteed                                         Credit
                                                                                  Payments
   Participant Name
    MATT SANDRETTO
   Participant FEIN/SSN
    XXX-XX-XXXX                                                                          -2226                         0                                       0
   Participant Address
    2439 N. JANSSEN AVENUE
    CHICAGO, IL 60614
   Participant Name
    JAL EQUITY, INC.
   Participant FEIN/SSN
    XX-XXXXXXX                                                                        -283777                          0                                       0
   Participant Address
    3600 TORREY PINES BLVD
    SARASOTA, FL 34240
   Participant Name
    MOLLEHHOUR GROSS LLC
   Participant FEIN/SSN
    XX-XXXXXXX                                                                           -2143                         0                                       0
   Participant Address
    11409 MUNICIPAL CENTER DRI
    KNOXVILLE, TN 37933
   Participant Name
    JEFF PAYNE
   Participant FEIN/SSN
    XXX-XX-XXXX                                                                           -693                         0                                       0
   Participant Address
    8 WAWASET FARM LANE
    WEST CHESTER, PA 19382
   Participant Name
    KEITH KOWAL
   Participant FEIN/SSN
    XXX-XX-XXXX                                                                           -365                         0                                       0
   Participant Address
    437 QUIGLEY DRIVE
    MALVERN, PA 19355
   Participant Name
    SHARI CAMBRONNE
   Participant FEIN/SSN
    XXX-XX-XXXX                                                                           -365                         0                                       0
   Participant Address
    4590 HELMO AVENUE
    OAKDALE, MN 55128
            Check here if additional page(s) used.
            Enter totals from additional page(s),
            if applicable.
   Total Columns 2, 3 and 4. Carry total from
   Column 2 to page 1, line 17. Carry total from                                      -289569
   Column 4 to page 1, line 23.



  1019                                                                                                                                           258774 12-29-22
                                                                                  3
12430517 144871 XX-XXXXXXX                                            2022.03040 BYERS HOLDING LLC                                           82-37831
                   Case 23-08545                     Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59                Desc Main
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  2022 807, Page 4 of 5
   Name of Partnership, S Corporation or Other Flow-Through Entity                                                     Federal Employer Identification Number

    BYERS HOLDING LLC                                                                                                   **-***3661
  SCHEDULE B: SCHEDULE OF NONPARTICIPANTS
                                                    Column 1                                                               Column 2
                                            Nonparticipant Information                                     Distributive Share of Michigan Income *
                                                                                                            and Michigan Guaranteed Payments
   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address



   Nonparticipant Name                                                           Nonparticipant FEIN/SSN


   Nonparticipant Address




            Check here if additional page(s) used. Enter totals from additional page(s),
            if applicable.


   Total Column 2. Carry total from Column 2 to page 1, line 16
                * The income of C corporation members reported here is for reconciliation purposes of this form and is not
  1019            used to compute a CIT liability.                                                                                                258775 12-29-22
                                                                                  4
12430517 144871 XX-XXXXXXX                                            2022.03040 BYERS HOLDING LLC                                            82-37831
                   Case 23-08545                     Doc 1           Filed 06/29/23 Entered 06/29/23 09:30:59            Desc Main
                                                                     Document      Page 109 of 118
  2022 807, Page 5 of 5
   Name of Partnership, S Corporation or Other Flow-Through Entity                                                 Federal Employer Identification Number

    BYERS HOLDING LLC                                                                                               **-***3661
  SCHEDULE C: SCHEDULE OF MICHIGAN RESIDENTS
                                                   Column 1                                                          Column 2
                                              Resident Information                                  Distributive Share of Michigan Income and
                                                                                                          Michigan Guaranteed Payments
   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address



   Resident Name                                                                Resident FEIN/SSN


   Resident Address




            Check here if additional page(s) used. Enter totals from additional page(s),
            if applicable.



   Total Column 2 and carry to page 1, line 15

  1019                                                                                                                                      258776 12-29-22
                                                                                  5
12430517 144871 XX-XXXXXXX                                            2022.03040 BYERS HOLDING LLC                                        82-37831
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                                                       Participants' Total Income Worksheet
  Column A refers to Distributive Income categories from Schedule K form(s). Columns B and C refer to lines on the U.S. Form 1065 Schedule K and
  U.S. Form 1120S Schedule K. Column D is the list of amounts that are added to arrive at participants' total income that is reported on Form 807,
  line 47.


                                                A                                            B              C                          D
                                                                                      U.S. Form 1065 U.S. Form 1120S        Participants' Distribute
                                 Distributive Income Categories                         Schedule K     Schedule K             Income Amounts


   Ordinary income or (loss) from trade or business activity                                 1                 1                       -1038200

   Net income or (loss) from rental real estate activity                                     2                 2


   Net income or (loss) from other rental activity                                          3c                3c


   Portfolio income or (loss):


        Interest income                                                                      5                 4


        Dividend income                                                                     6a                5a


        Royalty income                                                                       7                 6


        Net short-term capital gain or (loss)                                                8                 7


        Net long-term capital gain or (loss)                                                9a                8a


   Guaranteed payments                                                                      4a                                             120632

   Net gain or (loss) under section 1231                                                    10                 9


   Other income or (loss)                                                                   11                10


   TOTAL INCOME
   Add all amounts in Column D and carry total to Form 807, line 47.                                                                     -917568




  1019                                                                                                                                   258681 12-29-22
                                                                        6
12430517 144871 XX-XXXXXXX                                  2022.03040 BYERS HOLDING LLC                                             82-37831
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                                                          Document      Page 111 of 118
Michigan Department of Treasury (Rev. 03-22)


2022 MICHIGAN Schedule of Apportionment MI-1040H
Issued under authority of Public Act 281 of 1967, as amended.
Include with Form MI-1040, MI-1041, or Form 807.                                                                                                  Attachment 09
 1. Owner's Name                                                                                  2. Identifying Number




 3. Name of Business Entity                                                                       4. Federal Employer Identification No. (FEIN)


    BYERS HOLDING LLC                                                                                                     **-***3661
 5. Combined Unitary Apportionment
          Check this box if you elect to combine the apportionment of business income (loss) from entities unitary with one another. If this box is
          checked, write the word "Unitary" in box 3 and leave box 4 blank.
          NOTE: If you elect to use combined apportionment, you must use combined apportionment for every unitary group from which you receive
          income (loss).

PART 1: COMPUTATION OF SALES FACTOR FOR APPORTIONMENT PERCENTAGE


     6. Michigan sales (see instructions regarding throwback sales) ~~~~~~~~~~               6.                1093840          00


     7. Total sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       7.                3921786          00


     8. Apportionment Percentage. Divide line 6 by line 7. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         8.         27.8914           %

              Check this box if you filed a U.S. Form 461 with a current year federal limitation on business losses and complete
     9.
              Form MI-461. Important: See instructions before continuing to Part 2.


PART 2: COMPUTATION OF INCOME ATTRIBUTABLE TO ANOTHER STATE(S)
    10. Business income included in adjusted gross income that is subject to apportionment
        (include ordinary, portfolio, and all other business income from this business activity)~~~~~~~~~~~~~~ 10.                                            00


    11. Multiply the amount on line 10 by the apportionment percentage on line 8.~~~~~~~~~~~~~~~~~~~ 11.                                                      00
    12. Income or loss attributable to another state(s). Subtract amount on line 11 from line 10.
        Enter here and on Schedule 1, line 13 (income) or line 4 (loss). Nonresidents and part-year
        residents: Include this amount on the appropriate line in column C of Schedule NR ~~~~~~~~~~~~~~ 12.                                                  00

 PART 3: COMBINED APPORTIONMENT UNDER THE UNITARY BUSINESS PRINCIPLE
    13. If you checked box 5 above, list below the entities that are unitary with one another for which you are combining apportionment.
        Include a separate schedule showing your computations. If more than eight entities will be listed, include additional
        Form(s) MI-1040H with "Unitary" on line 3 and lines 6 through 12 left blank.
                                     Entity Name                                                  Federal Employer Identification Number (FEIN)




     1019 2022 41 01 27 8
+                                                                                                                                                  258781 12-29-22
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  BYERS HOLDING LLC          Document  Page 112 of 118              **-***3661
  }}}}}}}}}}}}}}}}}                                                 }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
MI 807                  ADJUSTMENT TO EXEMPTION ALLOWANCE        STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

TOTAL EXEMPTION ALLOWANCE AVAILABLE FROM PAGE 2, LINE 47                                9,468
UNUSED EXEMPTION FROM PARTNERS (LIMITED TO TAXABLE INCOME)                              9,468
                                                                              ~~~~~~~~~~~~~~~
ADJUSTED EXEMPTION ALLOWANCE TO PAGE 1, LINE 18                                             0




                                                                               STATEMENT(S) 1
                       DO NOT FILE
                 Case 23-08545  Doc- 1NONOFFICIAL  FORM (FOR
                                         Filed 06/29/23      INFORMATION
                                                         Entered          ONLY)
                                                                 06/29/23 09:30:59                                    Desc Main
                                         Document      Page 113 of 118
                                Form 807 - Michigan Composite Individual Income
      MICHIGAN                     Tax Return, Page 3 Schedule of Participants
      PARTNER                                        For Calendar Year 2022 or Fiscal Year                                          2022
    INFORMATION                          Beginning              , 2022; and Ending                 ,             .


  Partner's Name, Address and ZIP Code                                                 Partner Number                           5
                                                                                       Partner's Identifying Number
  MATT SANDRETTO                                                                       ***-**-0749
  2439 N. JANSSEN AVENUE
  CHICAGO, IL 60614                                                                    Resident                            Nonresident          X
                                                                                       Amended Schedule K-1                Final Schedule K-1


  Partnership's Name, Address and ZIP Code                                             Partnership's Identifying Number
                                                                                       **-***3661
  BYERS HOLDING LLC
  717 FOREST AVE., STE 215                                                             Partner's Percentage of
  LAKE FOREST, IL 60045                                                                Profit and Loss           VARIOUS    %


  Ordinary income                                                                                                                          -7980

  Additions:
     Net income (loss) from rental real estate activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net income (loss) from other rental activities~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Royalty income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net gain (loss) under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     State and local income taxes deducted for ordinary income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other additions



     Total other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       -7980

  Subtractions:
     Income (loss) from partnerships, S corporations and fiduciaries included in ordinary income ~~~~~~~~~~~~~~~~~~
     Other subtractions



     Total other subtractions~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total income (loss) subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 -7980
  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           27.8914
  Total Michigan apportioned income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    -2226
  Michigan allocated income (loss):
     Guaranteed payments for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Income attributable to other Michigan partnerships, S corporations and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~
     Net Michigan capital gains NOT subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other Michigan allocated income



     Total other Michigan allocated income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total Michigan income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 -2226
  Exemption allowance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1578
  SEP, SIMPLE or qualified plan deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             0
  Tax paid on composite return~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      0
   258811 04-01-22
                                                                    8.1
12430517 144871 XX-XXXXXXX                              2022.03040 BYERS HOLDING LLC                                                82-37831
                       DO NOT FILE
                 Case 23-08545  Doc- 1NONOFFICIAL  FORM (FOR
                                         Filed 06/29/23      INFORMATION
                                                         Entered          ONLY)
                                                                 06/29/23 09:30:59                                    Desc Main
                                         Document      Page 114 of 118
                                Form 807 - Michigan Composite Individual Income
      MICHIGAN                     Tax Return, Page 3 Schedule of Participants
      PARTNER                                        For Calendar Year 2022 or Fiscal Year                                          2022
    INFORMATION                          Beginning              , 2022; and Ending                 ,             .


  Partner's Name, Address and ZIP Code                                                 Partner Number                           7
                                                                                       Partner's Identifying Number
  JAL EQUITY, INC.                                                                     **-***8531
  3600 TORREY PINES BLVD
  SARASOTA, FL 34240                                                                   Resident                            Nonresident          X
                                                                                       Amended Schedule K-1                Final Schedule K-1


  Partnership's Name, Address and ZIP Code                                             Partnership's Identifying Number
                                                                                       **-***3661
  BYERS HOLDING LLC
  717 FOREST AVE., STE 215                                                             Partner's Percentage of
  LAKE FOREST, IL 60045                                                                Profit and Loss           VARIOUS    %


  Ordinary income                                                                                                                    -1017436

  Additions:
     Net income (loss) from rental real estate activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net income (loss) from other rental activities~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Royalty income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net gain (loss) under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     State and local income taxes deducted for ordinary income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other additions



     Total other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 -1017436

  Subtractions:
     Income (loss) from partnerships, S corporations and fiduciaries included in ordinary income ~~~~~~~~~~~~~~~~~~
     Other subtractions



     Total other subtractions~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total income (loss) subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             -1017436
  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          27.8914
  Total Michigan apportioned income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 -283777
  Michigan allocated income (loss):
     Guaranteed payments for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Income attributable to other Michigan partnerships, S corporations and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~
     Net Michigan capital gains NOT subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other Michigan allocated income



     Total other Michigan allocated income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total Michigan income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             -283777
  Exemption allowance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 1578
  SEP, SIMPLE or qualified plan deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             0
  Tax paid on composite return~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      0
   258811 04-01-22
                                                                    8.2
12430517 144871 XX-XXXXXXX                              2022.03040 BYERS HOLDING LLC                                                82-37831
                       DO NOT FILE
                 Case 23-08545  Doc- 1NONOFFICIAL  FORM (FOR
                                         Filed 06/29/23      INFORMATION
                                                         Entered          ONLY)
                                                                 06/29/23 09:30:59                                    Desc Main
                                         Document      Page 115 of 118
                                Form 807 - Michigan Composite Individual Income
      MICHIGAN                     Tax Return, Page 3 Schedule of Participants
      PARTNER                                        For Calendar Year 2022 or Fiscal Year                                          2022
    INFORMATION                          Beginning              , 2022; and Ending                 ,             .


  Partner's Name, Address and ZIP Code                                                 Partner Number                           8
                                                                                       Partner's Identifying Number
  MOLLEHHOUR GROSS LLC                                                                 **-***3161
  11409 MUNICIPAL CENTER DRIVE #23434
  KNOXVILLE, TN 37933                                                                  Resident                            Nonresident          X
                                                                                       Amended Schedule K-1                Final Schedule K-1


  Partnership's Name, Address and ZIP Code                                             Partnership's Identifying Number
                                                                                       **-***3661
  BYERS HOLDING LLC
  717 FOREST AVE., STE 215                                                             Partner's Percentage of
  LAKE FOREST, IL 60045                                                                Profit and Loss           VARIOUS    %


  Ordinary income                                                                                                                          -7682

  Additions:
     Net income (loss) from rental real estate activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net income (loss) from other rental activities~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Royalty income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net gain (loss) under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     State and local income taxes deducted for ordinary income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other additions



     Total other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       -7682

  Subtractions:
     Income (loss) from partnerships, S corporations and fiduciaries included in ordinary income ~~~~~~~~~~~~~~~~~~
     Other subtractions



     Total other subtractions~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total income (loss) subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 -7682
  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           27.8914
  Total Michigan apportioned income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    -2143
  Michigan allocated income (loss):
     Guaranteed payments for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Income attributable to other Michigan partnerships, S corporations and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~
     Net Michigan capital gains NOT subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other Michigan allocated income



     Total other Michigan allocated income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total Michigan income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 -2143
  Exemption allowance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1578
  SEP, SIMPLE or qualified plan deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             0
  Tax paid on composite return~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      0
   258811 04-01-22
                                                                    8.3
12430517 144871 XX-XXXXXXX                              2022.03040 BYERS HOLDING LLC                                                82-37831
                       DO NOT FILE
                 Case 23-08545  Doc- 1NONOFFICIAL  FORM (FOR
                                         Filed 06/29/23      INFORMATION
                                                         Entered          ONLY)
                                                                 06/29/23 09:30:59                                    Desc Main
                                         Document      Page 116 of 118
                                Form 807 - Michigan Composite Individual Income
      MICHIGAN                     Tax Return, Page 3 Schedule of Participants
      PARTNER                                        For Calendar Year 2022 or Fiscal Year                                          2022
    INFORMATION                          Beginning              , 2022; and Ending                 ,             .


  Partner's Name, Address and ZIP Code                                                 Partner Number                           9
                                                                                       Partner's Identifying Number
  JEFF PAYNE                                                                           ***-**-7180
  8 WAWASET FARM LANE
  WEST CHESTER, PA 19382                                                               Resident                            Nonresident          X
                                                                                       Amended Schedule K-1                Final Schedule K-1


  Partnership's Name, Address and ZIP Code                                             Partnership's Identifying Number
                                                                                       **-***3661
  BYERS HOLDING LLC
  717 FOREST AVE., STE 215                                                             Partner's Percentage of
  LAKE FOREST, IL 60045                                                                Profit and Loss           VARIOUS    %


  Ordinary income                                                                                                                          -2486

  Additions:
     Net income (loss) from rental real estate activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net income (loss) from other rental activities~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Royalty income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net gain (loss) under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     State and local income taxes deducted for ordinary income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other additions



     Total other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       -2486

  Subtractions:
     Income (loss) from partnerships, S corporations and fiduciaries included in ordinary income ~~~~~~~~~~~~~~~~~~
     Other subtractions



     Total other subtractions~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total income (loss) subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 -2486
  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           27.8914
  Total Michigan apportioned income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     -693
  Michigan allocated income (loss):
     Guaranteed payments for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Income attributable to other Michigan partnerships, S corporations and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~
     Net Michigan capital gains NOT subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other Michigan allocated income



     Total other Michigan allocated income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total Michigan income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  -693
  Exemption allowance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1578
  SEP, SIMPLE or qualified plan deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             0
  Tax paid on composite return~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      0
   258811 04-01-22
                                                                    8.4
12430517 144871 XX-XXXXXXX                              2022.03040 BYERS HOLDING LLC                                                82-37831
                       DO NOT FILE
                 Case 23-08545  Doc- 1NONOFFICIAL  FORM (FOR
                                         Filed 06/29/23      INFORMATION
                                                         Entered          ONLY)
                                                                 06/29/23 09:30:59                                    Desc Main
                                         Document      Page 117 of 118
                                Form 807 - Michigan Composite Individual Income
      MICHIGAN                     Tax Return, Page 3 Schedule of Participants
      PARTNER                                        For Calendar Year 2022 or Fiscal Year                                        2022
    INFORMATION                          Beginning              , 2022; and Ending                 ,             .


  Partner's Name, Address and ZIP Code                                                 Partner Number                       10
                                                                                       Partner's Identifying Number
  KEITH KOWAL                                                                          ***-**-5809
  437 QUIGLEY DRIVE
  MALVERN, PA 19355                                                                    Resident                            Nonresident          X
                                                                                       Amended Schedule K-1                Final Schedule K-1


  Partnership's Name, Address and ZIP Code                                             Partnership's Identifying Number
                                                                                       **-***3661
  BYERS HOLDING LLC
  717 FOREST AVE., STE 215                                                             Partner's Percentage of
  LAKE FOREST, IL 60045                                                                Profit and Loss           VARIOUS    %


  Ordinary income                                                                                                                          -1308

  Additions:
     Net income (loss) from rental real estate activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net income (loss) from other rental activities~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Royalty income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net gain (loss) under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     State and local income taxes deducted for ordinary income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other additions



     Total other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       -1308

  Subtractions:
     Income (loss) from partnerships, S corporations and fiduciaries included in ordinary income ~~~~~~~~~~~~~~~~~~
     Other subtractions



     Total other subtractions~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total income (loss) subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 -1308
  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           27.8914
  Total Michigan apportioned income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     -365
  Michigan allocated income (loss):
     Guaranteed payments for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Income attributable to other Michigan partnerships, S corporations and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~
     Net Michigan capital gains NOT subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other Michigan allocated income



     Total other Michigan allocated income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total Michigan income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  -365
  Exemption allowance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1578
  SEP, SIMPLE or qualified plan deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             0
  Tax paid on composite return~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      0
   258811 04-01-22
                                                                    8.5
12430517 144871 XX-XXXXXXX                              2022.03040 BYERS HOLDING LLC                                             82-37831
                       DO NOT FILE
                 Case 23-08545  Doc- 1NONOFFICIAL  FORM (FOR
                                         Filed 06/29/23      INFORMATION
                                                         Entered          ONLY)
                                                                 06/29/23 09:30:59                                    Desc Main
                                         Document      Page 118 of 118
                                Form 807 - Michigan Composite Individual Income
      MICHIGAN                     Tax Return, Page 3 Schedule of Participants
      PARTNER                                        For Calendar Year 2022 or Fiscal Year                                        2022
    INFORMATION                          Beginning              , 2022; and Ending                 ,             .


  Partner's Name, Address and ZIP Code                                                 Partner Number                       11
                                                                                       Partner's Identifying Number
  SHARI CAMBRONNE                                                                      ***-**-3469
  4590 HELMO AVENUE
  OAKDALE, MN 55128                                                                    Resident                            Nonresident          X
                                                                                       Amended Schedule K-1                Final Schedule K-1


  Partnership's Name, Address and ZIP Code                                             Partnership's Identifying Number
                                                                                       **-***3661
  BYERS HOLDING LLC
  717 FOREST AVE., STE 215                                                             Partner's Percentage of
  LAKE FOREST, IL 60045                                                                Profit and Loss           VARIOUS    %


  Ordinary income                                                                                                                          -1308

  Additions:
     Net income (loss) from rental real estate activities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net income (loss) from other rental activities~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Royalty income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net short-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net long-term capital gain (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other portfolio income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Net gain (loss) under Section 1231 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     State and local income taxes deducted for ordinary income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other additions



     Total other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       -1308

  Subtractions:
     Income (loss) from partnerships, S corporations and fiduciaries included in ordinary income ~~~~~~~~~~~~~~~~~~
     Other subtractions



     Total other subtractions~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total income (loss) subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 -1308
  Apportionment percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           27.8914
  Total Michigan apportioned income (loss) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     -365
  Michigan allocated income (loss):
     Guaranteed payments for services performed in Michigan ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Income attributable to other Michigan partnerships, S corporations and fiduciaries ~~~~~~~~~~~~~~~~~~~~~~~
     Net Michigan capital gains NOT subject to apportionment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     Other Michigan allocated income



     Total other Michigan allocated income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Total Michigan income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  -365
  Exemption allowance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1578
  SEP, SIMPLE or qualified plan deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  Taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             0
  Tax paid on composite return~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                      0
   258811 04-01-22
                                                                    8.6
12430517 144871 XX-XXXXXXX                              2022.03040 BYERS HOLDING LLC                                             82-37831
